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                 EXHIBIT 1




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          16                              UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
          17
          18       DEON JONES, an individual,
                                                            CASE NO. 2:20-cv-11147-SVW-SK
          19                          Plaintiff,

          20             v.                                 FIRST AMENDED COMPLAINT FOR
                                                            INJUNCTIVE RELIEF AND
          21       CITY OF LOS ANGELES, a municipal         DAMAGES
                   entity, CHIEF MICHEL MOORE, LOS
          22       ANGELES POLICE DEPARTMENT, a             DEMAND FOR JURY TRIAL
                   municipal entity, and PETER BUENO,
          23                          Defendants.
          24
          25                                                Judge: Hon. Stephen V. Wilson
                                                            Trial Date: March 8, 2022
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          27
                         Plaintiff Deon Jones by and through his counsel files this Amended Complaint
          28
                   against Defendants, the City of Los Angeles, the Los Angeles Police Department

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            1      (“LAPD”), the Chief of the Los Angeles Police Department, Michel Moore, and LAPD
            2      Officer Peter Bueno for violating Mr. Jones’ rights under the First, Fourth, and
            3      Fourteenth Amendments of the U.S. Constitution and Article I, Sections Two, Three,
            4      and Seven of the California Constitution.
            5                                         INTRODUCTION
            6            1.     For the past 75 years, the struggle for civil rights and racial justice in this
            7      country has been fueled by peaceful protest. All too often, however, that peaceful protest
            8      has been met with virulent opposition and sometimes brute force, including acts of
            9      violence at the hands of the police. We recall the horrific scenes from the 1960s of
          10       police responding to peaceful protesters demanding racial justice with unthinkable
          11       brutality: police dogs, hoses, whips, billy clubs, tear gas, and other so-called “crowd
          12       control” tactics that were deployed to suppress the voices of peaceful civilians at some
          13       of the most seminal civil rights demonstrations in history, including on that now
          14       infamous bridge in Selma, Alabama. And we have seen similarly inspiring and heart-
          15       wrenching scenes unfold in cities across America as people have taken to the streets to
          16       protest the murders of George Floyd, Breonna Taylor, Tamir Rice, and other Black
          17       Americans, and to demand an end to racism in this country.
          18             2.     Tragically, we have also witnessed today’s protesters, like Plaintiff Deon
          19       Jones, met with the same police brutality we saw in the 1960s. This time they face a
          20       more modern and potentially more dangerous weapon—the “rubber bullet.” It was this
          21       precise weapon that was fired at Mr. Jones during a protest on May 30, 2020, nearly
          22       blinding him and leaving him unable to rejoin the protests and lend his voice to a cause
          23       that has always been and continues to be deeply important to Mr. Jones.
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                          Selma, Alabama (May 1965)1                Los Angeles, California (May 2020)2
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                           3.    Mr. Jones is a 30-year-old Black man who lives and works in Los Angeles,
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                   California. He is a performance artist, entrepreneur, and Truman Scholar who has
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                   devoted his life and energy to elevating Black voices to the forefront of the American
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                   consciousness. This is intensely personal work for Mr. Jones—as a young Black man
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                   growing up in Mississippi, he confronted racism daily. Among many other indignities
          14
                   and confrontations, every year, Mr. Jones witnessed the Ku Klux Klan host a march
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                   down the highway that backed up into his grandmother’s house. Since his youth, Mr.
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                   Jones has actively participated in local and national politics to fight the kinds of hateful
          17
                   and oppressive messages the KKK spewed at its rallies.
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                           4.    Mr. Jones has been inspired in his life by many great civil rights leaders,
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                   including most notably the late Congressman John Lewis, whom he had the honor of
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                   knowing, personally, since he was 16 years old. Mr. Jones learned many lessons from
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                   their times together, including that ordinary people can muster up the courage to stand
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          24        1
                        Katie Nodjimbadem, The Long, Painful History of Police Brutality in the U.S.,
          25            Smithsonian Mag. (May 29, 2020), https://www.smithsonianmag.com/smithsonian-
                        institution/long-painful-history-police-brutality-in-the-us-180964098/.
          26
                    2
                        Josh Cain, Outside Group Will Review Violent LAPD Tactics Used in Recent
          27            Protests, L.A. Daily News (July 31, 2020),
          28            https://www.dailynews.com/2020/07/30/outside-group-will-review-violent-lapd-
                        tactics-used-in-recent-protesters/.
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            1      up, speak up, speak out, and do something when they see injustice, no matter the cost.
            2      It was Congressman Lewis’ voice among others that rang in Mr. Jones’ head in the days
            3      following George Floyd’s murder, when Mr. Jones decided to participate in the racial
            4      justice protests that were flooding the streets of Los Angeles and this country.
            5            5.     On May 30, 2020, Mr. Jones spent the day at a peaceful protest in Los
            6      Angeles, California—lending his voice to the voices of thousands advocating for racial
            7      justice. Mr. Jones was at all times unarmed and peaceful as he marched with friends in
            8      a peaceful demonstration in West Hollywood. They cheered, held up signs, and listened
            9      to speeches advocating for racial equality. But as Mr. Jones attempted to leave the
          10       protest amidst rising tensions in the crowd, LAPD Officer Peter Bueno, outfitted in riot
          11       gear and standing less than twenty feet from him, aimed and fired a rubber bullet at Mr.
          12       Jones from close range, striking Mr. Jones in the face just below his right eye. Mr. Jones
          13       turned and ran down a pedestrian alley but soon collapsed onto the sidewalk. As he fell
          14       to the ground, bleeding from his face, the skin peeling away from his cheek bone, and
          15       his head ringing, Mr. Jones cried out: “Why did they do this to me?”
          16             6.     Mr. Jones suffered a fracture and lacerations to his face in addition to other
          17       injuries requiring immediate medical attention. Mr. Jones’ ophthalmologist later told
          18       him that if the rubber bullet had hit him just millimeters from where he was struck, Mr.
          19       Jones could have been blinded or killed.
          20             7.     Mr. Jones’ injury did not happen in isolation. Consistent with LAPD
          21       custom and practice, Officer Bueno repeatedly and egregiously violated written LAPD
          22       policies on uses of force, crowd control, and use of the 40mm Less-Lethal Launcher
          23       during the May 30 protest.
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            3              8.                                      . The LAPD’s frequent oppression and
            4      mistreatment of peaceful demonstrators at protests has been well-documented. Videos
            5      show LAPD officers attacking and threatening protesters, tasing incapacitated protesters,
            6      and otherwise inflicting harm on protesters seeking only to exercise their First
            7      Amendment rights to advance the cause of racial justice. Among its many aggressive
            8      tactics, the LAPD has repeatedly and indiscriminately shot Kinetic Impact Projectiles
            9      (“KIPs”) commonly called “rubber bullets,” “foamed tipped projectiles,” or “less lethal”
          10       projectiles (hereinafter, “Rubber Bullets”)—at large groups of protesters without
          11       regard for where they were being aimed. 3 These violent assaults by the LAPD on crowds
          12       of peacefully assembled people have suppressed demonstrators and their messages. The
          13       injuries Mr. Jones and other peaceful protesters sustained on May 30, 2020 are examples
          14       of this larger trend.
          15               9.    Rubber Bullets deployed by the LAPD cause far more serious harm than
          16       their name suggests. In fact, the moniker “less lethal” weapon is dangerously misleading.
          17       Rubber Bullets cause scores of serious injuries and deaths every year. In a study
          18       analyzing the morbidity and mortality associated with Rubber Bullets from January 1,
          19       1990, to June 1, 2017, researchers found 71% of people struck by KIPs suffered severe
          20       injuries, 15.5% of individuals were permanently disabled, and 3% died from their
          21       injuries.4 Forty-nine percent of all deaths and 82.6% of all permanent disabilities
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          23
          24        3
                        James Queally, Kevin Rector & Richard Winton, Troubling Videos Capture L.A.
          25            Police Violence, Aggression Amid Demonstrations, L.A. Times (June 4, 2020),
                        https://www.latimes.com/california/story/2020-06-04/videos-capture-police-
          26            violence-aggression-amid-l-a-protests.
          27        4
                        Rohini J. Haar, Vincent Iacopino, Nikhil Ranadive, Madhavi Dandu & Sheri D
          28            Weiser, Death, Injury and Disability from Kinetic Impact Projectiles in Crowd-

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            1      observed in the study were due to Rubber Bullet strikes to the head. 5 Accordingly, while
            2      these weapons may be “less lethal” than traditional ammunition, Rubber Bullets are far
            3      from harmless and are capable of causing severe permanent injury and death.
            4                 10.   The attack on Mr. Jones on May 30, 2020, was unconstitutional under both
            5      the U.S. and California Constitutions, and Mr. Jones has suffered grievous harm as a
            6      result. And the LAPD knows it. During the course of this litigation, Defendants have
            7      attempted to stonewall and obstruct Mr. Jones’ attempts to learn the true identity of his
            8      shooter and the officers involved in the unconstitutional deployment of Rubber Bullets.
            9      Eventually, Defendants could not continue their stonewalling. They had to produce
          10       documents.
          11
          12                  11.   Just a few weeks ago, Defendants produced in discovery a document the
          13       LAPD’s Force Investigation Division (“FID”) generated that set forth its purported
          14       conclusions from a sham investigation into Mr. Jones’ shooting. The FID’s investigative
          15       report makes clear that the LAPD is not interested in coming clean and reporting
          16       truthfully to the public. Instead, the LAPD engaged in a cover-up.
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          27            Control Settings: A Systematic Review, BMJ Open (2017),
                        https://bmjopen.bmj.com/content/bmjopen/7/12/e018154.full.pdf.
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                        Id.
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            5            12.    Mr. Jones suffered no slip and fall:
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          15                           Mr. Jones after being struck by a Rubber Bullet
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                         13.    The public expects and is entitled to truth and integrity from its law
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                   enforcement organizations that citizens pay taxes to support. Instead, the public gets a
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                   sham and cover-up “investigation” that recklessly disregarded the facts and served only
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                   to protect the unlawful and unconstitutional acts of its agents.
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                         14.    And staggeringly, the sham FID investigation concludes that
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            1            15.    As a result of Defendants’ stonewalling in discovery and refusals to tell the
            2      truth, Plaintiff needed to expend significant resources over many months of discovery
            3      before he had the conclusive proof required to name Officer Bueno as the shooter. He
            4      now has that proof.
            5
            6      Officer Bueno is a proper Defendant to sue in this case. Now armed with this additional
            7      proof, Mr. Jones is moving promptly to amend his Complaint and name Officer Peter
            8      Bueno as his shooter.
            9            16.    In sum, Mr. Jones brings this action to recover for his injuries and to hold
          10       the LAPD accountable for its unconstitutional conduct and its ensuing coverup. Mr.
          11       Jones also seeks prospective relief to ensure that he and his fellow protesters will be able
          12       to exercise their constitutional right to engage in peaceful protest without fearing for
          13       their health or safety. It is time for the LAPD to stop deploying Rubber Bullets to
          14       suppress peaceful protests.
          15             17.    The right to protest peacefully, to march, and to petition the government for
          16       a redress of grievances is fundamental and cannot be “controlled” or suppressed through
          17       arbitrary and unconscionable violence. This country was born in protest, and the
          18       Founders that created our nation inscribed the right to protest into the very first
          19       amendment of the Bill of Rights. As the United States Supreme Court has acknowledged,
          20       “‘speech to protest racial discrimination is essential political speech lying at the core of
          21       the First Amendment.’” NAACP v. Clairborne Hardware Co., 458 U.S. 886, 915 (1982)
          22       (quoting Henry v. First Nat’l Bank of Clarksdale, 595 F.2d 291, 303 (5th Cir. 1979)).
          23       Unless this Court acts now, the LAPD’s unconstitutional use of Rubber Bullets to attack,
          24       control, and suppress peaceful protest will continue. This cycle of violence must be
          25       stopped. Peaceful protests must be permitted to continue unabated. And the LAPD must
          26       be held to account for its persistent and egregious assaults on protesters lawfully
          27       exercising their constitutional rights.
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            1                                JURISDICTION AND VENUE
            2          18.    This Court has subject matter jurisdiction over Mr. Jones’ claims pursuant
            3    to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights jurisdiction),
            4    and supplemental jurisdiction pursuant to 28 U.S.C. § 1367. This Court has jurisdiction
            5    to issue declaratory and/or injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202 and
            6    Federal Rule of Civil Procedure 57.
            7          19.    This Court has personal jurisdiction over the parties to this action pursuant
            8    to the Fourteenth Amendment of the U.S. Constitution as all parties are domiciled within
            9    the Central District of California.
          10           20.    Venue is proper in the Central District of California pursuant to 28 U.S.C.
          11     § 1391, as all Defendants and the events giving rise to the claims herein occurred in the
          12     Central District of California.
          13                                            PARTIES
          14           21.    Plaintiff Deon Jones is a 30-year-old Black man who lives and works in
          15     Los Angeles, California. He is a performance artist, entrepreneur, and Truman Scholar
          16     who has devoted his life and energy to elevating Black voices to the forefront of the
          17     American consciousness. This is intensely personal work for Mr. Jones—as a young
          18     Black man growing up in Mississippi, he confronted racism daily. Among many other
          19     indignities and confrontations, every year, Mr. Jones witnessed the Ku Klux Klan host
          20     a march down the highway that backed up into his grandmother’s house. Since his youth,
          21     Mr. Jones has actively participated in local and national politics to fight the kinds of
          22     hateful and oppressive messages the KKK spewed at its rallies. Mr. Jones worked in
          23     then-Vice President Joe Biden’s public engagement office, was the national
          24     spokesperson for Campaign for Justice, served on the board of Colin Powell’s America’s
          25     Promise Alliance, was named a Harry S. Truman Scholar, and was elected to the
          26     Advisory Neighborhood Commission (becoming Washington D.C.’s youngest elected
          27     official at the time)—all while in college. Mr. Jones’ commitment to public service did
          28     not end at graduation. He became a Truman-Albright Fellow and worked at Be The

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            1    Change, an organization focusing on promoting participation in post-graduate service
            2    organizations, such as Teach For America. Mr. Jones also served as the special assistant
            3    to the United States Deputy Secretary of Defense for Military Community and Family
            4    Policy Col. Robert L. Gordon III, before becoming part of the team comprised of Obama
            5    Administration officials that started a non-profit called Opportunity@Work, tasked with
            6    operationalizing President Obama’s TechHire Initiative, which works to help
            7    individuals who often lack college degrees gain the necessary skills to qualify for
            8    technical jobs.
            9          22.    Today, Mr. Jones lives and works in Los Angeles as an artist and creative
          10     consultant, where—among other endeavors—he has worked with renowned conceptual
          11     artist Glenn Kaino on numerous creative projects, including with OWN: The Oprah
          12     Winfrey Network on its digital media presence; with actor and activist Jesse Williams
          13     on digital projects focusing on Black language and telling the stories of Black people;
          14     and with Olympic Gold Medalist Tommie Smith, made famous by his Black Power
          15     salute on the podium at the 1968 Olympic Games, to create art that encourages
          16     conversations about social justice. Following Mr. Floyd’s killing, Mr. Jones decided to
          17     participate in the racial justice protests to further his mission of bringing unheard Black
          18     voices to the center of American discourse.
          19           23.    Defendant LAPD is a local government entity and an agency of Defendant
          20     the City of Los Angeles. The City of Los Angeles is liable for the actions of the LAPD.
          21     The LAPD is sued in its own right on the basis of its policies, customs, and practices
          22     which give rise to Mr. Jones’ civil rights claims.
          23           24.    Defendant City of Los Angeles is a municipal corporation duly organized
          24     and existing under the Constitution and laws of the State of California. The City of Los
          25     Angeles is sued in its own right on the basis of its policies, customs, and practices which
          26     give rise to Mr. Jones’ civil rights claims.
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            1           25.    Defendant LAPD Chief Michel Moore is, and was at all times relevant to
            2    this action, the chief policymaker for the LAPD. He is sued in both his individual and
            3    official capacities.
            4           26.    Defendant Officer Peter Bueno is an agent, servant, and employee of
            5    Defendant the LAPD. Officer Bueno has been an officer of the LAPD for 25 years. He
            6    entered the police academy in 1996, where he trained for seven months before joining
            7    the police force. In those seven months, he and other cadets completed numerous
            8    trainings, including those on the use of lethal and non-lethal force, crowd control and
            9    management, de-escalation tactics, and weapons deployment. And in the 25 years since
          10     then, he has had opportunities to review LAPD manuals, directives, and policy
          11     documents on these and other topics.
          12            27.    During his years with the LAPD, Officer Bueno has been involved in at
          13     least one other excessive force incident resulting in civil rights actions against him and
          14     the City of Los Angeles. In 2004, during the arrest of an unarmed and subdued
          15     individual, Officer Bueno was filmed kneeing on the subject’s midsection while more
          16     than five other officers held and handcuffed the suspect. Despite having eight years of
          17     police experience at this point, Officer Bueno willingly violated LAPD use of force
          18     policies by striking an individual who had already been detained, was not attempting to
          19     escape, and was otherwise incapable of resisting arrest. After a yearlong investigation
          20     of this arrest and associated excessive force allegations, then-LAPD Chief William
          21     Bratton recommended that Officer Bueno and other officers be disciplined. Officer
          22     Bueno was suspended for six days without pay.
          23            28.    Bueno is the LAPD officer that fired the Rubber Bullet at Mr. Jones,
          24     striking him in the face and causing Mr. Jones’ injuries. He is sued in both his
          25     individual and official capacities.
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            1                                FACTUAL ALLEGATIONS
            2    I.    George Floyd’s Murder at the Hands of the Police Sets Off Protests in Los
            3          Angeles and Around the World
            4          29.    On May 25, 2020, Minneapolis police officer Derek Chauvin murdered
            5    George Floyd, an unarmed Black man, by kneeling on Mr. Floyd’s neck for eight
            6    minutes and 46 seconds, ignoring his repeated pleas and draining the life from his body.
            7    The video of Mr. Floyd’s murder sparked outrage, heartbreak, and a wave of protests in
            8    the United States and abroad that continues today.
            9          30.    Mr. Floyd’s murder followed on the heels of several other recent racially
          10     charged killings of Black Americans by law enforcement and vigilantes, including the
          11     fatal shootings of Ahmaud Arbery, who was shot while jogging, and Breonna Taylor,
          12     who was shot by plainclothes officers executing a “no-knock” search warrant in Ms.
          13     Taylor’s home. The deaths of Mr. Floyd, Mr. Arbery, and Ms. Taylor are not isolated
          14     incidents. In recent years, Trayvon Martin, Eric Garner, Michael Brown, Sandra Bland,
          15     Tamir Rice, Philando Castile, Botham Jean, and countless other Black Americans have
          16     suffered similar tragic and senseless deaths, each sparking protests and demonstrations
          17     in their own right.
          18           31.    Following Mr. Floyd’s murder, large protests broke out in communities
          19     across the country, including here in Los Angeles.        Like many Americans, and
          20     particularly as a Black man, Mr. Jones was deeply saddened and distressed by Mr.
          21     Floyd’s murder. In the days that followed, drawing on his background in politics and
          22     social justice, Mr. Jones organized and attended a number of protests in downtown Los
          23     Angeles, where demonstrations have been held continuously since. Together, Mr. Jones
          24     and others lent their voices to an enduring movement that started at the Founding of our
          25     Nation demanding—at long last—racial justice in America.
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            1    II.   Los Angeles Protesters Face Police Violence on Memorial Day Weekend
            2          2020, Leading to Officer Bueno’s Shooting of Mr. Jones
            3          32.   On Friday, May 29, 2020, Mr. Jones joined a protest in Downtown Los
            4    Angeles. At around 5:00 p.m., several hundred individuals set off from City Hall with
            5    signs. Throughout the course of the march, which lasted several hours, the group was
            6    blockaded and diverted by LAPD officers in full riot gear. The police also employed a
            7    strategy called “kettling”—an aggressive crowd-control tactic that corrals and traps
            8    groups of people by surrounding them with officers and preventing the group from
            9    moving.
          10           33.   Later that evening, Mr. Jones and his fellow protesters, including his friend
          11     Niara Hill, were kettled by LAPD officers. After several hours of being trapped in by
          12     the police, a lone, nonviolent, and apparently unarmed protester approached a line of
          13     LAPD officers and attempted to speak with them. In response, and without provocation
          14     or warning, an LAPD officer shot him at close range with a Rubber Bullet.
          15           34.   The shot caused instant and widespread chaos throughout the crowd.
          16     Protesters ran in every direction. LAPD officers sprayed more Rubber Bullets into the
          17     crowd, and the protesters attempted to flee for their safety. Rubber Bullets struck two
          18     of Mr. Jones’ friends, including Ms. Hill, who was also trampled by protesters fleeing
          19     the LAPD’s violent attack.
          20           35.   Concerned for his safety but determined to make his voice heard, Mr. Jones
          21     returned to protest the following day. Mr. Jones was wearing black sweatpants, a denim
          22     baseball cap, a light blue face mask, and a jacket from Puma’s Power Through Peace
          23     collection. The Puma jacket was designed to commemorate gold medalist Tommie
          24     Smith’s salute at the 1968 Olympic Games, where he used his moment on the podium
          25     to bow his head and raise his fist in silent protest against human rights abuses and
          26     discrimination against Black Americans. The jacket has red stripes along the arms and
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            1    a distinctive logo on the back, consisting of a large white rectangle with the year “1968”
            2    and the words “Power Through Peace.”6
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          14                      Front of Puma Jacket 7                  Back of Puma Jacket 8
          15
          16                36.     On Saturday, May 30, 2020, Black Lives Matter Los Angeles organized a

          17     protest in Pan Pacific Park. The scene that day was joyful: the crowd was enjoying

          18     speeches and chanting, grandparents were playing with their grandchildren, and music

          19     played in the background. See Dkt. 4, “Exhibit A – Peaceful Protest in the Park.” Mr.

          20     Jones and Ms. Hill arrived around 2:00 p.m., shortly before the speeches in the park

          21     came to a close. Mr. Jones believed that the family-centric atmosphere meant a lower

          22     risk of police violence than the night before. He would soon be proven wrong.

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          25      6
                      Puma x Power Through Peace T7 Jacket, The One,
          26          https://www.theoneinus.com/puma-x-power-through-peace-t7-jacket-578456-
                      01.html?id=28266220 (last visited June 30, 2021).
          27      7
                      Id.
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                      Id.
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            1          37.    Mr. Jones marched with the thousands of protesters down Beverly
            2    Boulevard to Fairfax Avenue, until the march reached Fairfax Avenue and 3rd Street.
            3    There, the protest gathered for its conclusion and final speeches.             Following the
            4    conclusion of the Black Lives Matter Los Angeles programming, Mr. Jones marched
            5    with the protesters down Fairfax Boulevard, toward Beverly Hills, where they were met
            6    with a line of LAPD officers outfitted in full riot gear. Mr. Jones and Ms. Hill had agreed
            7    to stay off of the front lines after their violent experience with the police the night before.
            8    Along with other protesters, they moved toward an adjacent parking lot in front of a
            9    Trader Joe’s to get away from the LAPD officers and start making their way home.
          10           38.    From where Mr. Jones stood in the Trader Joe’s parking lot, he could see
          11     the protest begin to devolve into a frightening display of LAPD violence. Officers
          12     standing at the front line of the protest at 3rd Street and Fairfax Avenue were beating
          13     protestors with batons and shooting Less-Lethal Launchers into the crowd. At the
          14     same time, a second line of LAPD officers had formed in the Trader Joe’s parking lot.
          15     Officers delivered confusing orders, directing protestors to disperse but simultaneously
          16     giving the crowd no avenue to do so. As they had the previous night, LAPD officers
          17     employed the “kettling” tactic to hold protestors, many of whom, like Mr. Jones, were
          18     simply trying to leave the protest.
          19           39.    As LAPD officers continued to escalate their efforts to disperse
          20     protestors, Mr. Jones attempted to safely exit the parking lot by walking through a
          21     pedestrian walkway just west of Fairfax Avenue. As he made his way across the
          22     Trader Joe’s parking lot, Mr. Jones felt an LAPD officer’s baton strike him across the
          23     back while he live-streamed the scene with his phone. Mr. Jones watched as LAPD
          24     officers, including Officer Bueno, continued to kettle the protesters. They prevented
          25     protesters from exiting the parking lot even as other officers struck protestors with
          26     batons for failing to comply with dispersal orders.
          27           40.    Just before reaching the pedestrian walkway to leave the scene, at around
          28     3:24 p.m., Mr. Jones paused near a parking kiosk at the east end of the Trader Joe’s


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            1    parking lot where a small crowd had formed. Two minutes later, around 3:26 p.m., an
            2    individual protestor standing behind Mr. Jones threw a water bottle toward Officer
            3    Bueno before ducking away. The water bottle landed feet to the right of Officer Bueno
            4    and did not strike any other officers.
            5           41.   Without pausing to determine who threw the water bottle, Officer Bueno
            6    aimed and fired a Rubber Bullet at Mr. Jones from close range, striking him on the
            7    right side of his face. Mr. Jones described the moment of impact as akin to “having
            8    [his] face blown off.” His face searing with pain, Mr. Jones ran through the crowd and
            9    down the pedestrian alley next to Trader Joe’s where he soon collapsed.
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                        42.   Ms. Hill found Mr. Jones lying on the ground, bleeding profusely and
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                 with skin hanging off of his swollen face. Mr. Jones was in a daze and repeatedly
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                 asked Ms. Hill: “Why did they shoot me?” The impact produced an intense ringing in
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                 his head that would recur throughout his long recovery process.
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                 III.   Officer Bueno Repeatedly Violates LAPD Policy During the May 30 Protest
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                        43.   On the morning of May 30, 2020 Officer Bueno reported directly to a
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                 staging location in West Los Angeles, as a part of the response to the Protest. After
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                 arriving at the staging area, Officer Bueno was told that he would be a part of Tactical
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                 Support Element (“TSE”) 4, which would be deployed in support of TSE 3’s missions
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            1    to move and control the protestors. Officer Bueno waited at the staging area along
            2    with other members of TSE 4 until TSE 3 requested assistance. While waiting, one of
            3    Officer Bueno’s supervisors, Sergeant Hwang, assigned Bueno a 40mm Less-Lethal
            4    Launcher. Prior to May 30, Officer Bueno had been assigned to crowd-control
            5    response teams like TSE 4 between 10 and 100 times and had experience carrying the
            6    40mm Less-Lethal Launcher.
            7          44.    Armed with their Less-Lethal Launchers, Officer Bueno and other
            8    members of TSE 4 deployed from the staging area to TSE 3’s location about a block
            9    from 3rd Street and Fairfax.
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          12           45.    Upon arrival, Officer Bueno’s role in the response was that of a cover
          13     officer, meaning he was instructed to stay back from any skirmish lines with
          14     protestors. His job, instead, was to ensure the safety of officers at the skirmish line, by
          15     covering them if protestors demonstrated an immediate threat to their safety or the
          16     safety of others on the scene. Officer Bueno had been trained on proper deployment of
          17     40mm Less-Lethal Launchers when he was assigned this role.
          18           46.    Despite his training, during the May 30, 2020 protest, Officer Bueno
          19     repeatedly failed to follow basic LAPD procedure with respect to crowd control, use of
          20     force generally, deployment of 40mm Less-Lethal Launchers, and body-worn video
          21     camera use. Officer Bueno’s misconduct throughout the course of the May 30, 2020
          22     protest harmed or endangered peaceful protestors and allowed him to circumvent the
          23     LAPD’s own accountability measures.
          24           47.    By his own count, Officer Bueno shot 22 individuals with his 40mm Less-
          25     Lethal Launcher during the May 30, 2020 protest.
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            3          48.    As of May 30, 2020, Officer Bueno knew that the only approved target
            4    areas for 40mm Less-Lethal Launchers were the abdomen and chest area or thighs or
            5    legs. He was aware that shooting 40mm projectiles at the head, neck, and face was
            6    prohibited due to the risk of a concussion or other severe head trauma. And yet, on
            7    May 30, 2020 Officer Bueno routinely aimed his 40mm Less-Lethal Launcher into
            8    large crowds of protesters, often targeting the launcher at protesters’ faces, necks, and
            9    upper bodies. As 40mm Less-Lethal Launchers do not have a safety to protect against
          10     accidental discharge, simply pointing the launcher at these impermissible target areas
          11     evinced Officer Bueno’s willful disregard for the safety of peaceful protestors.
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          20           49.    As of May 30, 2020, Officer Bueno also knew that LAPD policy
          21     restricted when 40mm Less-Lethal Launchers could be deployed in the first place. He
          22     was aware that they could only be deployed in a target-specific fashion, when an
          23     individual demonstrated an immediate threat to the safety of police officers or others.
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          17                                    It is because of this risk that LAPD policy specifically
          18     states that “officers should avoid” deploying 40mm Less-Lethal Launchers at
          19     individuals who “[a]re on an elevated or unstable surface which could cause a fall
          20     that could result in a significant impact injury.” 9
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                      Dkt. 1, Exhibit B at 3.

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                 IV.   Mr. Jones Suffered Physical and Psychological Trauma and Continues to
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                       Have Lasting Injuries
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                       52.   Mr. Jones was transported to the hospital by two strangers, medical students,
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                 who stopped to help clean and dress his wounds while he was lying on the ground
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                 bleeding from his face. Upon arriving at the hospital, Mr. Jones learned that he had
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                 suffered a laceration to his face that required ten stitches, a closed fracture of his
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            1    zygomatic arch and maxilla bone, 10 and a head injury. Mr. Jones spent over eight hours
            2    in the hospital and ultimately incurred over $12,000 in medical bills.
            3            53.   The day after Mr. Jones was struck, he began to experience dizziness. He
            4    would sporadically hear ringing in his head like the sound he heard when he was initially
            5    hit. He also coughed up blood in the days immediately following the shooting. For
            6    weeks Mr. Jones suffered nightmares about his assault and would wake up with the same
            7    ringing sensation in his head.
            8            54.   Mr. Jones’ ophthalmologist removed his stitches a couple of weeks after
            9    the incident. He advised Mr. Jones that if the projectile had struck him just millimeters
          10     to the right, Mr. Jones likely would have been blinded, and if the projectile had struck
          11     him just millimeters to the left, the projectile would have hit his temple and Mr. Jones
          12     very easily could have been killed.
          13             55.   As of today, over a year since the assault, Mr. Jones must still be cognizant
          14     of the risk of further injury. His ophthalmologist informed him that he would continue
          15     to be at heightened risk for a fully detached retina that could lead to blindness if further
          16     trauma to the region were ever to occur. As a result, he was for a time unable to engage
          17     in many physical activities for fear of reinjury.
          18             56.   Mr. Jones has worked with various individuals to deal with the mental
          19     impacts of the traumatic events he has experienced. He has also begun to seek formal
          20     psychotherapy as well. While his symptoms come and go, the video of Jacob Blake, an
          21     unarmed Black man shot by police in Kenosha, Wisconsin on August 23, 2020, brought
          22     back the ringing, nightmares, and trauma for Mr. Jones with renewed force, as have more
          23     recent events both in Los Angeles and around the country. He is also unable to enter a
          24     gym to lift weights because the sounds of the weight room bring with them the trauma
          25     of May 30, 2020.
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                      The zygomatic arch and maxilla bone are bones in the face, located under the cheek
                      and around the eye.

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            1           57.   There is no telling when Mr. Jones will be able to once again live his life
            2    without fear of reinjury or trauma. And his doctors have made clear that if he is shot in
            3    the face again by another Rubber Bullet, the resulting injury would be even more serious
            4    than his first one and would more than likely cause catastrophic damage.
            5    V.     Apprehensive Protesters Continue to Engage in Peaceful Protests Despite
            6           the High Likelihood that the LAPD Will Use Rubber Bullets
            7           Indiscriminately as a Crowd Dispersal Tactic
            8           58.   A protest sign from the 1963 March on Washington hangs in the
            9    Smithsonian’s National Museum of African American History and Culture. It reads
          10     “We Demand an End to Police Brutality Now!” 11 Tragically, that sign—and its
          11     impassioned plea for justice—is needed not only in the museum to educate about the
          12     past, but also on the streets of cities throughout America, including right here in Los
          13     Angeles.
          14            59.   As Americans find themselves amidst a long overdue rebirth of the
          15     movement for racial justice and equality in America, those brave enough to join the fight
          16     have once again found themselves targeted with extreme violence by law enforcement.
          17     Peaceful protesters in the 1960s were regularly subjected to violence at the hands of
          18     police. Americans are or should be familiar with the horrific scenes of peaceful
          19     protesters met with unthinkable police brutality: police dogs, hoses, whips, billy clubs,
          20     tear gas, and other so-called “crowd-control” tactics that were deployed to suppress the
          21     voices of peaceful civilians at some of the most seminal civil rights demonstrations in
          22     history, including on March 7, 1965, in Selma, Alabama on the now-infamous Bloody
          23     Sunday.
          24            60.   Similar scenes now infect recent memory, unfolding in cities across
          25     America as people took to the streets to protest the murders of George Floyd, Breonna
          26     Taylor, Tamir Rice, and other Black Americans, and to demand an end to racism in this
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                      Nodjimbadem, supra note 1.

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            1    country. In the face of such racism, these protestors were met by twenty-first century
            2    versions of the very same police violence.
            3            61.   Those protests continued unabated in the wake of the George Floyd protests.
            4    Black Lives Matter LA, for instance, held events to protest police brutality and advocate
            5    for racial justice, such as the #JackieLaceyMustGo Neighborhood Walks, where
            6    members of the community joined members of Black Lives Matter LA in canvassing
            7    neighborhoods in an effort to vote Los Angeles District Attorney Jackie Lacey out of
            8    office due to her reluctance to file charges against police officers who have unjustly
            9    killed or injured Black people. Black Lives Matter LA continues planning other activism
          10     efforts at its meetings. They fully expect that the police will continue to employ
          11     dangerous crowd-control methods, including Rubber Bullets, at anticipated protests and
          12     demonstrations, as the LAPD has yet to show the citizens of the City of Los Angeles
          13     that they are capable of doing otherwise.12
          14             62.   Following his injury, Mr. Jones wanted to return to the protests but decided
          15     not to because he was afraid of being injured again by the LAPD. In fact, his doctors
          16     have told him that if the LAPD shoots him again with Rubber Bullets, the resulting
          17     damage could be even more serious than his first wound, as the initial damage has
          18     rendered him more vulnerable to suffering catastrophic harm from projectiles or other
          19     blunt-force trauma to his face.
          20             63.   Looking ahead, Mr. Jones wishes to be free to exercise his constitutional
          21     rights of freedom of speech and association by engaging in upcoming demonstrations
          22     and expressive activities, however they may arise, in the City of Los Angeles. However,
          23     Defendants’ conduct has made Mr. Jones fear for his safety and caused him concern
          24     about the exercise of his constitutional rights. To be clear: Mr. Jones is afraid to protest
          25     due to the risk that the LAPD may once more inflict unwarranted violence against him
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          27     12
                      Organize, Black Lives Matter L.A., https://www.blmla.org/organize/ (last visited
          28          Nov. 3, 2021).


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            1    and other protesters. 13 Mr. Jones is also afraid that he may again be injured by a Rubber
            2    Bullet from the LAPD if he chooses to exercise his constitutional rights of freedom of
            3    speech and association by engaging in demonstrations.
            4    VI.     Despite Defendants’ Ongoing Obstruction and Stonewalling, Plaintiff Is
            5            Finally Able to Confirm that Officer Bueno Is the Shooter
            6            64.   From the beginning of this litigation, Mr. Jones made identifying his
            7    shooter (originally named as a “Doe” defendant) a top priority. Despite multiple, clear
            8    directives from this Court, see Dkts. 45, 54, Defendants refused to cooperate with Mr.
            9    Jones’ discovery requests that sought documents and video footage critical to finding
          10     the shooter. Mr. Jones’ persistence ultimately paid off. Defendants produced
          11     hundreds of hours of body-worn video footage, which Plaintiff’s counsel painstakingly
          12     reviewed for any and all evidence of the shooting. This careful analysis led Mr. Jones
          13     to believe that Officer Bueno was the shooter. But in the face of Defendants’ dogged
          14     denials of Mr. Jones’ injury and Officer Bueno’s involvement, Mr. Jones continued to
          15     pursue evidence that would confirm his belief, including taking a deposition of Officer
          16     Bueno.
          17             65.   Officer Bueno’s deposition was held on June 23, 2021. During that
          18     deposition, Mr. Jones sought to fully examine Officer Bueno’s role in the shooting. In
          19     response, Officer Bueno and his counsel attempted to prevent any reasonable
          20     examination. Counsel repeatedly asserted inapposite objections and tried to cut off
          21     testimony to conceal the truth. But Officer Bueno’s responses ultimately shed light on
          22     his conduct during the protest and his involvement in Mr. Jones’ shooting. While
          23     Officer Bueno dodged admitting any responsibility for the shooting itself, he made
          24     several key admissions. Officer Bueno did not deny that he was in the Trader Joes
          25     Parking lot just feet away from Mr. Jones. He did not deny he was in that parking lot
          26
          27     13
                      Ronald Brownstein, Democrats Won’t Cede the Streets This Time, Atlantic (Sept.
          28          10, 2020), https://www.theatlantic.com/politics/archive/2020/09/how-democrats-
                      are-preparing-post-election-chaos/616255/.

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            1    at the exact moment Mr. Jones was shot. He did not deny that he was the only officer
            2    with a 40mm Less-Lethal Launcher in that area. He did not deny that he had shot
            3    other individuals that day. And, he did not deny that in video footage of the shooting,
            4    he could hear three discharges of a 40mm Less-Lethal Launcher at the exact moment
            5    Mr. Jones was shot.
            6            66.   Following Officer Bueno’s deposition, Defendants continued to haltingly
            7    produce documents pertinent to identifying the Doe shooter, including Officer Bueno’s
            8    notes regarding his 40mm deployments on May 30, 2020. Originally Defendants
            9    produced these notes in an illegible form. Only after Plaintiff’s dogged objections did
          10     Defendants agree to produce these critical notes in legible form—notes that confirmed
          11     just how many times Officer Bueno shot peaceful protesters on May 30, 2020: a
          12     staggering 22, not counting those discharges that were not captured by his body-worn
          13     video camera. Defendants similarly promised a report from their internal
          14     investigations into the shooting. Originally, they promised the report would be
          15     produced in August 2021. But they delayed and stonewalled further, failing to produce
          16     the first of those documents until October 15, 2021.
          17             67.   Defendants have disclosed to Plaintiff that two internal LAPD
          18     departments have been “investigating” Mr. Jones’ shooting—the Internal Affairs
          19     Group (“IAG”) and the FID. The IAG “acts as the investigative arm of the Chief of
          20     Police (COP) with respect to employee misconduct,” and is “responsible for
          21     investigating the more serious complaints of misconduct.”14 While Defendants have
          22     claimed that the IAG has yet to complete its investigation, Defendants have stated that
          23     a report will be available by December 8, 2021—over a year and a half after Officer
          24     Bueno shot Mr. Jones.
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                      Internal Affairs Group, LAPD, https://www.lapdonline.org/internal_affairs_group
                      (last visited June 29, 2021).

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            1          68.    The FID’s investigation is apparently done. But the report is staggering in
            2    its shamelessness. Instead of attempting to find the truth,
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            4    VII. The LAPD’s Unlawful Practices and Policies and the Lack of Training
            5            Allowed Officer Bueno and Other LAPD Officers to Use Violent Force
            6            Indiscriminately as a Crowd-Dispersal Tactic Including Against Mr. Jones
            7            A.     The LAPD’s Longstanding Custom and Practice Puts Peaceful
            8                   Protestors at Risk of Serious Harm
            9            73.    The LAPD purports to follow written policies when using force, but its
          10     practices and customs diverge significantly from those policies. The LAPD ostensibly
          11     operates under the Policy on the Use of Force (the “Policy”), which is an official policy
          12     approved by the Board of Police Commissioners providing rules regarding the LAPD’s
          13     use of force. The Policy is supplemented by “Tactics-Directives,” which contain details
          14     on specific aspects of the Policy and are incorporated into the Policy.
          15             74.    “Rubber Bullets” are 40mm Exact Impact kinetic, hard foam-tipped
          16     projectiles. Officers fire them from the 40mm “less lethal” launcher, which is essentially
          17     a modified shotgun. Pursuant to the 40mm Tactics-Directive, officers are allowed to use
          18     “less lethal” weapons against a crowd, but only when an officer determines that an
          19     individual suspect is actively resisting arrest or attempting to evade arrest. Moreover,
          20     the Policy acknowledges that “less lethal” uses of force are capable of inflicting serious
          21     injury, and therefore reiterates that the use of “less lethal” weapons is permissible only
          22     when an officer reasonably believes that a suspect is violently resisting arrest or poses
          23     an immediate threat of violence or physical harm. According to the Policy, “less lethal”
          24     force options shall not be used against a suspect who is passively resisting or failing to
          25     comply with commands.”19 Further, the 40mm Less-Lethal Launcher may only be used
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                      Dkt. 1, Exhibit B at 1.


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            1    in crowd-control situations against a single subject in an individualized, target-specific
            2    fashion. 20
            3               75.   In addition, the Tactics-Directive requires that officers “shall, when
            4    feasible, give a verbal warning prior to using the 40mm LLL to control an individual,”
            5    which “should include a command and a warning of potential consequences of the use
            6    of force.”21 In addition, it provides that “use of a 40mm LLL for any reason other than
            7    an approved training exercise shall be documented according to established Department
            8    procedures on the Non-Categorical Use of Force Report. . . . Supervisors shall obtain
            9    photographs of all visible and complained of injuries, even when evidenced of injury is
          10     not present. . . . Any person struck with a [40mm round] shall be transported to a
          11     Department-approved facility for medical treatment prior to booking. The person should
          12     be carefully monitored for signs of distress.” 22
          13                76.   In its “Points to Remember” section, the Tactics-Directive reiterates: “Do
          14     not target the head, neck, spine, chest, groin, or kidneys.”23 The 40mm Tactics-
          15     Directive also states that the 40mm “less lethal” launcher weapon “shall not be used to
          16     target the head, neck, face, eyes or spine.”24 In practice, however, the LAPD takes no
          17     precautions with respect to where it aims these weapons, and officers fire them
          18     indiscriminately at the torsos and heads of the people of this City whenever they are
          19     gathered in large crowds, and in the case of Mr. Jones, directly at his face from a close
          20     range. 25
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          22     20
                      Id.
          23     21
                      Id.
          24     22
                      Id. at 4.
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                 23
                      Id. at 5.
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                      Id. at 1 (emphasis added).

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                      Kevin Rector, One Man’s Eye ‘Exploded,’ Another Lost Eight Teeth from LAPD


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            1               77.   In fact, the LAPD has developed a practice and custom of using “less lethal”
            2    weapons against a subject who is not subject to arrest, not violently resisting arrest, and
            3    is not posing an immediate threat of violence or physical harm to officers, themselves,
            4    or other individuals. Instead, as accounts from the George Floyd protests in Los Angeles
            5    reveal, LAPD officers spray Rubber Bullets indiscriminately into crowds of protesters,
            6    seemingly with no specific target in mind. The LAPD’s indiscriminate use of “less lethal”
            7    weapons against protesters is a routine practice.
            8               78.   The LAPD has a long history of misusing Rubber Bullets.26 It deployed
            9    Rubber Bullets as early as 1992 in response to protests sparked by the brutal beating of
          10     Rodney King by LAPD officers. 27 The LAPD used Rubber Bullets again in August
          11     2000 to forcibly break up protests outside the Democratic convention, blinding at least
          12     one woman. 28 Then, in May 2007, the LAPD deployed Rubber Bullets against crowds
          13     at the MacArthur Park Protests calling for amnesty for undocumented immigrants. The
          14     LAPD used Rubber Bullets again in October 2011 during the Occupy Los Angeles
          15     protests.29
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          18          Projectiles Fired at Lakers Revelers, L.A. Times (Oct. 15, 2020),
                      https://www.latimes.com/california/story/2020-10-15/lapd-projectiles-gruesome-
          19          injuries-lakers-celebration.
          20     26
                      Joel Rubin, LAPD Violence Against George Floyd Protests Erodes a Decade of
          21          Reforms, L.A. Times (June 14, 2020),
          22          https://www.latimes.com/california/story/2020-06-14/lapd-protest-history-
                      criticism-heavy-tactics.
          23
                 27
                      Dean E. Murphy, Rubber Bullets Pass LAPD Test: Police Officers Used New
          24          ‘Knee Knockers’ to Disperse Crowd. Officials Say the Non-lethal Munitions
          25          Appear to be Working Well, L.A. Times (Dec. 17, 1992),
                      https://www.latimes.com/archives/la-xpm-1992-12-17-me-2994-story.html.
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                      Rubin, supra note 26.
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          28          Id.


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            1            79.   The LAPD has used this tactic time and again against peaceful protesters,
            2    like Mr. Jones, who were exercising their constitutional rights. 30 At the George Floyd
            3    protests in May and June of 2020, as explained above, the LAPD were not employing
            4    Rubber Bullets to incapacitate any one individual resisting arrest or for any lawful
            5    purpose. Rather, the LAPD sprayed Rubber Bullets into a crowd to punish protesters
            6    for their political speech and to deter similar expressions of constitutionally protected
            7    speech.
            8            80.   Sadly, Mr. Jones’ injuries are not unique. Reports of protesters suffering
            9    fractured skulls, lost eyes, and other serious injuries from Rubber Bullets have become
          10     routine since protests began in Los Angeles last summer. 31 For example:
          11                   a) On May 30, 2020, at the same protest, 28-year-old Eric Schuh was
          12                      struck in the mouth by a Rubber Bullet while trying to help someone in
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          16     30
                      Donovan Slack, Dennis Wagner, Kevin McCoy & Jay Hancock, Police Use of
                      Rubber Bullets, Bean Bag Rounds has Left a Bloody Trail for Decades, USA
          17
                      Today (July 24, 2020), https://www.usatoday.com/in-
          18          depth/news/nation/2020/07/24/rubber-bullets-less-lethal-weapons-victims-police-
                      protesters-decades/5410519002/; Maeve Reston & Joel Rubin, L.A. to Pay $13
          19
                      Million to Settle May Day Melee Suits, L.A. Times (Feb. 5, 2009),
          20          https://www.latimes.com/archives/la-xpm-2009-feb-05-me-lapd-settlement5-
                      story.html; Associated Press, LAPD Video Shows Protester With Hands Up Shot in
          21
                      Head by Rubber Bullet, NBC L.A. (Aug. 2, 2020),
          22          https://www.nbclosangeles.com/news/local/lapd-video-protester-hands-up-shot-in-
          23          head-by-rubber-bullet/2406184/.

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                 31
                      See, e.g., Liz Szabo, Jay Hancock, Kevin McCoy, Donovan Slack & Dennis
                      Wagner, Fractured Skulls, Lost Eyes: Police Often Break Own Rules Using
          25          ‘Rubber Bullets’, USA Today (June 19, 2020), https://khn.org/news/rubber-bullets-
          26          protesters-police-often-violate-own-policies-crowd-control-less-lethal-weapons/;
                      Knvul Sheikh & David Montgomery, Rubber Bullets and Beanbag Rounds Can
          27          Cause Devastating Injuries, N.Y. Times (June 12, 2020),
          28          https://www.nytimes.com/2020/06/12/health/protests-rubber-bullets-beanbag.html/.


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            1                     the crowd who had fallen.32 The projectile snapped off one of his teeth,
            2                     cracked several others, and busted his lip open.
            3                  b) Also on May 30, 2020, at the same protest, Tina Crnko was struck in the
            4                     left bicep, ribcage, and forehead by Rubber Bullets. 33 The impact
            5                     caused temporary hearing loss and extreme pain. Crnko’s forehead
            6                     injury required seven stitches, and she still suffers from nerve damage.
            7                  c) Also on May 30, 2020, at the same protest, Randy Stewart was struck
            8                     on the back of the head by a Rubber Bullet. 34 He suffered a traumatic
            9                     brain injury, a brain hemorrhage, blurred vision, difficulty speaking, and
          10                      PTSD.
          11                   d) On June 2, 2020, Ben Montemayor, a 28-year-old filmmaker, was hit by
          12                      a Rubber Bullet in Hollywood. Mr. Montemayor was struck in the groin
          13                      causing one of his testicles to swell to twice its usual size and forcing
          14                      him to undergo immediate emergency surgery. 35
          15
          16     32
                      Kevin Rector, Soumya Karlamangla & Richard Winton, LAPD’s Use of Batons,
          17          Other Weapons Appears to Violate Rules, Significantly Injuring Protesters, Times
                      Review Finds, L.A. Times (June 11, 2020),
          18
                      https://www.latimes.com/california/story/2020-06-11/lapd-violated-protocols-for-
          19          batons-and-less-lethal-bullets-injuring-many-protesters.
          20     33
                      First Amended Complaint, Black Lives Matter Los Angeles v. City of Los Angeles,
          21          No. 2:20-cv-05027-CBM-AS (June 21, 2020).
          22     34
                      Parris Law Firm, R. Rex Parris Serves $50 Million Government Claim on Behalf of
          23          Peaceful Black Lives Matter Protester Severely Injured by Rubber Bullet, PR
                      Newswire (July 9, 2020), https://www.prnewswire.com/news-releases/r-rex-parris-
          24          serves-50-million-government-claim-on-behalf-of-peaceful-black-lives-matter-
          25          protestor-severely-injured-by-rubber-bullet-301091187.html.

          26
                 35
                      Kevin Rector, Video Shows LAPD Officer Shooting Protester in Groin at Close
                      Range, L.A. Times (Sept. 19, 2020),
          27          https://www.latimes.com/california/story/2020-09-19/video-shows-lapd-officers-
          28          protesters-shoot-him-in-groin.


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            1                  e) On October 11, 2020, 22-year-old William Gonzalez was hit in the eye
            2                     with a Rubber Bullet shattering his eye socket, ripping apart his tear duct,
            3                     and exploding his eyeball when he was out celebrating the L.A. Lakers’
            4                     NBA title win outside the Staples Center. 36 He is now permanently
            5                     blind in his right eye.
            6                  f) Also on October 11, 2020, during that same incident, one of the LAPD’s
            7                     Rubber Bullets struck 25-year-old Manny Barrientos in the mouth. 37 He
            8                     lost eight teeth and suffered a severe injury to his lip.
            9                  g) In March 2021, the LAPD responded to nonviolent protests over the
          10                      removal of a homeless encampment in Echo Park with the deployment
          11                      of Rubber Bullets. Officers were “captured on video using the weapons
          12                      in ways that appeared to violate the department’s policies.”38
          13                   h) On July 17, 2021, the LAPD responded to peaceful protest by trans
          14                      rights activists with the deployment of Rubber Bullets. Footage depicts
          15                      officers apparently shooting beanbag rounds at protesters from less than
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          17
          18     36
                      Rector, supra note 25 (“He will never see out of his right eye and will probably
          19          need to have it removed to avoid the threat of losing vision in his good eye through
                      a phenomenon known as sympathetic ophthalmia—a process by which the immune
          20          system begins to attack both eyes if one is traumatized beyond repair and remains
          21          in the body.”).
          22     37
                      Sareen Habeshian & Chris Wolfe, Man Says He Lost 8 Teeth, Chunk of Lower Lip
          23          When LAPD Rubber Bullet Hit Him Amid Lakers Championship Celebration,
                      CBS42 (Oct. 14, 2020), https://www.cbs42.com/news/u-s-world/man-says-he-lost-
          24          8-teeth-chunk-of-lower-lip-when-lapd-rubber-bullet-hit-him-amid-lakers-
          25          championship-celebration/.

          26
                 38
                      Kevin Rector, ‘It Stood Out to Me as Egregious’: Protesters, Others Allege LAPD
                      Violence at Echo Park Sweep, L.A. Times (Mar. 30, 2021),
          27          https://www.latimes.com/california/story/2021-03-30/protesters-others-allege-lapd-
          28          violence-at-echo-park-protests.


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            1                      five feet away and firing rounds from the 40mm launcher at protestors
            2                      attempting to flee the scene. 39
            3            81.    Defendants therefore have a demonstrated custom of authorizing excessive
            4    force by the LAPD against peaceful protesters engaged in constitutionally protected
            5    conduct.      Indeed, the LAPD has acknowledged that its officers consistently and
            6    historically commit unlawful and violent acts against peaceful protesters and that LAPD
            7    line and command staff do not receive adequate training on proper law enforcement
            8    conduct and procedures at public demonstrations.         For example, the Settlement
            9    Agreement arising from Multi-Ethnic Immigrant Workers Organizing Network v. City
          10     of Los Angeles, 246 F.R.D. 621 (C.D. Cal. 2007)—a case brought to challenge police
          11     brutality by the LAPD at the May Day protests in MacArthur Park in 2007—included a
          12     $12,850,000 payment to individuals and a Structural Relief Order establishing
          13     guidelines for LAPD officers’ conduct toward protesters to preserve protesters’ First
          14     Amendment rights.40 This directive was only necessary because the LAPD could not,
          15     or would not, train its own officers to perform their duties in a constitutional manner.
          16     The recurrence of the same constitutional violations over a decade later reveals the
          17     LAPD’s intentional and institutional refusal to preserve the constitutional rights of
          18     protesters.
          19             82.    Since the Settlement Agreement in Multi-Ethnic Immigrant Workers
          20     Organizing Network, the LAPD has continuously failed to adequately train its officers
          21     and command staff in, among other things, the rights of demonstrators, lawful crowd
          22     control, dispersal orders, separating those engaged in unlawful conduct from those
          23
          24     39
                      Robert Mackey, As Transphobes Rally Again at Los Angeles Spa, Police Attack
          25          Counterprotesters, The Intercept (July 18, 2021),
                      https://theintercept.com/2021/07/18/transphobes-rally-los-angeles-spa-police-
          26          attack-counterprotesters.
          27     40
                      Settlement Agreement, Multi-Ethnic Immigrant Workers Org. Network v. City of
          28          Los Angeles, No. CV 07-3072 AHM, 2009 WL 9112416 (C.D. Cal. June 24, 2009).


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            1    engaged in lawful conduct, the permissible use of “less lethal” weapons in crowd-control
            2    situations, and the permissible use of force and circumstances justifying the use of force
            3    in crowd-control situations. 41 This failure amounts to deliberate indifference by the
            4    LAPD to the rights of persons its officers are sworn to serve and protect, and
            5    demonstrates the LAPD’s intention not to properly train its law enforcement personnel.
            6            B.     Officer Bueno and Other LAPD Officers’ Excessive Force Followed
            7                   LAPD Custom and Practice and Evinced a Complete Disregard for
            8                   Protester Safety
            9            83.    The LAPD’s violent attacks on peaceful protesters have only gotten worse.
          10     Specifically, on May 28, 29, and 30 of 2020 (and beyond), the LAPD has deployed “less
          11     lethal” weapons on protesters, and has continued to deploy “less lethal” weapons against
          12     peaceful demonstrators and crowds. Disturbing videos documenting the indiscriminate
          13     nature of the LAPD’s use of Rubber Bullets are readily available online. See See Dkt.
          14     4, “Exhibit C – Protestor Shot in the Head with Rubber Bullet,” and “Exhibit D –
          15     Protestor Shot in Groin with Rubber Bullet.” These videos reveal that the LAPD has
          16     tacitly and explicitly authorized the indiscriminate use of “less lethal” weapons on
          17     crowds of protesters at demonstrations on these dates, protesters like Mr. Jones. The
          18     LAPD, acting pursuant to its plainly unconstitutional custom and practice, unlawfully
          19     used “less lethal” weapons against Mr. Jones and many others, as alleged above. In fact,
          20     during the May 30, 2020 protest, LAPD officers consistently antagonized protestors in
          21     order to then justify officers’ uses of force, deployed weapons without warning or
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                 41
                      Indeed, instead of investing in training to protect the lives of Angelenos, in 2015
                      the LAPD invited Dave Grossman, a retired Army Ranger, to conduct a training for
          25          over six hundred officers on what he calls “killology”: a concept designed to aid
          26          police officers to kill in the line of duty with less hesitation and teaches that “killing
                      is just not that big of a deal” in the line of duty. Kelly McLaughlin, One of
          27          America’s Most Popular Police Trainers is Teaching Officers How to Kill, Insider
          28          (June 2, 2020), https://www.insider.com/bulletproof-dave-grossman-police-trainer-
                      teaching-officers-how-to-kill-2020-6.

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            1    allowing sufficient time for protestors to comply with their orders, and used force
            2    beyond what was necessary in order to carry out their directives.
            3          84.
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          15           85.
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          21           88.
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          26           89.   The breadth of these incidents, combined with the LAPD’s staggering
          27     history of police brutality against protesters, including with Rubber Bullets, confirms
          28     that Officer Bueno’s shooting of Mr. Jones was not an isolated incident but rather part


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            1    and parcel of Defendants’ unconstitutional customs and practices. Defendants have been
            2    unable or unwilling to prevent LAPD officers’ improper use of “less lethal” weapons
            3    and thus have in effect authorized, made, and therefore ratified the decision to attack
            4    peaceful protesters, including Mr. Jones.
            5            C.        An Independent Report Commissioned by the City Found that the
            6                      LAPD Failed to Adequately Train or Supervise Officers to Deploy
            7                      Rubber Bullets
            8            90.       On June 30, 2020, the Los Angeles City Council requested that retired
            9    LAPD commander Gerald Chaleff conduct an inquiry into the LAPD’s crowd-control
          10     tactics and compliance with Department policies during the 2020 George Floyd
          11     protests. He released his report (the “Chaleff Report”) on March 10, 2021.42 The
          12     Chaleff Report detailed endemic problems throughout the LAPD and specifically
          13     noted inadequate training, lack of supervision, and misuse of “less lethal munitions,”
          14     including 40mm and 37mm rounds. The report further confirms the longstanding and
          15     egregious custom and practice that resulted in Officer Bueno shooting Mr. Jones.
          16             91.       The Chaleff Report began by criticizing the LAPD’s inadequate training.
          17     Staggeringly, the report noted that the LAPD offered only a two-hour training session
          18     for officers to deploy Less-Lethal Launchers. During that training, trainees fired the
          19     launcher “only a few times at a stationary target.”43 Not only was this training clearly
          20     inadequate, but it had been offered to only new recruits since 2018.44 The report
          21     contrasted this inadequate training with the high level of marksmanship and skill
          22     necessary to “competently deploy” the 40mm launcher in crowd-control situations. 45
          23
          24     42
                      Attached hereto as Exhibit A.
          25
                 43
                      Ex. A at 8.
          26
          27
                 44
                      Id. at 45.

          28
                 45
                      Id. at 62.


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            1    Tellingly, prior to 2017, only personnel certified and trained frequently to deploy the
            2    40mm launcher were allowed to do so in crowd-control situations. 46
            3               92.    The Chaleff Report also found a stark lack of supervision over the
            4    deployment of these dangerous weapons. Nearly all of the commanding officers
            5    interviewed for the report said “that their level of training and experience was limited
            6    prior to these events, and that they did not feel confident in handling these incidents.” 47
            7    This is consistent with the report’s finding that the “deployment of less lethal
            8    munitions was not always done at the direction of a supervisor or officer”; this
            9    included instances where officers were positioned in the front of skirmish lines
          10     equipped with less lethal weapons, including the 40mm launcher, with no direction or
          11     coordination from superiors.48
          12                93.    The Chaleff Report specifically concludes that the failure to properly train
          13     or supervise LAPD officers resulted in the troubling deployment of these weapons
          14     during the 2020 protests. Video review revealed multiple “instances where officers
          15     quickly fired the 40mm rounds at distant targets which increases the likelihood of
          16     hitting an unintended target.”49 This misuse had serious consequences—the report
          17     found that a majority of the reported injuries sustained by protestors were a result of
          18     40mm launcher deployments.50 This is unsurprising considering the indiscriminate
          19     overuse of these weapons. Inventory records, Chaleff explained, show nearly 10,000
          20     rounds of less lethal munitions were not returned to the LAPD armory after the
          21
          22
          23     46
                      Id. at 8.
          24     47
                      Id. at 36.
          25
                 48
                      Id. at 61–62.
          26
          27
                 49
                      Id. at 44.
                 50
          28          Id.


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            1    protests.51 But the LAPD was either unable or refused to provide numbers regarding
            2    the number of munitions used during the protests.52
            3               94.   In sum, the Chaleff Report highlighted the immense problems
            4    surrounding the LAPD’s use of Rubber Bullets, as well as the Department’s failure to
            5    adequately respond to previous lawsuits and settlements related to civil rights
            6    violations against protesters.53 Despite ongoing scrutiny, policy changes, and legal
            7    action, the LAPD has continuously failed to properly train or supervise officers using
            8    less lethal munitions in protest situations, resulting in abuse and injury.
            9               D.    Policymaking Officials Have Ratified Defendants’ Unconstitutional
          10                      Custom and Practice and Failed to Adequately Respond to Reports of
          11                      Violence Against Peaceful Protestors
          12                95.   Chief Moore directly ratified the decision to use “less lethal” weapons
          13     against protesters on May 30, 2020. In an effort to justify, defend, and condone the
          14     violent LAPD response to protesters, Chief Moore blamed the crowd, stating in a news
          15     conference on Monday, June 1, 2020: “We didn’t have protests last night. We had
          16     criminal acts. We didn’t have people mourning the death of this man, George Floyd, we
          17     had people capitalizing. His death is on their hands, as much as it is those officers.”54
          18                96.   Chief Moore and officials of the City of Los Angeles also have a
          19     sufficiently senior role such that their decisions may fairly be said to represent official
          20     policy of the City of Los Angeles and the LAPD. Chief Moore and those same officials
          21
          22     51
                      Id. at 43 (noting that “over 3,500 rounds of 40mm and over 6,200 rounds of 37mm
          23          munitions were not returned to the [LAPD] armory”).
          24     52
                      Id.
          25     53
                      Id. at 16–17.
          26
                 54
                      Richard Winton, Cindy Chang & Benjamin Oreskes, LAPD Chief Michel Moore’s
          27          Comments on Looters Create Political Firestorm, L.A. Times (June 3, 2020),
          28          https://www.latimes.com/california/story/2020-06-03/lapd-chief-moores-
                      comments-on-looters-create-political-firestorm-even-after-he-apologized.

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            1    of the City of Los Angeles chose to condone the use of “less lethal” weapons against
            2    protesters, including Mr. Jones. Chief Moore is the highest authority within the LAPD,
            3    and has knowledge of both the continuous and indiscriminate use of “less lethal”
            4    weapons against protesters and the failure to effectively train officers as alleged above.
            5    Therefore, the decision to use “less lethal” weapons was effectively made by official
            6    policymakers and Chief Moore.
            7            97.   On June 2, 2020, Los Angeles Mayor Eric Garcetti announced that he
            8    directed the LAPD to “minimize” the use of Rubber Bullets when dealing with
            9    peaceful protestors, stating that, “I think that we’ve seen less of any of those tactics
          10     and I hope that we can see the most minimal if not zero of those tactics.”55
          11             98.   On April 20, 2021, Chief Moore issued an update to the LAPD’s Rubber
          12     Bullet policy in response to a federal court order, imposing a moratorium on the use of
          13     the 37mm launcher and reiterating Department policy on the use of the 40mm launcher.56
          14     A week later, the LAPD revised the order, reinstating the 37mm launcher so long as it
          15     is fired at the ground.57 These changes highlight Chief Moore’s ability to shape LAPD
          16     Rubber Bullet policy.
          17             99.   However, the LAPD has not explained how the revised policy differs from
          18     the previous policies that the Department had failed to abide by, nor how the Department
          19
          20     55
                      Lauren Lyster, LAPD Directed to ‘Minimize’ Use of Rubber Bullets Against
          21          Peaceful Protestors, Garcetti Says, KTLA5 (June 2, 2020),
                      https://ktla.com/news/local-news/lapd-directed-to-minimize-use-of-rubber-bullets-
          22          against-peaceful-protestors-garcetti-says/.
          23     56
                      Kevin Rector, LAPD Halts Use of Some Projectile Weapons at Protests After Court
          24          Ruling, L.A. Times (Apr. 20, 2021),
          25          https://www.latimes.com/california/story/2021-04-20/lapd-halts-use-of-certain-
                      projectile-weapons-at-protests.
          26
                 57
                      Jonah Valdez, Reversing Course, LAPD Will Now Allow Officers to Use Some
          27          Less-Lethal Projectiles During Protests, L.A. Daily News (Apr. 29, 2021),
          28          https://www.dailynews.com/2021/04/29/reversing-course-lapd-will-now-allow-
                      officers-to-use-some-less-lethal-projectiles-during-protests/.

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            1    plans to sufficiently train officers before arming them with these weapons. If the past is
            2    any predictor of the future, policy does not equate to practice and more sweeping change
            3    will be needed to ensure the safety of protestors seeking to exercise their constitutional
            4    rights.     Simply put, over several decades, the LAPD has proven itself entirely
            5    untrustworthy in using purportedly “less lethal” weapons.                 No matter how
            6    comprehensive its policies claim to be, LAPD custom and practice is indiscriminate,
            7    brutal, excessive, and consistently unconstitutional use of force.
            8    VIII. Studies Show Rubber Bullets Can Cause Severe Injury, Permanent
            9              Disability, and Death
          10               100. A 2016 joint study by Physicians for Human Rights (“PHR”) and the
          11     International Network of Civil Liberties Organizations (“INCLO”) found that KIPs,
          12     which include Rubber Bullets, “cause serious injury, disability, and death.” 58 The
          13     study noted that, “while KIPs are sometimes described as ‘less lethal’ than
          14     conventional ammunition, the number of deaths, serious injuries, and permanent
          15     disabilities that they can cause in a crowd-control setting is of serious concern. . . .
          16     These factors call into question the appropriateness of these projectiles for crowd-
          17     control purposes.” 59 The study concluded that “KIPs should never be fired at close
          18     range and should never be targeted at the head or other vital areas of the body, where
          19     impact typically causes serious injury and, in many instances, death.” 60
          20               101. A 2017 study published in the medical journal BMJ found that KIPs have
          21     caused “serious injury, disability and death.” 61 This study identified 1,984 people who
          22
          23     58
                      Rohini J. Haar & Vincent Iacopino, Lethal in Disguise: The Health Consequences
          24          of Crowd-Control Weapons 30 (2016), https://phr.org/wp-
                      content/uploads/2018/09/lethal-in-disguise.pdf.
          25
                 59
                      Id. at 35.
          26
          27
                 60
                      Id. at 94.

          28
                 61
                      Haar et al., supra note 4, at 7.


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            1    had been injured by KIPs, “53 of whom died as a result of their injuries. Among those
            2    injured, 71% had injuries that were considered severe and 300 people suffered
            3    permanent disabilities.” 62 Notably, “[p]ermanent disabilities and severe injuries often
            4    resulted from strikes to the head and neck (48% of deaths and 87% of permanent
            5    disabilities).” 63 The study concluded that “[g]iven the inherent inaccuracy of KIPs,
            6    risk of serious injury or death and potential for deliberate misuse, our findings suggest
            7    that KIPs do not appear to be an appropriate means of force in crowd-control
            8    settings.” 64
            9               102. A 2020 PHR report noted that “KIPs are generally considered ‘less-
          10     lethal,’ although the lethality of a KIP depends greatly on the way it is used. . . .
          11     [D]eployment of KIPs can result in life-threatening injury, permanent disability, and
          12     death. These risks are greatly exacerbated when KIPs are misused; guidelines
          13     published by manufacturers and law enforcement agencies unanimously agree that
          14     KIPs should never be aimed at the head when lethal force is not indicated.”65
          15                103. UN guidance on the use of KIPs provides: “Targeting the face or head
          16     may result in skull fracture and brain injury, damage to the eyes, including permanent
          17     blindness, or even death. The firing of kinetic impact projectiles from the air or from
          18     an elevated position, such as during an assembly, is likely to increase their risk of
          19     striking protesters in the head. Targeting the torso may cause damage to vital organs,
          20
          21
          22
          23     62
                      Id.
          24     63
                      Id.
          25     64
                      Id. at 8.
          26
                 65
                      Physicians for Human Rights, Shot in the Head, Story Maps (Sept. 14, 2020),
          27          https://storymaps.arcgis.com/stories/29cbf2e87b914dbaabdec2f3d350839e
          28          (emphasis in original).


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            1    and there may be penetration of the body, especially when projectiles are fired at close
            2    range.”66
            3               104. A fact sheet put together by PHR and INCLO discusses the health effects
            4    of KIPs, particularly with regard to head, face, and neck injuries:
            5                     a) “Blunt trauma to the brain can cause concussions and bruising inside
            6                        the brain (contusions) as well as different types of bleeding in the brain
            7                        (intracranial hemorrhage) and skull fractures. KIPs have also been
            8                        known to penetrate the skull or enter the brain tissue, causing
            9                        hemorrhage, injury to the spinal cord, and severe brain injury from the
          10                         foreign body.” 67
          11                      b) “The delicate structures of the face and neck are particularly
          12                         vulnerable to traumatic injury. The bones of the face and skull, the
          13                         spinal cord, and the blood vessels in the neck are all close to the skin
          14                         surface.”68
          15                      c) “Direct trauma to the eye from KIPs nearly always causes total
          16                         blindness in that eye due to rupture of the globe (eyeball) as well as
          17                         trauma to nearby structures. KIPs can also penetrate through the eye
          18                         socket and enter the brain, causing brain injury.” 69
          19                105. The same fact sheet concluded: “KIPs in general are not an appropriate
          20     weapon for crowd managements and, specifically, for dispersal purposes. Most cannot
          21
          22     66
                      Office of the United Nations High Commissioner for Human Rights, Guidance on
          23          Less-Lethal Weapons in Law Enforcement 35–36 (2020),
          24          https://www.ohchr.org/Documents/HRBodies/CCPR/LLW_Guidance.pdf.

          25
                 67
                      PHR & INCLO, KIP Fact Sheet, https://www.inclo.net/pdf/lethal/KIPfactsheet.pdf
                      (last visited Nov. 3, 2021).
          26
                 68
          27          Id.
                 69
          28          Id.


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            1    be used effectively and safely against crowds. At close ranges, levels of lethality and
            2    patterns of injury of some KIPs become similar to those of live ammunition. At longer
            3    ranges, KIPs are inaccurate and indiscriminate. Some KIPs are lethal in close range
            4    and ineffective at longer distances which make safe use difficult.”70
            5               106. In a 2021 letter to the editor of the New England Journal of Medicine,
            6    physicians and researchers at the University of Minnesota Medical School noted that,
            7    throughout the George Floyd protests, “law enforcement used less-lethal weapons as a
            8    method of crowd control despite evidence of associated injuries and death.” 71 The
            9    study identified ten patients in two Minnesota hospital systems alone who sustained
          10     eye trauma from projectiles and sixteen patients who received traumatic brain
          11     injuries.72 In addition, the study noted that “[a] substantial percentage of projectile
          12     injuries were to the head, neck, or face (in 23 of 57 patients [40%]).” 73 The study
          13     concluded that “[a]lthough less-lethal weapons are designed as an alternative to lethal
          14     weapons, we found a substantial number of patients with serious injuries, including
          15     many injuries to the head, neck, and face. . . . [T]hese findings reveal that under
          16     current practices, projectiles are not appropriate for crowd control.” 74
          17
          18
          19
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          21
          22
                 70
                      Id. (emphasis in original).
          23
          24
                 71
                      Erika A. Kaske et al., Injuries from Less-Lethal Weapons During the George Floyd
                      Protests in Minneapolis, Letter to the Editor, New England J. of Medicine, 774–75
          25          (Feb. 25, 2021), https://www.nejm.org/doi/full/10.1056/NEJMc2032052.
          26     72
                      Id.
          27     73
                      Id.
          28
                 74
                      Id.

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            1                                            COUNT I
            2             Violation of First Amendment to The United States Constitution
            3                                       (42 U.S.C. § 1983)
            4          107. Mr. Jones re-alleges and incorporates by reference the preceding
            5    paragraphs of this complaint.
            6          108. Defendants’ decision to shoot Mr. Jones with a Rubber Bullet violates the
            7    First Amendment in at least five ways: (i) as unconstitutional retaliation for expressive
            8    conduct protected under the First Amendment; (ii) as a violation of the right to peaceably
            9    assemble; (iii) as an unconstitutional restriction to a traditional public forum; (iv) as
          10     unconstitutional content- and viewpoint-based discrimination; and (v) as a violation of
          11     Mr. Jones’ right to record matters of public interest.
          12           109. Defendants have adopted municipal policies, practices, and customs that
          13     have caused the violations complained of herein; and, in the alternative, have actual or
          14     constructive notice of the constitutional violations described herein and have failed to
          15     take action, thereby allowing the continuation of such a policy or custom, and causing
          16     the harms complained of herein.
          17           110. Chief Moore and officials of the City of Los Angeles elected to use “less
          18     lethal” weapons against protesters and Mr. Jones, have knowledge of the indiscriminate
          19     use of “less lethal” weapons against protesters, and have nonetheless failed to effectively
          20     train officers as alleged above.
          21           111. Mr. Jones’ rights to assemble, protest, and demonstrate peaceably are all
          22     protected activities under the First Amendment of the United States Constitution. As
          23     the U.S. Department of Justice stated recently, “First Amendment protection is at its
          24     apex when citizens seek to engage in core political speech in a traditional public forum.”
          25     Brief for the United States as Amicus Curiae Supporting Appellants and Urging Vacatur,
          26     Givens v. Newsom, No. 20-15949, 2020 WL 3393978, at *13 (9th Cir. June 10, 2020).
          27
          28


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            1          112. Defendants acted under color of State law when they deprived Mr. Jones of
            2    his rights to assemble, protest, and demonstrate peaceably by shooting him in the face
            3    with a Rubber Bullet.
            4          113. Defendants’ use of force against Mr. Jones and other similarly situated
            5    protesters was substantially motivated by the protesters’ and Mr. Jones’ engagement in
            6    First Amendment protected activity, constituted an effort to deter future similar activity,
            7    and evidences a pattern and practice of unconstitutional conduct that is certain to
            8    continue absent any relief.
            9          114. The above-described conduct was, and continues to be, a proximate cause
          10     of Mr. Jones’ enduring pain and suffering and has chilled his desire to participate in
          11     future protests. These violations of the First Amendment are also continuing and causing
          12     irreparable harm.
          13                                            COUNT II
          14             Violation of Fourth Amendment to The United States Constitution
          15                                        (42 U.S.C. § 1983)
          16           115. Mr. Jones re-alleges and incorporates by reference the preceding
          17     paragraphs of this complaint.
          18           116. Mr. Jones was seized by Defendants when Defendants’ officers
          19     intentionally, by kettling and through the use of force and Rubber Bullets, terminated
          20     his freedom of movement.
          21           117. Defendants acted under color of State law when Defendants committed
          22     these acts without forewarning and, as a result, Defendants’ acts were objectively
          23     unreasonable and constituted unlawful seizure and excessive force.
          24           118. Mr. Jones did not commit a crime.
          25           119. Mr. Jones did not pose a threat to Defendants or any of their officers or
          26     agents or any other person.
          27           120. Mr. Jones’ Fourth Amendment rights were violated when he was
          28     deliberately targeted and shot with Rubber Bullets during the course of his lawful protest.


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            1          121. Mr. Jones fears further retaliation in the future in violation of the Fourth
            2    Amendment if he continues to observe, record, or participate in constitutionally
            3    protected activity.
            4          122. As a direct and proximate result of Defendants’ unlawful actions, Mr. Jones
            5    endured pain and suffering. These violations of the Fourth Amendment are also
            6    continuing and causing irreparable harm.
            7                                         COUNT III
            8          Violation of Fourteenth Amendment to The United States Constitution
            9                                      (42 U.S.C. § 1983)
          10           123. Mr. Jones re-alleges and incorporates by reference the preceding
          11     paragraphs of this complaint.
          12           124. Defendants acted under color of State law when they decided to forcibly
          13     disperse Mr. Jones by using Rubber Bullets, thereby violating Mr. Jones’ Fourteenth
          14     Amendment right to due process.
          15           125. Mr. Jones has protected First Amendment liberty interests in the right to
          16     assemble, protest, and demonstrate peaceably.
          17           126. Mr. Jones has a right to not be subject to excessive force in the context of
          18     engaging in this expressive First Amendment activity.
          19           127. By violently attacking unarmed protesters engaged in expressive conduct,
          20     Defendants have engaged in conduct that was “so egregious, so outrageous, that it may
          21     fairly be said to shock the contemporary conscience,” County of Sacramento v. Lewis,
          22     523 U.S. 833, 847 n.8 (1998), and therefore that conduct constitutes excessive force in
          23     violation of the Due Process Clause of the Fourteenth Amendment.
          24           128. As a direct and proximate result of Defendants’ unlawful actions, Mr. Jones
          25     endured pain and suffering. These violations of the Fourteenth Amendment are also
          26     continuing and causing irreparable harm.
          27
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            1                                           COUNT IV
            2                     Freedom of Speech Under the California Constitution
            3                        (Article I, Section 2 of California Constitution)
            4          129. Mr. Jones re-alleges and incorporates by reference the preceding
            5    paragraphs of this complaint.
            6          130. Defendants’ decision to forcibly disperse Mr. Jones by using Rubber
            7    Bullets violates Mr. Jones’ rights under Article I, Section 2 of the California
            8    Constitution.
            9          131. In California “[e]very person may freely speak, write and publish his or her
          10     sentiments on all subjects, being responsible for the abuse of this right. A law may not
          11     restrain or abridge liberty of speech or press.” Cal. Const. art. 1, § 2.
          12           132. “The California Supreme Court has recognized that the California
          13     Constitution is ‘more protective, definitive and inclusive of rights to expression and
          14     speech’ than the First Amendment to the United States Constitution.” Rosenbaum v.
          15     City & Cnty. of S.F., 484 F.3d 1142, 1167 (9th Cir. 2007).
          16           133. Plaintiff has no adequate remedy at law and will suffer serious and
          17     irreparable harm to his constitutional rights unless Defendants are enjoined from
          18     deploying Rubber Bullets against protesters.
          19           134. The above-described conduct was a proximate cause of harm to Mr. Jones.
          20           135. Mr. Jones seeks only declaratory and injunctive relief, not damages, for the
          21     violation of his rights under Article I, Section 2 of the California Constitution.
          22                                             COUNT V
          23                     Freedom of Assembly Under the California Constitution
          24                         (Article I, Section 3 of California Constitution)
          25           136. Mr. Jones re-alleges and incorporates by reference the preceding
          26     paragraphs of this complaint.
          27           137. In California “[t]he people have the right to . . . assemble freely to consult
          28     for the common good.” Cal. Const. art. 1, § 3.


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            1          138. Mr. Jones has no adequate remedy at law and will suffer serious and
            2    irreparable harm to his constitutional rights unless Defendants are enjoined from
            3    deploying Rubber Bullets against protesters.
            4          139. The above-described conduct was a proximate cause of harm to Mr. Jones.
            5          140. Mr. Jones seeks only declaratory and injunctive relief, not damages, for the
            6    violation of his rights under Article I, Section 3 of the California Constitution.
            7                                             COUNT VI
            8                           Due Process Under the California Constitution
            9                           (Article I, Section 7 of California Constitution)
          10           141. Mr. Jones re-alleges and incorporates by reference the preceding
          11     paragraphs of this complaint.
          12           142. In California, “[a] person may not be deprived of life, liberty, or property
          13     without due process of law.” Cal. Const. art. 1, § 7.
          14           143. Mr. Jones has no adequate remedy at law and will suffer serious and
          15     irreparable harm to his constitutional rights unless Defendants are enjoined from
          16     deploying Rubber Bullets against protesters.
          17           144. The above-described conduct was a proximate cause of harm to Mr. Jones.
          18           145. Mr. Jones seeks only declaratory and injunctive relief, not damages, for the
          19     violation of his rights under Article I, Section 7 of the California Constitution.
          20                                             COUNT VII
          21                     Search and Seizure Under the California Constitution
          22                        (Article I, Section 13 of California Constitution)
          23           146. Mr. Jones re-alleges and incorporates by reference the preceding
          24     paragraphs of this complaint.
          25           147. In California, “[the] right of the people to be secure in their persons, houses,
          26     papers, and effects against unreasonable seizures and searches may not be violated.” Cal.
          27     Const. art. 1, § 13.
          28


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            1          148. Mr. Jones has no adequate remedy at law and will suffer serious and
            2    irreparable harm to his constitutional rights unless Defendants are enjoined from
            3    deploying Rubber Bullets against protesters.
            4          149. The above-described conduct was a proximate cause of harm to Mr. Jones.
            5          150. Mr. Jones seeks only declaratory and injunctive relief, not damages, for the
            6    violation of his rights under Article I, Section 13 of the California Constitution.
            7                                   PRAYER FOR RELIEF
            8    WHEREFORE, Mr. Jones respectfully requests from this Court:
            9          (1)    A permanent injunction barring Defendants from engaging in the
          10     unconstitutional conduct of using Rubber Bullets, and imposing appropriate remedial
          11     measures to prevent the repetition of such conduct in the future as the Court deems
          12     necessary;
          13
                       (2)    A declaratory judgment that Defendants’ conduct complained of herein was
          14
                 a violation of Mr. Jones’ rights under the Constitution and laws of the United States;
          15
                       (3)    A declaratory judgment that Defendants’ conduct complained of herein was
          16
                 a violation of Mr. Jones’ rights under the California Constitution;
          17
          18           (4)    General, compensatory, and punitive damages for Mr. Jones for the
          19     violations of his federal constitutional and statutory rights—but not for any violation of
          20     his rights under the California Constitution—all to be determined according to proof;
          21
                       (5)    An award of attorneys’ fees pursuant to 42 U.S.C. § 1988;
          22
                       (6)    Costs of suit;
          23
          24           (7)    Pre- and post-judgment interest as permitted by law; and
          25
                       (8)    Such other and further relief as the Court may deem just and proper.
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            1    Dated: November 12, 2021         GIBSON, DUNN & CRUTCHER LLP
            2                                     By: /s/ Katherine Marquart
            3                                          Katherine Marquart
            4                                          Attorney for Plaintiff
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            1                               DEMAND FOR JURY TRIAL
            2         Plaintiff demands trial by jury on all issues so triable.
            3
            4
                 Dated: November 12, 2021
            5
            6
                                                        By: /s/ Katherine Marquart
            7                                               Katherine Marquart
            8                                               Attorney for Plaintiff
            9
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                 EXHIBIT A
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        An Independent Examination
                                Of The
      Los Angeles Police Department
               2020 Protest Response




           Report by Independent Counsel, Gerald Chaleff
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    AN INDEPENDENT EXAMINATION OF THE LOS ANGELES POLICE DEPARTMENT 2020 PROTEST RESPONSE




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      AN INDEPENDENT EXAMINATION OF THE LOS ANGELES POLICE DEPARTMENT 2020 PROTEST RESPONSE



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I. Executive Summary
 The death of George Floyd sparked protests across the United States. The protests in Los Angeles began
 on May 27, 2020 and continued for many weeks. In Los Angeles there were many peaceful protests, but
 some erupted in violence, arson, looting and vandalism. On June 30, the Los Angeles City Council
 approved a motion that the Los Angeles Police Department (LAPD) prepare an after action report, and
 that Gerald Chaleff lead the review of the Department’s actions during the protests. This report has
 been prepared pursuant to that motion, although the Department ultimately decided to prepare its own
 report. Because of that decision, an independent review team was assembled to prepare this report.

 In the protests in Los Angeles in May-June 2020, there were small groups that were primarily
 responsible for the violence and criminal activity, which resulted in the disruption of protestors’ ability
 to exercise their First Amendment rights. Additionally, these disrupters were throwing dangerous
 objects at the police. The level of violence committed by these small groups had not been seen at
 demonstrations in years. The lack of adequate planning and preparation caused the Department to be
 reactive, rather than proactive, and inhibited the Department’s ability to have better control over the
 violence being committed by small groups of individuals whose objectives were to create chaos and
 confrontation with the police.

 Additionally, looting occurred that appeared to be well coordinated with “scouts” and convoys of up to
 ten cars targeting a given location. It was also believed that some of the organized looting was gang
 related while other looting seemed to be opportunistic. When the police responded to interdict or make
 arrests the looters would quickly disperse only to regroup elsewhere to attack another target. The
 Department initially did not have enough resources or strategies to contain the looting. Eventually using
 tactics developed by the air unit observers, officers were able to make arrests and reduce the amount of
 looting that occurred.

 The Review Team found deficiencies in the following areas that impacted the Department’s actions
 during the protests: (1) planning, (2) command and control, (3) public order policing, (4) less lethal tools,
 (5) mass arrests, (6) preparedness and training and (7) wellness.

 PLANNING

 It appears the Department believed that if protests arising out of George Floyd’s death occurred in Los
 Angeles, they all would be peaceful. In interviews with the Review Team, interviewees said they were
 surprised at the violence that occurred in the afternoon and evening hours at some protests. They had
 believed that the good relationships which had been developed with various communities would cause
 any protests to be peaceful, as they had been in the past.

 There had been widely publicized violence in Minneapolis on Tuesday, May 26, and protests were
 beginning across the country. However, the next day (Wednesday) the Department treated the weekly
 racial justice protest at the Office of the District Attorney, which had always been peaceful, as if it were
 business as usual. Even after some protestors left the District Attorney’s Office on Wednesday and
 began to engage in violent or otherwise unlawful activity in downtown Los Angeles, necessitating the
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 declaration of a tactical alert, the Department still did not seem to believe that widespread or violent
 protests would occur in Los Angeles. For example, the Department did not establish a fully staffed
 command post until Saturday night, May 30.

 On May 27 and 28, the protests in downtown Los Angeles were marred by an escalating level of violence
 and criminality. Initially, the Department treated these as isolated incidents, rather than as a
 manifestation of a larger expression of outrage that was spreading across the United States.

 When the Department did begin to set up a command post, on Friday, May 29, the assigned personnel
 did not have the experience or training to execute what needed to be done to successfully run a
 command post. At that time, the Department designated the Central Bureau command post as the
 Department area command, giving it the authority to oversee police operations for the entire City. This
 required those running the Central Bureau command post to manage competing responsibilities,
 juggling the needs of the Central Bureau divisions (downtown Los Angeles and the surrounding area)
 with the Department’s needs City-wide. If the Department had planned for protests across the City, it
 would have created an area command structure to oversee the whole City and would not have placed
 the burden on Central Bureau to manage both.

 Another example of lack of planning was creating the staging area downtown, at Dodger Stadium, and
 requiring all personnel to report there before being assigned to protest locations. This was problematic
 because officers wasted valuable time driving from their areas of assignment to Dodger Stadium, and
 then back to their respective areas. This occurred because the Department did not seem to anticipate
 for protests in parts of Los Angeles other than downtown.

 Even as some of the protests began to intensify, the Department failed to properly plan in a number of
 other areas. For example, the Department did not consult with the City Attorney for advice on the
 proper charge for arrests. This caused the Department to arrest people for violating Los Angeles
 Municipal Code (LAMC) Section 80.02 (failure to obey a lawful order of a police officer) which is an
 infraction. An infraction, pursuant to the California Penal Code (PC), only requires the arrestee to
 provide proof of identification and sign a promise to appear, in order to be released. It does not
 authorize the transportation of the person to another site or prolonged detention of the person, both of
 which occurred during the May-June protests.

 The Department also failed to appropriately plan for field jails, in the event the need for mass arrests
 were to arise. This further impacted operations, because there was not a plan in place for buses to
 transport those arrested out of the protest areas to be processed. The need for buses for a mass arrest
 situation is not new for the Department. It has been a problem at large events over the past decade, as
 evidenced by prior litigation settlements.1 Preparation and/or planning for large scale protests that




 1The City and the Department settled lawsuits in 2011 involving arrests at the Occupy LA encampment, and in 2014 during
 protests about the death of Michael Brown in Ferguson, Missouri, where the detention of arrestees for hours while handcuffed,
 deprived of water and the use of bathroom facilities, were the main issue.
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 posed a likelihood of mass arrests was even more important during the time period reviewed because of
 the existence of a pandemic and the possibility of exposure to the Covid-19 virus.

 COMMAND and CONTROL

 When confronted by multiple large scale events, it is important that there be a clear chain of command,
 where everyone knows who is in charge, and those in charge provide clear direction. This did not
 consistently occur during the protests. There were times when command staff officers arrived on the
 scene of a protest and issued orders without coordination with the incident commander, who was
 supposed to be in charge of the entire police response to a protest. This created confusion. Multiple
 command staff officers gave orders, sometimes conflicting, regarding the same protest.

 Members of the LAPD command staff confirmed that they did not always know who was in charge,
 which led to a chaos of command. In some instances, resources were allocated to a location or tasked by
 one command staff member, and those decisions were subsequently contradicted by another command
 staff member, who sent the same resources somewhere else.

 For example, on at least two occasions, high-ranking officers self-deployed directly to the field,
 bypassing the command post, and made tactical decisions. In some instances, the directions given by
 these high-ranking officers conflicted with directions and actions being undertaken by personnel in the
 field, who were acting at the direction of the incident commander. As one command officer indicated,
 he was in the field working on a problem for an extended period when a higher-ranking officer arrived
 and tried to enact different tactical plans, creating confusion where disorder was already occurring.
 While it is understood that these situations were highly chaotic and volatile, the duty of high-ranking
 officers is to think strategically; their limited situational awareness in the field and conflicting tactical
 directions only exacerbated the confusion.

 PUBLIC ORDER POLICING

 Public order policing, also known as crowd management/crowd control, is complex in the 21st Century.
 Skills to manage public order are perishable and diminish over time if they are not maintained. The skills
 necessary to manage a complex and dynamic situation must be refreshed frequently. In interviews with
 command officers, many opined that they lacked expertise in public order policing. Many said they were
 not provided with meaningful or relevant command-level training to be able to effectively manage large
 scale, complex events that involve violence and criminal activities. The Department did not adequately
 prepare the Department command staff for events such as those faced in May-June.

 Between 2018 and 2020, the Department experienced the departure of a number of high-ranking
 officers with expertise in public order policing. During that time period, two assistant chiefs, six deputy
 chiefs, and numerous commanders and captains left the Department, representing an attrition rate of
 nearly 50%. Some left as their time expired in the irrevocable Deferred Retirement Option Program
 (DROP); others chose to leave for early retirement; and some left to pursue other career opportunities.
 This has posed, and continues to pose, a significant leadership challenge.


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 Although there are still a few high-level personnel within the LAPD with expertise in public order
 policing, attempts to ensure that the expertise, lessons learned, and historical knowledge is not lost
 must be a Department priority. The Department should ensure that, as retirements occur and
 promotions and assignments are made, the necessary expertise and experience is retained in all areas,
 not just crowd management.

 The expertise, skills, and experience necessary to manage a peaceful protest are different from the skills
 required to manage a protest that is violent and hostile. The lack of expertise and experience in this area
 impacted the Department’s ability to control the protests and, in particular, to prevent the criminal
 element from creating the chaos and violence that ultimately occurred.

 Actionable intelligence is necessary for the success of public order policing. The Department suffered
 from a lack of useable intelligence leading up to the protests, which dramatically impacted LAPD’s
 operational effectiveness. There has been a degradation of LAPD’s intelligence function because of
 cutbacks of numerous positions to better support patrol operations. During the period that is the
 subject of this report, there was a notable lack of specific actionable information available for incident
 commanders. Accordingly, the LAPD could not reliably plan where or how to dedicate resources to
 manage the demonstrations.

 The Department faced small groups of disrupters within the larger group of protesters at several
 demonstrations. These groups of disrupters often intermingled throughout the crowd, throwing objects,
 while those standing in the front were shouting with their hands up in a non-threatening manner. It
 became exceedingly difficult to isolate and remove the problem individuals from those who were there
 to exercise their First Amendment rights.

 Additionally, the traditional Department strategy used in crowd control incidents utilizes lines of officers
 (skirmish lines) as a blocking force and/or to move or push crowds and in some instances to protect
 property. Skirmish lines are often static but will move at a slow pace to direct crowd movement. At the
 protests in 2020, skirmish lines were effective during the peaceful demonstrations when used to control
 the direction of the movement of the protestors. When violence erupted at some of the protests, these
 static or slow-moving skirmish lines were ineffective because they were not able to isolate and arrest
 those who were committing the criminal acts. Some interviewed for this report stated that the
 “Napoleonic-style static skirmish line” was useless in controlling the small groups of violent agitators
 placing protestors and police at risk.

 At times, the Department did not, or was not able to, isolate and arrest those criminal elements who
 were throwing objects, creating violence, or looting due in part to the use of antiquated tactics and lack
 of training on public order policing. On some occasions, when undercover officers were able to identify
 criminal activity, they were unable to directly communicate with supervisors on the front line because of
 their reporting protocols. This did not allow for instantaneous or even quick responses from uniformed
 personnel. Also, because of the hostility of some of those disrupters in the crowd the safety of
 undercover officers was threatened and at times officers had to be removed from the violence.


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 LESS LETHAL TOOLS

 The LAPD used a variety of less lethal munitions and tools during the protests of 2020, including batons,
 bean bag shotguns, 37mm and 40mm munitions, and, on one occasion, a stinger grenade. Collectively,
 the LAPD used a significant amount of less lethal munitions during the protests.2 As stated in the City
 Council resolution that formed the Review Team, there are reports that people were struck in the face
 and head, causing significant injuries, some of which required surgery. Not all people struck with less
 lethal munitions during the protests were engaging in criminal behavior. This appears to be in part due
 to the complex and rapid movement of the crowds and at times a lack of adequate training on the
 40mm system. Multiple lawsuits have been filed regarding the protests in Los Angeles, in which
 allegations are made that the Department violated detention and arrest procedures; many of the
 plaintiffs claim to have been injured by police action. The plaintiffs who claim injuries state they were
 not engaged in the violent or criminal activity.

 While this report cannot evaluate each use of force incident or instance of individual injury, it does
 attempt to examine the overall use of less lethal munitions during the evaluation period and to provide
 suggestions regarding their use. Whether any of the uses of the less lethal tools were inappropriate, or
 in violation of policy, is being investigated by the Department, with the Inspector General and the Board
 of Police Commissioners reviewing the Department’s investigations and determinations.

 Until 2017, only personnel from Metropolitan Division who were certified and trained frequently to
 deploy the 40mm less lethal weapon were allowed to do so in crowd control incidents. The use of the
 40mm weapon was expanded to routine patrol operations in 2017 for any officer who received training
 in its use. The training that was provided, however, lasted only two hours and was embedded in a ten-
 hour integrated communications, de-escalation and crowd control course. The training consisted of
 learning how to manipulate the weapon and firing the weapon only a few times at a stationary target.

 The 40mm training was problematic for several reasons, including that the dynamics dramatically
 change in a crowd control situation when the person engaging in the criminal behavior is not standing
 still. There also may be other people in front, behind or to the side of the intended target. In such cases,
 the officer operating the 40mm weapon must be very precise in its application to minimize the risk to
 bystanders. The use of the 40mm weapon to fire at individuals who are in a crowd situation requires
 well-trained, experienced, and highly skilled individuals. Unfortunately, because of dynamic movement
 of large, unruly crowds, individuals who are not involved in criminal activity can unintentionally be hit
 and injured, which is alleged to have occurred during these protests. To be precise takes practice. Of
 further concern is that the policy from 2017 is silent on the use of the 40mm weapon in crowd control
 situations.




 2It was difficult to determine how many less lethal rounds in totality were fired as the Department did not provide the numbers
 to the Review Team.



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 Unlike the 40mm munitions, the 37mm foam baton round may be indirectly fired at crowds of people by
 firing or “skipping” the rounds along the ground in front of the group police intending to disperse. This
 less lethal tool requires less specialized training and practice to use properly.

 The handheld baton is a less lethal tool approved to be used on skirmish lines during crowd control
 incidents, to push a crowd. The baton is not authorized to be used as an impact device unless the officer
 or another individual is being physically threatened. In the videos reviewed there is no evidence that the
 baton use during this evaluation period was inappropriate. However, in lawsuits filed following the
 events in 2020, plaintiffs have alleged that the baton was inappropriately used as an impact weapon.
 The Chief of Police reissued a Department directive on baton use in the fall of 2020 to reiterate the
 policy of baton use in crowd control situations.

 One of the recommendations of this report is to analyze the use of the 40mm less lethal weapon in
 situations with large crowds, or ones where people are standing close together, and whether the use of
 such a weapon should be limited in such situations to individuals well-trained and experienced, as was
 the LAPD policy until 2017.

 MASS ARRESTS

 Thousands of people were arrested throughout the protests without a clearly articulated plan for
 detentions, transportation and processing. As a result, those arrested were detained at the scene of the
 arrests for hours, handcuffed on the pavement, detained in buses, and taken to remote locations,
 without water or the use of bathroom facilities. Additionally, because the protests occurred during the
 pandemic, officers and those arrested were in close proximity, not socially distancing, many without
 masks and thus at risk of being exposed to the Covid-19 virus.

 These problems have occurred in the past; in 2011 with Occupy LA arrests, and again in 2014 during the
 arrests in the protests over the death of Michael Brown in Ferguson Missouri. Those earlier protestors
 were detained for hours in similar conditions as in 2020. Lawsuits were filed in connection with both the
 2011 and 2014 mass arrests and were settled by the City for more than $3,000,000. It is unfortunate
 that the same issues have arisen again and again, with the Department being unable or unwilling to
 rectify the problem.

 The use of LAMC Section 80.02, an infraction, does not allow those cited to be detained for hours and
 transported to another location for processing3. Even when the arrests were made pursuant to LAMC
 Section 8.78 (curfew violation), a misdemeanor, which does allow for arrest, detention and
 transportation to another location for processing, the unreasonable delays and failure to provide access
 to bathroom facilities and water remained a problem.

 The failure to obtain buses needed to transport the large number of people arrested was one of the
 causes of the lengthy detention of those arrested. This failure required those detained to remain



 3   Edgerly v City and County of San Francisco, 713F3d976(2013).
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 handcuffed sitting on the pavement or standing against walls while buses were obtained to transport
 them. This failure also required officers to remain with those detained and removed them from being
 deployed to assist with controlling the protest and help prevent violence from occurring. It also
 subjected the officers to potential exposure to Covid-19.

 The LAPD arrested more than 4,000 people between May 29 and June 2. The Department’s failure to
 establish a field jail early to process the large number of people arrested was problematic.4 The
 Department arrested a large number of people on both Saturday and Sunday, yet the first field jail was
 not set up until Monday, June 1, causing long delays and overwhelming the arrest processing system.

 On June 1, a field jail was set up at the University of California, Los Angeles (UCLA), many miles from the
 location of the arrests. More than 1,000 people were processed there. The lack of experience and
 trained personnel contributed to the lengthy detention of many of the arrestees, causing them to be
 released in a location far from their arrest location and in violation of the curfew declaration. However,
 this field jail was shut down on June 2, when members of the UCLA community complained. That caused
 further delays in processing arrestees. A second field jail was set up in the parking lot of Grace
 Community Church in the San Fernando Valley on June 2 to help in the processing. The lack of planning
 for the field jail created several problems, including:

      •    An insufficient number of personnel to staff the field jails.
      •    A lack of properly trained or experienced personnel to adequately handle the large number of
           arrests; and
 Declarations for unlawful assembly were made. However, there were few arrests for failure to disperse;
 the arrests were generally made for failure to obey a lawful order of a police officer and for curfew
 violations. The reasons for not arresting people for failure to disperse were not made clear.
 PREPAREDNESS AND TRAINING

 The Department has a history of legal settlements and agreements that it entered into after lawsuits
 were filed in connection with police conduct at large events: in 2000 (Democratic National Convention);
 2007 (MacArthur Park incident); 2011 (Occupy LA); and 2014 (Ferguson demonstrations). In each
 settlement, there were mandates that the Department correct policy, procedures, and training
 regarding various components of the management of protests and demonstrations. The Department did
 not maintain some of the requirements from these prior settlement agreements, which in turn caused
 problems for the Department in 2020. Crowd control, mobile field force, mass arrest procedures and
 less lethal training were all insufficient.

 Preparedness demands that an organization plan, organize, train, exercise, and evaluate performance
 before any event actually occurs. As such, training and exercising that at one time had been
 implemented should have been sustained within the Department over the years, but were not. If it had



 4 Field Jails are temporary facilities set up to process large numbers of arrests that would otherwise overwhelm the available jail
 facilities and personnel.
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 been, the LAPD command staff would have been better prepared for the events of May-June 2020 in Los
 Angeles.

 The LAPD’s training in public order policing has declined in the past several years and was identified as a
 problem in 2007 after the MacArthur Park May Day demonstrations. As a result, the LAPD command
 staff were required to receive annual training on public order policing. This training had not occurred for
 several years prior to 2020. There had been minimal crowd control and mobile field force training in the
 past five years and mass arrests procedures were not exercised at all. The lack of training caused
 problems in 2020. Indeed, command officers interviewed for this report raised the issue of the lack of
 training to prepare them for public order policing events.

 Based on information gleaned during this examination, it is recommended that the LAPD develop a
 command-level public order policing curriculum and practice these leadership skills frequently. The
 settlement of the 2007 Macarthur Park lawsuits required every officer above the rank of sergeant to
 undergo training on crowd control and use of force policies at a minimum of every two years, and
 command staff to be trained annually. It is recommended that this requirement be followed.

 WELLNESS

 Many officers worked long hours during the protests without relief and were sleep deprived throughout
 the protests. It is imperative that when officers are subjected to dangerous conditions and provocations,
 --such as having objects thrown at them, having lasers pointed at their eyes, and being taunted and
 screamed at -- they be at their best, with the patience and judgement necessary to perform
 professionally.

 Members of LAPD command staff also were subject to long hours and not afforded the opportunity to
 get sufficient rest or sleep. The lack of sleep is equally important for command officers, who must make
 critical decisions as events rapidly unfold. If they are sleep deprived, decision making could be impacted,
 which then has the potential to affect the success of the police strategy and the safety of the officers
 they command, as well as the safety of the community.

 It is incumbent upon the leadership of the Department to ensure that officers and command staff
 members can get the necessary down time for rest/sleep. During the protests, there were situations
 where officers were in staging areas but were never assigned to relieve those working in the field. There
 were also command staff members who volunteered to work, but were never assigned to the field. The
 Department must develop schedules that will allow officers to obtain the relief that is necessary.

 Almost every day during the protests there were small subgroups of people engaged in criminal activity;
 they used the protests to attack officers by throwing dangerous objects at them including bricks and
 concrete blocks, using firecrackers or explosive devices, and pointing lasers at officers’ eyes. The
 Department reported that 106 officers were injured during these protests. The Department must do
 everything it can to provide for officer safety and at the same time protect the safety of those who are
 peacefully protesting.


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 The Department has ordered protective eye gear and shields for the officers to use during future events
 that might turn violent. The Department should continue to research what additional protective gear is
 available to ensure that personnel are protected in the future.

 Another important aspect of officer wellness is officer morale and trust in Department leadership. The
 Los Angeles Police Protective League conducted a survey, after the protests, that clearly showed that
 the officers did not feel supported by their leadership, the Mayor, Board of Police Commissioners, or the
 City Council. This is a problem that all involved must consider and try to solve.

 RECOMMENDATIONS

 There are 67 findings included in this report. The Review Team has proposed 22 recommendations for
 the City, the Board of Police Commissioners, and the Department to consider. These recommendations
 address the deficiencies noted in planning, command and control, public order policing, use of less
 lethal tools, mass arrests, preparedness and training, and wellness.

 It is recommended that the Department’s public order policing strategies be enhanced to meet
 contemporary operational challenges and anticipate future ones. Crowd psychology is a necessary
 component of training police to better handle dynamic crowd behavior. The strategies used by some
 small groups causing violence during the protests in Los Angeles have dramatically changed from past
 disrupters; disrupters now have become more mobile and better organized likely due to the use of
 technology, and more violent. This shift has significantly impacted the ability of officers to facilitate
 peaceful protestors exercising their First Amendment rights. The challenge for police today is how to
 facilitate the exercising of a crowd’s First Amendment rights while at the same time interdicting smaller
 groups who are attempting to disrupt the lawful demonstrations. A review of the LAPD Emergency
 Operations Guide, last updated in 2009, reveals that there are no plans/strategies for dealing with the
 type of highly mobile groups and/or looting convoys that were observed in Los Angeles at some of the
 May-June demonstrations. When police strategies and tactics are based on inaccurate assumptions
 about how crowds function, these approaches can stimulate more conflict than they prevent,
 endangering both crowds and the police.

 The Review Team is urging the Department to research and adopt a variety of strategies and tactics that
 would minimize the extent to which protesters “transfer” their grievances toward the police. 5 The LAPD
 is in a unique position because it is fortunate enough to have a fulltime, large behavioral sciences
 section embedded within the Department. Psychologists within this section likely have crowd
 psychology experience and should be consulted as the Department moves forward. The Department
 should also contact other agencies, academics, and law enforcement experts to identify best practices
 and to develop strategies for policing in the 21st Century.




 5Roger Smith, Ian Tomlinson Inquest Proves We Have Moved Forward, L. SOC’Y GAZETTE (May 19, 2011),
 http://www.lawgazette.co.uk/analysis/ian-tomlinson-inquest-proveswe-have-moved-forwards/60507.
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 It is recommended that the LAPD create a high-level executive position (sworn or civilian) with
 appropriate support staff within the Department to serve as a “Strategic Emergency Manager”. That
 person should have expertise, or be able to develop the expertise, in all-hazards emergency
 management, public order policing, large scale incident management, intelligence/information
 gathering and dissemination, use of force, use of less lethal tools, and analysis of current events as they
 present a challenge to policing operations. That person should be responsible for examining current
 events and preparing the Department (and City) to manage large-scale emergency events that occur in
 Los Angeles. Though such events do not happen every day, the costs when the Department is not
 prepared are too great not to consider such a position. Additionally, the Strategic Emergency Manager
 would be responsible to the Department to ensure any recommendations adopted from this report,
 prior court settlement requirements pertaining to public order policing, and other Department
 policies/directives on the subject, are implemented and sustained.




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II. Introduction
 This report examines the LAPD’s response to the protests beginning May 27, following the death of
 George Floyd. The report contains observations, an analysis of the events, 67 findings and 22
 recommendations with a focus of the following:
         1. Planning
         2. Command and Control
         3. Public Order Policing
         4. Use of Less Lethal Tools
         5. Mass Arrests
         6. Preparedness and Training
         7. Wellness

 The report also considers the history of the Department during prior protests and civil unrest to help
 understand the problems of the past and determine whether the Department learned from its
 experience in these events or repeated errors in tactics or mistakes of the past.

 This report includes 22 recommendations (see Section VI), however, it will be the City’s elected and
 appointed officials and the Department who must determine which, if any, should be adopted. The hope
 is that this report will provide the Department with findings and recommendations that will assist the
 leadership in enacting reforms that will improve the Department. Unlike the past, where crises were
 followed by long periods of time between major events that allowed police leaders to analyze, work
 with the community and political leadership, and learn from events, police leaders today are facing a
 precipitous growth in the number of major crises they face, leaving little time between events. This calls
 for a fundamentally different approach to crisis management that will allow the Department to be more
 agile, be forward thinking, and be more responsive to communities they serve.

 Thus, it is recommended that the LAPD create a high-level executive position (sworn or civilian) within
 the Department known as a “Strategic Emergency Manager”. That person should have expertise in all-
 hazards emergency management, public order policing, and large-scale incident management. This
 individual should work closely with the Department executive level officers and the commanding officer
 of the Risk Management and Legal Affairs Group to focus on the management of natural disasters, acts
 of terror, other large-scale or catastrophic events in which people and information needs to be
 managed. This individual should be responsible for examining current events, as well as preparing the
 Department (and City) for future crises in Los Angeles.

      Section 2.01               Background and Methodology

 This report was prepared under the conditions of the Covid-19 stay-at-home orders. Therefore, all
 interviews were conducted by Zoom video conferencing or by telephone. The Review Team spoke with
 more than 50 members of the LAPD command staff (captains and above). Over 30 members of both
 sworn and civilian personnel below the rank of captain or police administrator were also interviewed. All
 interviews were voluntary. Additionally, the Los Angeles Police Protective League provided access to
 comments in response to an internal summer 2020 survey conducted by the union that represents all
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 sworn personnel at the rank of lieutenant and below. The survey discussed officers’ perceptions of what
 occurred during the protests and unrest.

 In addition to Department personnel, the Review Team talked to members of the community,
 representatives from the City Attorney’s office, and attorneys representing plaintiffs in litigation arising
 out of the George Floyd protests. Finally, several individuals with expertise in the field of public order
 policing, and crisis management were also interviewed. The Review Team conducted an analysis of
 hundreds of pages of Department documents and conducted in-depth interviews of LAPD command
 staff resulting in findings throughout this report.

 This report does not address the issue of discipline to be imposed, if any, on individual officers related to
 any use of force or use of less lethal tools or munitions (see Appendix 2 for Methodology and
 Limitations). The Review Team does not have the authority to conduct internal investigations. The
 investigations of use of force, use of less lethal munitions, and lawsuit allegations will be investigated by
 the Department and reviewed or monitored by the Inspector General and the Board of Police
 Commissioners.

 There were thousands of hours of video contained in nearly 141,000 files from body worn video cameras
 and other sources. Although only a small portion of those were reviewed, this did not affect the
 understanding of what occurred, as this report is primarily concerned with institutional issues and not
 individual ones. The use of less lethal tools and the types of munitions used during crowd management
 and control situations will be addressed later in this report. The appropriateness of the individual uses
 will be left to the Department to assess.

      Section 2.02        Civil Unrest in Los Angeles

 To better understand the dynamics of the issues the LAPD faces today, it is important to understand the
 history of civil unrest in Los Angeles. Historically, the topics of biased policing and police uses of force
 have been of concern in the United States and in Los Angeles. For several decades Los Angeles has been
 a rallying point for many demonstrations, including those specifically concerned with police abuse and
 the treatment of people of color. The LAPD’s history is evidenced in the 1965 Watts Riots and in the civil
 unrest that erupted on April 29, 1992, in the aftermath of the acquittal of officers involved in the 1991
 Rodney King beating.

 The 1992 civil unrest lasted approximately seven days and is a stark reminder of how fragile police-
 community relationships are and how quickly volatile incidents can unfold. The Department was unable
 to contain and control the events for nearly a week. As sections of the City burned and livelihoods were
 destroyed, many officers on the front lines watched as the Department was slow, and at times unable to
 respond. It was noted in the Los Angeles Police Department After-Action Report 1992 April/May Riot
 that a high-level staff officer conducted a meeting with other Department staff and command personnel
 a month prior to the release of the jury’s decision regarding the officers on trial and requested that
 plans be developed for the possibility of civil unrest if the officers were acquitted of charges. Commands
 were advised to train line personnel in civil disorder tactics, revitalize mobilization rosters, update

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 employee “call-up” and notification plans, develop a ratio of officers to available police vehicles for
 transportation to areas impacted by civil unrest, and develop platoon-size teams to respond to looters.
 Unfortunately, only a small number of staff officers within the Department believed there was a
 possibility of violence, and therefore the Department did not prepare. The after action report indicated
 that the first signs of planning did not begin until 37 days into the officer’s trial even though a
 commander had asked for this to occur.

 At that time, the LAPD after action report stated the Department experienced organizational
 complacency, as few problems with civil unrest had occurred within the City since the 1965 Watts Riots.

 The after action report from the 1992 civil unrest contained lessons learned that, like all after action
 reports, were to be used to improve the Department’s future response to such incidents (Appendix 3).
 Some of the areas include lack of preparation and planning, problems with command and control in the
 field, lack of discipline at the command post, organizational complacency, lack of intelligence, and lack
 of training for civil disorder tactics.6

         Section 2.03          Consent Decree

 In 1999 the Department of Justice informed the City and the Department that it intended to sue the City
 for a pattern and practice of unconstitutional conduct by the LAPD. The Department of Justice’s actions
 were prompted by complaints about police actions against people of color and a corruption scandal,
 which became known as the Rampart Scandal.

 The result was a settlement agreement, in which the City and the Department consented to monitoring
 by the Department of Justice, under the jurisdiction of a federal court judge, to enact reforms of the
 LAPD’s policies, procedures, and actions. The agreement, known as the Consent Decree, was enacted in
 June 2001.7 It took the Department eight years to be relieved of court jurisdiction for most of the
 Consent Decree and an additional three years to be relieved of the remainder. Reforms included but
 were not limited to: investigations of complaints against officers; investigations of officer involved
 shootings and other uses of force; training; development of an officer early intervention system; control
 over the use of confidential informants; supervision and management of units responsible for
 investigating gangs, and the development of a program for responding to persons with mental illness
 (see Appendix 4 for an overview of the settlement).

         Section 2.04            Settlements in Los Angeles

 Los Angeles has a history of lawsuits arising from police actions and responses to demonstrations and
 protests. The lawsuits have involved the Democratic National Convention (2000), MacArthur Park
 (2007), Occupy LA (2011) and the Ferguson protests (2014). Collectively, the settlement agreements
 involved the use of less lethal munitions, timely processing of arrestees and declaration of unlawful


 6   http://documents.latimes,com/los-angeles-police-department-after-action-report-1992-aprilmay-riot/
 7   The Department of Justice Consent Decree, 2001.
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 assemblies. The settlement costs agreed to by the City (and Department) totaled over $21,000,000.
 (See Appendix 5, 6, 7, 8 for more information regarding the settlement agreements).

 Results of the settlements are as follows:

 Democratic National Convention (2000). The court ordered that less lethal munitions may only be used
 to control persons who are aggressive and/or combative or persons armed with weapons other than
 firearms or who are destroying property. Before declaring an unlawful assembly, the incident
 commander should consider isolating and arresting those responsible for unlawful conduct if feasible.
 Settled for over $5,000,000.

 MacArthur Park (2007). The court ordered that warnings should generally be given prior to the use of
 less lethal munitions. Less lethal munitions may only be deployed on aggressive and/or combative
 subjects in a crowd control situation and to prevent the destruction of property. Less lethal munitions
 are not to be used on lawfully dispersing crowds. Before declaring an unlawful assembly, the incident
 commander should consider isolating and arresting those responsible for unlawful conduct if feasible.
 Crowds shall be given a reasonable amount of time to disperse before being subjected to arrest.
 Training was mandated for Metropolitan Division personnel every year, patrol officers every two years,
 and command staff every year. Settled for over $13,000,000.

 Occupy LA (2011). Plaintiff’s alleged that they were arrested without being given the opportunity to
 leave. Plaintiffs also alleged they were placed on transportation buses with tight handcuffs for an
 extended period of time and denied access to bathroom facilities or water while held in police custody.
 Arrestees shall be released on their own recognizance if charged with only a misdemeanor, pursuant to
 PC Section 853.6. Settled for $2,450,000.

 Ferguson Protests (2014). Plaintiff’s alleged that they were handcuffed using “zip-ties” (plastic
 handcuffs) for extended periods of time, incarcerated for extended periods of time or denied release on
 their own recognizance pursuant to PC Section 853.6. Settled for $750,000.

 This evaluation determined that the Department had not corrected its historical problems in the
 treatment and timely processing of arrestees as agreed to in the Occupy LA and Ferguson Protests
 agreements. Despite having nearly a decade to revise and exercise custody procedures, the LAPD did not
 have an adequate arrestee processing procedure in place resulting in arrestees being in handcuffs for
 extended periods of time and arrestees allegedly not being allowed access to bathroom facilities or
 water. The lack of an efficient custody process also adversely impacted field operations as noted later in
 this report.




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      Section 2.05        Department Organization

 The Department is led by a Chief of Police. There are three assistant chiefs or Office Directors who
 report to the Chief. The Director of Office of Special Operations oversees specialized divisions such as
 Metropolitan, Emergency Services, Major Crimes and Air Support Divisions along with traffic
 enforcement and transit services. Another assistant chief, the Director of Office of Support Services,
 oversees administrative and support entities
 including Training, Recruitment, Personnel, Fiscal
 Support, Communications and Custody Services
 Divisions.

 The Director of Office of Operations is responsible for
 the traditional day-to-day policing that takes place in
 the City, such as patrol and detective operations. The
 Office of Operations is divided into four large
 geographic sectors called bureaus, as depicted in
 Figure 1, and include: Operations Central Bureau,
 Operations South Bureau, Operations West Bureau,
 and Operations Valley Bureau. Each bureau is led by a
 deputy chief who reports to the Office of Operations
 assistant chief. The four bureaus are divided further
 into geographic “areas” also commonly referred to as
 divisions. Each area is staffed with a senior captain in
 charge of all Departmental activities for the area and
 a subordinate captain who oversees patrol functions.

 Three Operations Bureaus have Special Events Units
 where staff are specifically assigned to planning for
 special events and unusual occurrences. Operations
 Valley Bureau utilizes their Training Unit personnel to
 do most event planning. Those persons have
 expertise in most aspects of event planning and
 create the majority of incident action plans for
 preplanned events. Operations Central Bureau
 command staff indicated that their Special Events
 Unit alone handles hundreds of special events each
 year. In nearly all instances, these events are
 peacefully facilitated by the LAPD.

 A list of key terms is found in Appendix 9.

 Figure 1: Los Angeles Police Department Bureaus and Areas Map


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          Section 2.06      Incident Command System Concept

 The incident command system is a standardized hierarchical structure that allows for a cooperative
 response by multiple entities, both within and outside of government, to organize and coordinate
 response activities without compromising the decision-making authority of local command (Appendix
 10). The incident command system ensures that the most pressing needs are met and that precious
 resources are used without duplication or waste.”8

 The incident command system was created in the 1970s to allow fire agencies to meld their resources to
 control wildfires.9 The system adopted standardized terminologies, position titles, etc. The system soon
 was adopted by law enforcement and other first responders as an organized structure to establish a
 command structure over an incident to manage that incident effectively. The incident command system
 is now the national standard for organizing and handling large-scale events.

 Successful deployment of the incident command system requires individuals with expertise to be
 designated to administer or lead the various sections and subsections within the organizational
 structure. An incident command system structure is designed to be infinitely adaptable by allowing the
 incident commander to create an organization that supports the mission. Incident command system
 protocols advise that the structure should be effective by keeping the span of control from three to
 seven people with five being the ideal.

 The incident command system table of organization that is created for the unique incident designates
 who is responsible for each function. According to the LAPD’s Emergency Operations Guide, some of the
 essential features of the incident command system are:

     •   Common Terminology                                   •   Integrated Communications
     •   Modular Organization                                 •   Establishment and Transfer of Command
     •   Management by Objectives                             •   Chain of Command and Unity of Command
     •   Incident Action Planning                             •   Unified Command
     •   Manageable Span of Control                           •   Accountability
     •   Incident Location and Facilities                     •   Dispatch Deployment
     •   Comprehensive Resource Management                    •   Information and Intelligence Management10




 8 Overview: The Incident Command System, accessed December 15, 2020,
 https://www.nationalservice.gov/sites/default/files/olc/moodle/ds_online_orientation/viewf265.html?id=3139&chapterid=90
 8.
 9 History of ICS, EMSI (blog), accessed December 19, 2020, http://www.emsics.com/history-of-ics/.

 10 Emergency Operations Guide (Los Angeles Police Department, 2009), vol. 4, page 5.


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  Figure 211: A summary of the Incident Command Structure

 The area command is an important component of the incident command system. It is used in instances
 when there are several incidents occurring simultaneously in the same general area and often similar in
 nature (e.g., multiple structure fires, multiple wildland fires, collapsed buildings, medical events, civil
 disturbances, planned everts, earthquake, etc.). Typically, these kinds of incidents compete for the same
 resources.”12 In these instances, an area command is established. The area command places a hybrid of
 an incident command system organization over several incident command system organizations
 handling similar incidents (Appendix 10).




 Figure 313: A summary of the Incident Command Structure




 11Managing   Large Scale Incidents - Area Command, ICS 420-1.3,
  January 2020, https://firescope.caloes.ca.gov/ICS%20Documents/ICS%20420-1.3.pdf.
 12 Managing Large Scale Incidents - Area Command, ICS 420-1.3, 1.

 13 Managing Large Scale Incidents - Area Command, ICS 420-1.3, January 2020,

 https://firescope.caloes.ca.gov/ICS%20Documents/ICS%20420-1.3.pdf.
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III. Timeline Summary of Major Events
  This timeline was meant to capture the highlights of the events in Los Angeles and does not represent
  a complete list of all events that occurred during the time in review. It was compiled from documents
  obtained from the Department and timestamped media footage.

  On Monday, May 25, 2020, George Floyd died in Minneapolis, Minnesota, and on May 26 protests
  began in response to his death throughout the country.

  On Wednesday, May 27, protests occurred in cities across the country. At approximately 4:00pm,
  protestors converged on the Hall of Justice in downtown Los Angeles, in front of then District Attorney
  Jackie Lacey’s office. Although protestors were loud, they were peaceful. At approximately 6:00pm the
  crowd had grown to several hundred and began to march towards Union Station four blocks from the
  Hall of Justice. The crowd took a turn and entered the Hollywood freeway causing a temporary closure.
  As protestors began to march off the freeway, some participants turned violent, breaking the windows
  of two California Highway Patrol (CHP) vehicles before heading towards City Hall and LAPD
  headquarters. By 6:30pm, groups were observed burning American flags, vandalizing City property and
  blocking streets in the downtown area. Central Bureau resources were overwhelmed, and the
  Department called for a City-wide tactical alert, the preliminary stage of the LAPD’s mobilization plan for
  unusual occurrences, holding over on-duty resources. As the crowd became more destructive, the
  decision was made to declare the event an unlawful assembly. A sergeant delivered a dispersal order
  using a Department sound truck at the intersection of Temple and Los Angeles Streets. The Department
  later confirmed to news media that no demonstrators were arrested, despite police headquarters being
  vandalized with graffiti.

  On Thursday, May 28, there were multiple peaceful protests during the day. At approximately 5:00pm
  hundreds of protestors in downtown began to walk towards the 110 freeway, vandalizing CHP vehicles
  and ultimately shutting down the freeway. An estimated 500 to 1000 people marched from City Hall and
  blocked multiple intersections in downtown. At 8:00pm a modified tactical alert was declared for
  Central Bureau. At about 8:30pm there was violence erupting at 7th Street and Grand Avenue, LAPD
  police vehicles were damaged, and an LAPD officer was dragged into a crowd. Objects were being
  thrown at the police and an unlawful assembly was declared. The group walked to 3rd Street and Grand
  Avenue and a second dispersal order was made. Three arrests for failure to disperse and four for
  burglary were made.

  On Friday, May 29, multiple peaceful protests continued throughout the City. Simultaneously, a group
  blocked the 110 freeway, and looting was occurring at multiple businesses in downtown Los Angeles
  including jewelry stores, food markets, and coffee shops. The crowd pelted police cars, vandalized
  property, set fires and broke windows. LAPD records indicated that 265 people were arrested, and six
  police officers were injured. Officers recovered handguns, brass knuckles and bricks during sweeps of
  downtown. Less lethal munitions were used during the downtown protests.



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 On Saturday, May 30, multiple peaceful protests took place across the City. A Black Lives Matter
 demonstration was planned for noon at Pan Pacific Park located at 7600 Beverly, a public green space
 located just east of The Grove shopping area and adjacent to the historic Farmers Market. Information
 surfaced that there would also be a demonstration at Mariachi Plaza located at 1st Street and S. Boyle
 Avenue in the Hollenbeck Area police district and that a plan to take over the Hollenbeck police station
 might be attempted.

 Thousands of people gathered for the peaceful protest at Pan Pacific Park. By early afternoon violence
 broke out when breakaway groups from the larger protest blocked the intersection of 3rd Street and
 Fairfax Avenue and surrounded a Department mobile field force which had been sent to the area to
 rescue a Los Angeles County Metropolitan Transit Authority (MTA) bus with passengers onboard. The
 bus had been overrun by a group of aggressive agitators. A Department-wide tactical alert was called
 due to the need for additional personnel demands throughout the City. A large, organized convoy of
 cars arrived in the area and individuals from those cars began to systematically loot local businesses at
 The Grove. Looting and vandalism continued there, and groups of criminals set fires, burned a kiosk, and
 vandalized stores into the evening hours. Several LAPD police cars were damaged, and some were
 burned.

 The Mayor declared a state of emergency and implemented a curfew in Los Angeles effective from
 8:00pm to 5:30am. As the curfew went into effect, an LAPD police car was set on fire in downtown. At
 11:15pm police arrested dozens of people in vehicles in the vicinity of 8th Street and Broadway. Officers
 were being pelted with rocks, M-80s, frozen water bottles, bricks, bottle rockets and had lasers directed
 at their eyes. KNX 1070 news radio reported attacks on police and journalists, looting and vandalism.
 Weapons found on some individuals included knives, brass knuckles, bottles of urine and a pepper ball
 gun. The National Guard was requested by the Mayor. A total of 866 people were arrested for looting,
 curfew violations, failure to disperse, and failure to obey a lawful order of a police officer. Most
 individuals were processed at the Van Nuys or Wilshire Station. Less lethal munitions were used in both
 the Pan Pacific Park incident and during downtown protests.

 On Sunday, May 31, multiple peaceful protests occurred throughout the day in Los Angeles. The
 National Guard arrived during the early morning hours and was deployed to protect buildings and
 critical infrastructure. The Mayor lowered the curfew hour to 6:00pm. The LAPD was finding it difficult
 to obtain buses to transport arrestees. Looting and vandalism occurred in downtown, and less lethal
 munitions were deployed at various locations. LAPD made 700 arrests for curfew violations and looting.
 Most arrestees were transported to the Van Nuys jail for processing.

 On Monday, June 1, multiple peaceful protests occurred during the day. Violence and looting erupted in
 the late afternoon. A county-wide curfew was issued, beginning at 6:00pm. Looting occurred in
 Hollywood, Van Nuys and downtown Los Angeles. LAPD deployed less lethal munitions at various
 incidents to control the crowd. Caravans were seen bringing criminal activity into the City. LAPD arrested
 1,242 individuals, most from those three communities for looting, curfew violations and failing to obey a



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 police order. The LAPD decided to create a field jail at the Jackie Robinson Stadium at UCLA to which the
 majority arrested were transported.

 On Tuesday, June 2, multiple protests continued throughout the City. By 12:30pm violence and looting
 had erupted in Hollywood. Projectiles were thrown at police and less lethal munitions were used.
 Looting and vandalism were sporadic in various locations throughout the day and into the night
 including downtown, the Mayor’s Getty House residence approximately five miles west of City Hall, Van
 Nuys, and Hollywood. Approximately 1,500 persons unexpectedly arrived to demonstrate in and around
 the Getty House. The demonstrators at Getty House reportedly were loud, but not violent. Olympic Area
 had one squad (approximately ten officers and one sergeant) at Getty House. Subgroups from the
 crowds in downtown pelted police cars, vandalized property and set fires. LAPD cited several people for
 LAMC violations. LAPD records indicate that 956 people were arrested, and six police officers were
 injured.

 Between the five-day period of Wednesday and Sunday, June 3-7, a total of 80 arrests were made by
 the LAPD as peace was restored to the City. On June 4, at 5:21pm, the Mayor rescinded the curfew. On
 June 6, a peaceful protest occurred at Pan Pacific Park and on June 7, a peaceful protest attended by
 over 20,000 protesters occurred with no problems. In both cases there were no conflicts between the
 police and the protesters.




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IV. Observations and Findings
  There are seven thematic areas identified from the review providing opportunities for improvement:
  (1) planning, (2) command and control, (3) public order policing, (4) less lethal tools, (5) mass arrests, (6)
  preparedness and training, and (7) wellness.

  The Review Team would like to acknowledge the sworn, including volunteer Reserve Officers, and
  civilian members of the Department who worked tirelessly under difficult conditions during the protests
  of 2020 in Los Angeles. It must be noted that although deficiencies have been identified in this
  examination, most officers involved in the events that are the focus of this report responded to
  exceedingly difficult circumstances with professionalism and courage.

       Section 4.01        Planning

  The potential exists during any large-scale events for events or demonstrations to turn violent. Law
  enforcement executives should prepare for such instances by developing tactics and strategies to
  effectively maintain peace and public safety while protecting Constitutional rights and civil liberties.

  Observations

  In the days following May 25, 2020, the death of George Floyd in Minneapolis, a focus on issues of police
  abuse and discriminatory treatment of people of color fell upon all law enforcement. By the afternoon
  of May 26, peaceful protests began to develop spontaneously in Minneapolis, as well as in many large
  cities throughout the nation. As the day progressed in Minneapolis, the tone of the protests began to
  shift. Subgroups of individuals intent on engaging in criminal behavior started to clash with police. At
  nightfall acts of violence, vandalism, arson and looting were observed and broadcasted throughout the
  nation.

  On Wednesday, May 27, the LAPD deployed for a protest in opposition to District Attorney Jackie Lacey
  at the downtown Hall of Justice. This recurring weekly protest had been taking place since late 2017.
  There is no indication that the LAPD did any additional planning as the result of the death of George
  Floyd for the May 27 event. Members of the command staff stated that no additional planning had been
  deemed necessary because there had been no violence at the Wednesday protest in the past and the
  Department had successfully facilitated hundreds of protests in the City in the last several years with no
  problems or violence. Additionally, there is no indication that LAPD had received any intelligence or
  information that the May 27 would become violent.

  This protest began at approximately 4:00pm. By 6:00pm, it turned violent when hundreds of
  demonstrators marched onto the Hollywood freeway, stopped traffic and vandalized two CHP vehicles.
  By 6:40pm a tactical alert was called holding over all on-duty personnel. An unlawful assembly was
  declared, and the unlawful assembly order was repeated at 7:34pm at Los Angeles and Temple Streets.
  The Department had not planned for or deployed for this type of violent protest. The crowd dispersed
  after a final warning was given at 2nd and Hill Streets.


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 It appears limited planning was done for the 5:00pm protest in the downtown area on Thursday, May
 28. The protest led to a modified tactical alert being declared for Central Bureau, and a declaration of an
 unlawful assembly. Police vehicles were damaged, an officer was dragged into the crowd, and there
 were acts of vandalism.

 On May 29, Central Bureau set up a command post to run operations in Central Bureau. Central Bureau
 became the focal point of where the Department believed unrest would continue. This was largely
 because initial unrest occurred in downtown Los Angeles, and because of a very consistent historical
 pattern of demonstrations being limited to downtown municipal facility areas. Because of this focus,
 Department executives decided the Central Bureau would act as an area command (a command
 structure that oversees and coordinates City-wide events) and be responsible not just for any incidents
 in Central Bureau but also be responsible for tracking and allocating resources throughout the City. The
 command post did not become fully staffed until May 31.

 No other geographic bureaus were directed to establish any kind of command structure or prepare for
 possible protests in communities under their command. However, two bureaus did so without direction.
 This included one bureau chief directing subordinate commands to contact off duty officers and request
 they respond voluntarily to provide extra deployment at critical sites within that bureau.

 The pattern of past demonstrations being limited to downtown was disrupted when unrest spread to
 West Bureau (most notably Pan Pacific Park in Wilshire Area) and later into Valley Bureau. In addition to
 establishing the Central Bureau command post as the area command structure for the City, the
 Department had also placed many of its operational resources close to downtown causing delays in
 deployment. While the Central Bureau command post was managing Central Bureau events, executive
 level leadership should have been planning to set up an area command structure as events began to
 unfold across the City rather than placing the burden on Central Bureau.

 The Department did not provide documentation indicating that any formal or informal high-level
 meetings or discussions took place within the Department or with City leadership to obtain thoughts or
 impressions of what the mood of the community was in various parts of the City.

 Findings

         1. The Department did not follow the basic principles of the incident command system and did
            not set up an appropriate area command post immediately when protests became
            widespread by designating the Central Bureau as the Department command post overseen
            by an assistant chief.

         2. The Central Bureau command post did not become fully staffed until May 31. Some
            personnel assigned lacked experience and training in command post operations. (All of the
            issues with this command post are fully explained in Section 4.02 Command and Control (b)
            Operations Central Bureau Command post.)



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         3. There was a lack of firm executive-level direction to the Department command officers to
            prepare and plan for potential widespread civil unrest and demonstrations which contributed
            to the problems cited throughout this report. It is unlikely that proper planning would have
            totally prevented the problems experienced in Los Angeles. However, preplanning and
            preparation could have mitigated the issues.

             (a) Public Information and Messaging

 In any crisis, best practice is to have a plan for messaging. Messaging must be transparent, allow access
 for the media, and occur on a consistent basis at set times with updates when necessary. The
 Department’s messaging should be consistent with City leadership so that the City speaks with one
 voice. It is imperative that the messaging explains what is occurring, why actions are being taken and be
 accurate.

 Observations

 The Department’s Public Information Officer was not given responsibility for messaging and was not
 asked to contribute to the creation of a Department message. There was no consistent messaging done
 by the Department during the multi-day events which allowed various factions to use social media and
 traditional media to fill the information void and drive their own messages. Instead of the public being
 made aware of the violent nature of some of the protestors, including shots fired at officers and physical
 attacks on officers, looting, vandalism and arson, social media sources displayed edited videos showing
 what appeared to be officers attacking peaceful protestors for no reason. In any case there was no
 response or explanation from the Department or City leaders indicating the full version of the video
 showed the officers were actually being attacked.

 Findings

         4. It does not appear that either the Department or City leaders had a plan for messaging to the
            public, to the media or to Department personnel.

         5. There was a lack of a unified message from City leaders to de-escalate the violence so that
            peaceful protestors could exercise their First Amendment rights.

 Note: The Review Team does not suggest that a slanted or biased version should have been presented
 by the Department or the City. Rather, messaging by the Department and the City should have been
 factual, consistent, and thoughtful, which might have helped in discouraging unlawful behavior.

      Section 4.02        Command and Control

 It is imperative there be clear lines of command delineated and followed so that there can be unified
 and coordinated actions. The incident command system provides clear lines of authority and
 responsibility which are critical to follow in large scale events to ensure there is no confusion in the
 directions given by the incident commander and the operations chief in their plans to command and
 control the incident.
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             (a) Command and Control

 Observations

 In some instances during this review period high-ranking officers, ventured outside their lines of
 responsibilities causing command and control confusion. On more than one occasion during the multi-
 day events, command officers appeared at a location and issued orders without coordination with other
 command officers, the incident commander, or operations chief. Lower ranking personnel complained
 of operating with unclear missions and conflicting orders and at times minimal direction. In some cases,
 one commanding officer would intercept resources and redirect them without notifying the original
 commanding officer or the command post, creating confusion and incongruent direction to personnel
 regarding enforcement, about when, or if, to make arrests, and enforce curfew laws. This confusion of
 command inhibited the Department’s ability to control what was occurring.

 Findings

         6. A lack of clear command and control led to diverted resources and at times, an inability to
            accomplish basic policing tasks given by the incident commander or operations chief.

         7. The lack of a known and clear chain of command resonated in some incidents examined.

             (b) Intelligence

 Accurate and timely intelligence is vital to public order policing. Intelligence is seeking out information
 (knowledge about a particular fact or circumstance), analyzing it to determine what it means, and then
 using it in decision making. The more accurate the available intelligence/information to an incident
 commander, the better the decisions on deployment and tactics will be. There are three components of
 accurate and timely intelligence/information gathering: (1) intelligence and information must be
 gathered (2) analyzed; and (3) distributed. During this review period all three factors were problematic.

 Observations

 During the multi-day events, the Department received unanalyzed information from the internet and
 social media, information shared by the Los Angeles Sheriff’s Department (LASD), as well as intelligence/
 information from the Joint Regional Intelligence Center, the Federal Bureau of Investigation, and the
 National Operations Center. LAPD geographic bureaus were also attempting to identify relevant
 information and forward it to appropriate entities within the Department.

 The Department established an intelligence control center on Friday, May 29, at the Central Bureau
 command post. However, it was not until May 31 that the intelligence control center was fully staffed
 with personnel from the Office of Special Operations and Major Crimes Division. The Department had
 taken individuals out of specialized units and reassigned them back to patrol operations before the
 events of May-June 2020 occurred. As a result of this managed attrition, the intelligence function of the
 Department had been scaled down to a minimal level. One person was assigned to this function at
 Major Crimes Division, and one was assigned at Robbery Homicide Division. The Robbery Homicide
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 Division employee focused on criminal investigations. Department personnel attempted to analyze
 information during the protests, but the amount of information was too great. The Department
 currently does not have access to software to assist in gathering and processing information.

 Several Department personnel pointed out that there is software available that would assist the
 Department in gathering open-source information on the internet, analyzing it and making it useful
 intelligence. Requests to purchase software of this kind have not been approved.

 Personnel assigned to the Central Bureau command post, those assigned to field duties, and other staff
 and command officers gave different statements about how information was received (if at all). This
 suggests that the distribution method was not consistent, thereby degrading its usefulness.

 Some interviewees stated they sent out e-mail blasts to some command staff members, posted
 information on a white board in the Central Bureau command post and provided information at
 briefings done at the Central Bureau command post when possible. However, the consensus of those
 who were in the field in need of the intelligence was that they either did not receive analyzed
 information or intelligence or that when they did receive analyzed information, it was coming too
 rapidly to be useful.

 Findings

         8. The lack of a dedicated unit to analyze information, along with the fact that the Department
            does not have software to assist with the analysis, weakened the process and created a
            significant disadvantage.

         9. Interviews and a lack of any documentation to the contrary support the conclusion that the
            Department has no specific or consistent direction on how individual commands are
            supposed to monitor the internet and social media.

         10. There is no training within the City or Department to develop employees in the skills
             necessary to perform the intelligence function.

         11. There is no current robust intelligence function to gather information, analyze it and then
             distribute it effectively and quickly during large, wide-spread events. While current budget
             deficits could prevent the Department from staffing dedicated intelligence positions, it would
             be beneficial for the Department to develop a plan on how it would monitor the internet and
             social media when staffing does become available.

         12. Software and technology is available to analyze the flow of information, which would provide
             meaningful intelligence to those who need it during an event.

         13. The Department does not have established protocols on how intelligence/information is
             going to be distributed during major events so that all personnel know how to obtain the
             information and that there is consistency throughout the Department.


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             (c) Operations Central Bureau Command Post

 A bureau command post should be responsible for all events within the respective bureau. During
 instances in which events are occurring simultaneously at various locations throughout the City, the best
 practice is to set up what is called an area command post to be responsible for tracking and allocating
 resources throughout the City. Responsibilities for the City-wide command post include:
 intelligence/information control, logistics, mass arrest response, resource tracking, staging, and working
 with the National Guard to establish missions.

 Observations

 On Friday, May 29, the Department established a command post for Central Bureau at the Buddhist
 Temple on 1st Street near Vignes Street in downtown. The command post was an outdoor, temporary
 structure located next to the City Emergency Operations Center and the Department Operations Center.
 A decision was also made that the Central Bureau command post serve as the Department’s area
 command, thus making it responsible not only for all events in Central Bureau but also responsible for
 tracking and allocating resources throughout the City. Such a structure went against both the basic
 principles of the incident command system, and against past practices of the Department. The span of
 control was far too great and placed an undue burden on the Central Bureau incident commander who
 was dealing with a complex and rapidly changing situation in downtown.

 Interviews established that on Saturday, May 30, discussions were held at the executive-level of the
 Department about transitioning to a true area command. An area command would have required each
 geographic bureau to establish separate command posts with the responsibility of handling events in
 their commands while the area command post would have oversight over the four geographic bureaus.
 The area command post would then be responsible for City-wide tracking and allocation of resources
 responding to the needs of the four geographic bureaus. The decision was made not to do this as it was
 believed the Central Bureau command post was already operating effectively, was staffed, and had
 situational awareness. This was an error in judgement. As of late on May 31, personnel were still being
 called in to staff positions in the Central Bureau command post. In many cases these personnel did not
 have training or experience in the positions to which they were assigned.

 Further, had the Department had a properly configured area command structure, each of the four
 geographic bureaus would have had a fully operational command post to support their subordinate
 commands.

 Findings

         14. The Department should have set up a separate area command under the direction of an
             assistant chief using the Department Operations Center. No information was provided to the
             Review Team that any assistant chief assumed formal operational command of Department
             operations at any time during the review period. Having Central Bureau act as the area
             command placed an unnecessary burden on the entire Central Bureau incident command


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             structure. In addition, it exceeded the span of control as recommended by incident
             management best practices.

 Note: Given the extreme anger and violence exhibited by the demonstrators on Saturday, May 30, it is
 doubtful that establishing a true area command on Friday, May 29, would have prevented the criminal
 behavior that occurred. But it is legitimate to ask whether, if the appropriate area command structure
 had been in place and fully staffed with trained personnel, the Department might have been able to act
 more quickly and possibly have mitigated the criminal behavior. The Department did establish the
 appropriate area command for the November 2020 presidential election.

             (d) Operations Central Bureau Staging Area

 In the incident command system structure, the logistics chief is responsible for obtaining necessary
 personnel resources, who are then directed to report to a staging area that is under the direction of the
 operations chief. The operations chief directs a staging manager to supervise the staging area and the
 staging manager is responsible for receiving, organizing and tracking personnel resources prior to
 dispatching them to their respective assignments. It is important for the staging manager to be well
 trained in and have experience with major events. During such large-scale events dozens, if not
 hundreds, of personnel are responding and any delays in getting personnel in and out of the staging
 area can lead to further delays in gaining control of the incident.

 Observations

 Under an area command configuration, each operations bureau would have had its own staging area so
 as not to concentrate resources in one location. In conjunction with the Central Bureau command post,
 a Central Bureau staging area was established on Friday, May 29, at Dodger Stadium on the same
 property that the City of Los Angeles had set up a Covid-19 testing area. Through Sunday, May 31, this
 was designated as the Department staging area with all personnel resources being directed there for
 assignments throughout the City.

 Several interviewees noted that there was confusion at the staging area with long delays for personnel
 arriving to their assignments. Several officers commented they spent many hours in staging when they
 knew they were needed in the field. In some cases, officers reported they were not assigned appropriate
 radio designations, which caused additional issues. According to a Department executive officer, the
 problems in the staging area were serious enough at one point that he had to respond to the location to
 try to fix the problems.

 Currently, the Department does not have any technology or software that can be utilized for processing
 personnel coming into or leaving the staging area.

 Findings

         15. The initial designation of the Central Bureau staging area as the Department staging area was
             problematic. Personnel from throughout the City had to respond to this location and in some

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             instances were then sent back to their home bureaus or to locations in the City in other
             geographic bureaus, outside Central Bureau, causing response delays.

         16. Personnel assigned to the staging area in many cases had never received training on how to
             run a staging area or command post. They had to devise staging procedures on the fly, at the
             very time that personnel demands were the greatest in the field.

         17. Problems with the staging area included the location, long delays in processing personnel, a
             lack of restrooms and proper lighting and lack of protection from the extreme heat during
             the day (temperatures over 100 degrees Fahrenheit).

         18. Personnel assigned to the staging area were forced to use paper forms and white boards to
             receive, organize, track, and then dispatch hundreds of officers, causing further delays.

 NOTE: Personnel assigned to the Central Bureau staging area appear to have done the best they could
 under the circumstances. The delays were not because of lack of effort or because they did not try, but
 instead appeared to be a lack of preparation by the Department in developing personnel with the skill
 sets necessary and providing the support needed to ensure the deployment of a successful staging area.
 After several days, the Department moved staging to the four geographic bureaus which is more
 consistent with an area command.

             (e) Operations West Bureau Command Post

 Observations

 On Thursday, May 28, the Department received information that there was going to be a Black Lives
 Matter demonstration at the Pan Pacific Park on Saturday May 30. At that time, West Bureau had not
 established a fully staffed command post at the bureau level to support major incident management,
 leaving that task to the individual areas within the bureau.

 On Saturday, May 30, the incident commander for the planned Black Lives Matter demonstration in Pan
 Pacific Park set up a command post at the West Bureau community room at West Bureau Headquarters.

 An event action plan was created for the Pan Pacific Park event and while the plan named specific
 personnel for some positions within the incident command system, it noted “TBD” (to be determined)
 for many positions. This included the logistics section chief, safety officer, public information officer,
 resource unit leader, situation unit leader, documentation unit leader and communication unit leader.
 These are key staffing positions to ensure the incident commander and operations chief have situational
 awareness and can respond effectively to problems that may occur during the event.

 The incident commander responded to the designated staging area at the nearby CBS Television City
 studio complex to give a briefing for assigned personnel. It was at this time that problems began to
 occur in the field and the incident commander was not able to return to the command post. As the
 event became more violent, the command post was transitioned to the staging area. At some point later


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 in the afternoon the West Bureau commanding officer responded to the staging area and became the
 incident commander.

 Findings

         19. West Bureau’s decision not to establish a fully staffed command post after two nights of
             violent protests resulted in no logistical support for the West Bureau divisions and adversely
             impacted their ability to manage the large-scale events.

         20. There was a lack of personnel assigned to key event action plan positions for the Pan Pacific
             Park protest. This does not mean that some, if not all, positions were staffed; however, it
             does raise questions as to whether the command post staff was adequately staffed to handle
             this event.

         21. The lack of fully staffed West Bureau and Pan Pacific Park event command posts hindered the
             ability of the incident commander to manage the extreme anger and violence exhibited by
             some of the protestors on Saturday, May 30.

 NOTE: It is doubtful that the establishment of fully staffed command posts with well trained personnel
 would have prevented the criminal behavior. But it is legitimate to ask the question that if they had
 been in place, would the Department have been able to act more quickly and been able to mitigate the
 situation.

             (f) Mutual Aid

 Mutual aid is used by law enforcement agencies to call upon county, state, and federal resources to
 supplement their own resources to ensure the safety of the public under various emergency situations.
 Instances may include both natural and manmade disasters, terrorist events, and civil unrest. Mutual aid
 acts as a force multiplier for the requesting agency to return chaotic situations back to order.

 As a general matter, differences between requesting and responding agencies’ respective policies,
 policing strategies, and training can create the potential for conflicts between the expectations of the
 community and the expectations of the agency in need of mutual aid.

 Observations

 On May 30, the fourth day of the protests in Los Angeles, the Mayor determined that additional
 resources were needed as a force multiplier because the protests turned riotous and the Mayor
 requested mutual aid. The Department was assisted by the LASD, other regional law enforcement
 agencies and the National Guard.

 The LAPD immediately began to prepare for the arrival of the National Guard. Despite the National
 Guard numbers rising from 50 to 2,800 in a period of 24 hours, LAPD did a remarkable job controlling
 this process. For more than nine days, the National Guard operated with clear missions and LAPD


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 escorts throughout the City. The National Guard deployment and LAPD’s use of this resource was well
 documented, and the deployment was consistent with the Department’s direction.

 The Review Team did not receive information from the Department documenting the activities or uses
 of force by the various policing agencies, including the LASD, that responded to the City’s mutual aid
 request. However, it is believed that the LASD deployed “pepperball” less lethal munitions. This
 munition is not approved for Department-wide use, nor was it used by the LAPD during this time. The
 LASD may also have other less lethal munitions that the LAPD does not use and may have deployed
 them during the protests in Los Angeles. However, making this determination was outside the scope of
 this evaluation. Photographs on the internet and social media posts depicting various expended less
 lethal munitions did reveal some of those munitions are not in the LAPD inventory.

 The approval for the LAPD to deploy tear gas requires a commander or higher. The LAPD has not used
 tear gas in a public order policing environment for decades. The LASD is authorized to use tear gas and
 only requires the approval of the incident commander, a watch commander or sergeant. LAPD patrol
 personnel are not equipped for operating in a teargas environment and have no experience in doing so.
 Should teargas be deployed near officers without the proper equipment, it would cause eye and lung
 irritation and widespread confusion. The Department asked the LASD not to deploy teargas in the
 downtown protests. It does not appear that the LASD deployed tear gas within the City.

 Findings

         22. The National Guard activation and the LAPD’s use of this resource was well documented, and
             the deployment was consistent with the Department’s direction.

         23. The fact that the National Guard operated without becoming the story is a testament to both
             the conduct of the National Guard and to the Department’s ability to quickly solve problems
             as they surfaced. LAPD’s success in facilitating the National Guard’s deployment appears to
             be in large part because LAPD personnel with both military and incident command system
             experience were selected to work this assignment throughout the duration of the National
             Guard’s deployment to Los Angeles.

         24. The LAPD has various settlement agreements (as described elsewhere in this report) that
             requires the approval of a commander (or higher) to use certain kinds of less lethal
             munitions. The LASD has a lower approval threshold for the deployment of less lethal
             munitions that allow an incident commander or watch commander to approve the use of the
             same munition.

         25. Due to the operational differences between agencies, the LAPD should consider using mutual
             aid agencies for fixed position tasks, such as protecting locations freeing up LAPD officers to
             engage in more dynamic tactical action (skirmish lines and seeking out roving looters).




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 NOTE: It is incumbent on the Department to obtain or review/update mutual aid agreements with
 partner agencies, especially the LASD, ahead of time outlining the concepts of operation, use of force
 policies, approvals required, less lethal tools/munitions to be used and use of force reporting.

         Section 4.03           Public Order Policing

 For purposes of this report, the term “public order policing” means the discipline of using strategies and
 tactics to manage and control crowds. LAPD’s Emergency Operations Guide describes the Department’s
 public order policing mission as follows:

             The Department’s mission is to work in partnership with the public to ensure that the First
             Amendment rights of all who have gathered are protected and guaranteed by our personnel.
             We have the responsibility to the public to protect the lives and property of all people. This will
             be accomplished through the fair and impartial enforcement of laws. It is imperative that when
             faced with both crowd management and crowd control incidents, those Department personnel
             utilize planning, communication, openness, and leadership to accomplish our mission. 14

 Public order policing is a complex and challenging endeavor because it entails policing (protecting rights,
 enforcing laws, keeping the peace) large numbers of people, often in volatile, evolving, and uncertain
 circumstances.

 Crowd management, as distinguished from crowd control, means policing crowd situations that do not
 involve “civil disorder or unlawful activities”. 15 For preplanned events, representatives of the
 Department meet with the leaders or organizers of the demonstration in advance of the event to plan
 together to ensure that participants in the event are allowed to exercise their First Amendment rights,
 and that the event remains peaceful. In such instances, it is common for the police and organizers to
 share plans so that the event can be peacefully managed. Generally, the police are able to facilitate the
 crowd through such tactics as stopping traffic and helping plan routes.

 Even when the police and organizers work together, there may be instances where individual actors or
 small groups in the crowd commit unlawful acts. When such instances occur, because a line of
 communication is open between the police and the organizers/leaders, the police can work with the
 organizers/leaders to de-escalate the situation by having them “self-monitor” to stop the unlawful acts,
 thereby eliminating the need for other policing actions, such as making arrests or declaring an unlawful
 assembly.

 When the police are not included in the planning of the protests, they should attempt, when feasible, to
 identify and work with the formal or informal leaders in the crowd. They should encourage such leaders
 to assist with self-monitoring of the crowd, to prevent violence and maintain the safety of everyone
 involved. In most cases of ad hoc, unpermitted demonstrations or marches, police can manage the



 14   Emergency Operations Guide (Los Angeles Police Department, n.d.), vol. 5, page 1.
 15   Emergency Operations Guide, vol. 5, page 2.
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 demonstrations and marches to ensure they are conducted peacefully. When members of the crowd
 commit unlawful acts, the police then must transition from crowd management to crowd control.

 Crowds are typically heterogeneous, made up of numerous smaller groups of people from many walks
 of life, and often with different norms and values. This creates a complex problem for those within the
 larger crowd and those who are expected to manage the crowd. Police who attempt to manage a large
 crowd must avoid the mistake of treating the entire crowd as though they were all part of a violent or
 criminal element. If officials view a crowd as homogeneous and impose a direction or an action such as
 declaring curfew or an unlawful assembly, conflict can escalate. As such, strategies used by police can
 either escalate or deescalate crowd behavior. Understanding the dynamic of crowd psychology should
 be a priority of Department leadership training.

 The Department defines crowd control as:

             When a preplanned or spontaneous lawful assembly deteriorates to the point where there is a
             potential for unlawful activity or threat of violence, the Department has a duty to stop this
             behavior. The nature of these events has the potential to cause injury, death, damage to
             property, and infringement of the rights of other members of the public. The Department must
             react in a lawful, measured, and rapid manner to restore order. The objective will be achieved
             through the use of appropriate crowd control tactics and the adherence to the law, policies and
             procedures. If the situation results in a use of force, the force utilized to arrest violators and
             restore order shall be objectively reasonable.16

 Basic crowd control tactics include placing officers on skirmish lines to move or block a crowd. The
 officers on the line are allowed to “push the crowd” with batons if the crowd encroaches on them or the
 crowd does not move. The Department also has authorized the use of less lethal munitions (described
 elsewhere in this report) for crowd control. If required, and safe to do so, a squad of officers may enter
 the crowd, in what is known as an “arrest circle” to detain an individual. It is in these circumstances that
 the Department may disperse the crowd or make arrests for unlawful assembly or other crimes, such as
 curfew violations.

 Observations

 Many command officers interviewed indicated they are used to successfully managing and facilitating
 the movement of crowds and demonstrations in Los Angeles. For example, prior to the protests that are
 the subject of this report, Central Bureau had experienced anti-gentrification marches in the Hollenbeck
 Area, several years of weekly demonstrations supporting the removal of District Attorney Jackie Lacey,
 and recent demonstrations about such matters as tenant’s rights and Covid-19. Those demonstrations
 were peacefully managed by the Department.




 16   Emergency Operations Guide, vol. 5, page 3.
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 On many occasions during May-June of 2020, the police become aware of an unplanned or ad hoc
 demonstration taking place. In such instances the Department arrived on-scene and gauged the
 temperament and conduct of the crowd to determine whether the crowd was peaceful or engaged in
 criminal activity. It has long been a standard practice of the LAPD to facilitate unplanned public
 demonstrations just as they do with preplanned events. This took place on several occasions throughout
 May-June 2020. Notably, an example occurred in West Bureau, when a large crowd of frustrated
 protestors marched through an LAPD geographic area to several adjoining jurisdictions only to be
 prevented from entering those cities. The incident commander and field commander were able to
 successfully facilitate the crowd movement and exercising of their First Amendment right to protest
 without violence erupting.

 In addition to the formal mission of the Department, one of its informal goals is to “not become the
 story”. This means to avoid becoming involved in controversy by unnecessarily interrupting a march, by
 using force, or by otherwise diverting attention away from the cause of the organizers and unnecessarily
 focusing it onto the Department.

 It is notable that most of the many demonstrations that occurred in Los Angeles in the wake of George
 Floyd’s killing were peaceful. Community members interviewed said the police generally allowed the
 demonstrations to proceed without interference. For example, the Department peacefully facilitated
 the Black Lives Matter demonstration in Hollywood on June 7, which was attended by over 20,000
 people.

 A major challenge for the LAPD was to determine to which of the numerous protests held over several
 days to send resources, and then then to determine the mood of the crowd, and how to police it
 appropriately.

 It appears that on occasion during the May-June protests command officers did not transition from
 crowd management to crowd control as quickly as was necessary. Some command officers expressed
 reluctance to act quickly out of concern over being unfairly second guessed in the aftermath. While it is
 understandable that decision-making can be difficult, there were times when more rapid interdiction of
 unlawful behavior would have been appropriate.

 With few exceptions, nearly all commanding officers interviewed for this report said that their level of
 training and experience was limited prior to these events, and that they did not feel confident in
 handling these incidents. The few who felt confident in handling all aspects of public order situations
 indicated that their competence came from prior assignments such as Metropolitan Division or via
 mentoring from highly knowledgeable peers/superiors. The Review Team was not able to identify any
 formal training or mentoring programs in place to ensure that commanding officers are proficient in
 being able to provide command and control in crowd control situations.

 The community focus of the protests and demonstrations of May-June was the police and the issue of
 police abuse, particularly of people of color. Thus, the Department could not always manage the crowd.



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 The mere presence of police officers was not necessarily going to quell problems as has been the recent
 experience of the LAPD, and in fact led to confrontations on occasion.

 In addition, most crowds were leaderless. Some smaller groups in some of the crowds who appeared to
 be attempting to commit unlawful acts seemed to be well prepared, highly mobile and coordinated.
 Some police commanders, as well as Air Support Division officers, opined that some persons in the
 crowd may have been monitoring LAPD radio frequencies, as evidenced by their rapid and coordinated
 movements in response to police communications. Police commanders described the behavior of some
 groups involved in criminal behavior as similar to “water” where they would commit an unlawful act and
 quickly disperse, only to reappear at another location, extremely difficult to contain.

 As reflected in media video, and according to LAPD accounts, it appeared that in some instances people
 at the front of the crowd directly facing police officers had their hands raised over their heads, while
 others stood behind this line and threw objects at police. Many command officers opined that this
 appeared to be a deliberate strategy, using the general protestors in front as a shield, possibly without
 their knowledge. Such behavior of small subgroups of people engaging in criminal acts and causing
 violence, and then hiding behind demonstrators, was a shift from past demonstrations. This behavior
 was observed at multiple demonstrations across the nation.

 Looting often appeared to be well coordinated. Police commanders observed that it looked like there
 were “scouts” in certain areas observing the actions of police and selecting targets. The looters seemed
 to be opportunistic and some officers identified gang members in the groups engaged in looting and
 vandalism. Convoys of up to ten cars were observed driving together in a line to “attack” one location. If
 police responded to interdict or make arrests, those cars (and occupants) quickly dispersed in all
 directions, only to reconfigure together elsewhere to attack another target. The wide-spread nature of
 the looting simultaneously at various locations made it incredibly difficult to contain. At times, the
 Department did not seem to have enough resources to contain the looting that initially occurred.

 Findings

         26. There were many protests during the evaluation period which the LAPD facilitated peacefully.

         27. There was a lack of training to properly prepare command officers for managing large crowds
             with the possibility of civil unrest and many command officers stated they did not feel
             confident in handling these incidents.

         28. The Department culture inhibits those in in a position to make decisions as they are either
             afraid to use their best judgment or paralyzed by concerns that they will be second-guessed
             by their superiors or they fear “becoming the story”.

         29. The LAPD did not anticipate and was not prepared for the disruptive strategies of swift
             mobility and coordination of movement used by some criminal groups.




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 NOTE: Recommendation No.1 to establish a Strategic Emergency Manager would be key to effectively
 addressing all-hazards emergency management facing law enforcement today. It is envisioned that the
 Strategic Emergency Manager will keep abreast of emerging trends in all aspects of public order policing
 and introduce those concepts to the Department. Public order policing must be enhanced to meet
 contemporary operational challenges and anticipate future ones. Crowd psychology is a necessary
 component of training police to better handle dynamic crowd behavior. The civil unrest strategies now
 used by some groups intent on spreading chaos have allowed them to become more mobile and better
 planned than historically has been the case. The challenge for police is to facilitate First Amendment
 rights while at the same time interdicting groups who are attempting to disrupt lawful demonstrations.
 The Review Team contacted law enforcement professionals and emergency management experts and
 found that there are crowd psychology professionals independently looking at such issues. The LAPD
 should be doing the same (see Recommendations section for further). The LAPD is in a unique position,
 since it is fortunate enough to have a fulltime, large behavioral sciences section embedded within the
 Department. Psychologists within this section likely have some crowd psychology experience and should
 be consulted as the Department moves forward. The Department also should contact other law
 enforcement agencies, academics, and law enforcement experts to understand best practices and to
 develop strategies for the 21st Century.

            (a) Mobile Field Force Configuration

 In the aftermath of the 1992 civil unrest in Los Angeles, LAPD’s Metropolitan Division conducted a best
 practices in training for crowd management search. Metropolitan Division then created the mobile field
 force concept, which is still in use today by law enforcement nationwide. The mobile field force concept
 was codified into the 1993 California Police Officers Standards in Training Crowd Management and
 Crowd Control Guidelines and incorporated into multiple documents within the LAPD. Mobile field
 forces use crowd control strategies, such as skirmish lines, but are also a more flexible way of rapidly
 responding to events. The mobile field force concept was developed to provide a fast and effective
 method to assemble and deploy a platoon-size, tactical force. It is adaptable to both planned events and
 spontaneous incidents which require the rapid assembly of large numbers of officers. An important
 strategy during crowd control events is the use of the mobile field force configuration. The effectiveness
 of the mobile field force is dependent upon its mobility. As such, the cars must be staged in a relatively
 safe location and the driver’s duty is to stay with the cars to maintain security and be ready to move
 quickly if necessary.

 A mobile field force is defined as:

 •   A platoon-sized tactical force of one lieutenant, four sergeants, and 45 officers who rapidly
     assemble specifically capable to respond to events as a unit;
 •   A standalone group that is capable of mobility, physical presence, supervision and command;
 •   Tactically trained and capable of mass arrest; and
 •   Utilized during pre-planned and spontaneous events; and



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 •      Capable of deployment within 45 minutes.17

 In addition to mobile field forces, Metropolitan Division deploys what are known as tactical support
 elements. Tactical support elements are used in coordination with mobile field forces or as a standalone
 strategy. A tactical support element is a reinforced Metropolitan Division squad of between eight and 22
 officers with two sergeants and one lieutenant, with equipment and equipment operators selected
 based on the assigned mission.

 The LAPD also often deploys helicopters (air units) over public policing situations and did so on many
 occasions during the protest that were triggered by George Floyd’s death. Obviously, personnel in
 helicopters have the advantage of being able to have a far greater view of events as they unfold on the
 ground. A tactical flight officer’s perspective in the air unit adds situational awareness from a unique
 position and thus provides tactical communications to officers on the ground. The tactical flight officer is
 often a key component of any crowd control situation, as was the case during the review period.

 Observations

 During the review period, at least six police vehicles from mobile field force configurations were
 destroyed by arson and others were damaged. This was in part because no officers were left with the
 cars to protect them from vandalism as the crowds were very mobile, overtaking the locations where
 police cars were parked. The Department has estimated the repair and replacement cost at nearly
 $1,000,000.

 Numerous officers interviewed by the Review Team, and many of the LAPD officers who participated in
 the Los Angeles Police Protective League survey, stated that they frequently told supervisors on the
 ground that the police vehicles needed to be protected by a small group of officers from the mobile field
 force configuration. However, some supervisors did not take the advice of their subordinates, creating
 opportunity for small groups of problem people to commit crimes of arson and vandalism on police
 vehicles, without consequence.

 Most command staff interviewed stated that the Metropolitan Division tactical support elements were
 used effectively and supported the mobile field forces as they were made up of smaller groups of
 officers, thus more mobile. The West Bureau commander who was present at the Pan Pacific Park
 protest on May 30 was able to start to control problem areas using the tactical support elements, which
 he stated were a “huge help”. The tactical support elements developed a plan based on their situational
 awareness, gave a dispersal order, and then, when the crowd did not disperse, they moved the crowd in
 the direction of an alley where they could be surrounded and arrested for curfew. A review of dispatch
 audio, corroborated by command officer interviews, indicates that the air units from the LAPD Air



 17   Emergency Operations Guide, vol. 5.




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 Support Division was used effectively throughout the events, helping to coordinate officers on the
 ground.

 Groups of individuals who engaged in criminal behavior were using new methods to cause disruption
 that the LAPD had never encountered before. Thus, it was difficult for officers to separate and isolate
 those who were committing unlawful acts. Command and line officers noted that the heavy reliance on
 traditional crowd control tactics of skirmish lines, described as “Napoleonic tactics” in which officers
 stand in static lines and attempt to push the crowds, were simply not effective during the protests. As
 such, the highly mobile groups within crowds, as well as roving looters, made the officers on the ground
 less effective.

 The LAPD air units developed a tactic to deal with the looters during the Pan Pacific Park unrest which
 was then used in other problem locations throughout the City. On Monday, June 1, the air unit broke up
 mobile field forces and used other available officers to make small squads of one sergeant and ten
 officers. The tactical flight officers identified convoys of looters and then directed the officers on the
 ground to intercept and arrest the looters. In addition, once the LAPD was fully mobilized so as to
 provide additional personnel, and the National Guard was on-scene, police resources were freed up to
 interdict roving convoys of looters. This tactic proved to be effective. The traditional Mobile field force
 configuration of 45 officers was not effective in many instances during the unrest of 2020. The LAPD
 recognized that the mobile field force configuration needed more personnel to be operationally
 effective and keep the cars protected. Subsequently, the LAPD increased the number of officers in a
 mobile field force from 45 to 60.

 Findings

         30. The traditional mobile field force configuration of 45 officers was not effective in many
             instances during the protests of 2020 and additional personnel were needed to be able to
             protect the police vehicles and manage the crowds. The LAPD has since increased the size of
             the mobile field force from 45 to 60 personnel.

         31. The LAPD adjusted tactics mid-way through the unrest when the air unit designed a tactic
             that broke up mobile field force units into smaller squads. This tactic proved effective.

         32. Officers occasionally expressed concern to supervisors that the mobile field force police
             vehicles needed to be guarded, however, in some instances these warnings were ignored.

             (b) Shadow Teams

 Shadow teams are a strategy the Department has used frequently during past crowd management
 events. Shadow teams consist of undercover officers who are in the crowd to monitor the mood of the
 crowd and to provide operational information to the incident commander. Such a strategy can be
 extremely effective if information can be quickly communicated to the incident commander. For
 example, the immediate arrest of a few agitators can potentially deescalate an incident by removing the


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 trouble-maker intent on creating chaos or engaging in criminal behavior from the crowd with minimal
 disruption.

 Observations

 The Department deployed shadow teams in crowds at various points during the May-June 2020
 protests. The use and assignment of shadow teams has been successful historically. During these
 protests, shadow teams were utilized by some incident commanders. Many of the crowds were violent
 and hostile, which raised concerns about the safety of the officers. There were also communications
 problems between shadow team members, and uncertainty about whom they should be communicating
 within the incident command system. This created a lack of information that could be acted upon in a
 timely manner.

 Findings

             33. There are no standard Department protocols or training documents on the use of shadow
                 teams.

             34. Communications and information from the shadow team’s observations were not distributed
                 in a timely manner. The Department now assigns shadow teams and a uniformed cover team
                 to the mobile field force. This will allow for a more direct line of communication between
                 shadow teams and mobile field force leaders while providing the shadow teams with a
                 dedicated security team.

         Section 4.04          Less Lethal Tools

 Trained LAPD officers were authorized to use four types of less lethal tools during the May-June 2020
 events. Those tools were:

                 (a) 40mm Launcher Deploying the 40 mm eXact iMpact Sponge Round

 The 40mm fires a single foam projectile that weighs 0.96 oz and travels at 325 feet per second. The
 minimum range for the eXact iMpact round is five feet and the maximum effective range is 131 feet
 (Note: LAPD limits this range to 110 feet). The round is intended for direct impact (target specific)
 application.18 The 40mm is a standard tool for patrol operations.

 LAPD policy on the 40mm is documented in a directive which states that less lethal force options are
 only permissible when an officer reasonably believes that a suspect or subject is violently resisting arrest
 or poses an immediate threat of violence or physical harm.19 The 40mm shall not be used to target the
 head, neck, face, eyes, or spine unless lethal force is authorized. The 40mm launcher may be used in




 18   40mm eXact iMpact Sponge Round Spec Sheet (Defense Technologies, December 30, 2020), www.defense-technologies.com.
 19   USE OF FORCE - TACTICS DIRECTIVE: 40mm LESS-LETHAL LAUNCHER, 1.
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 crowd control situations against a single subject/suspect as a target-specific less lethal option. 20
 Because the 40mm round is target specific, it cannot be used to disperse a crowd. The LAPD 40mm
 launchers are outfitted with an EOTech sight. The cost of the 40mm system with a sighting system is
 approximately $2,000. (A repurposed shotgun that uses a beanbag shotgun round can cost one fourth of
 that amount.) The 40mm rounds cost approximately $25 per round making it too expensive to certify
 (requalify) the entire Department on a regular basis.

             (b) 37mm Launcher Deploying the 37 mm Foam Baton Black Powder Round

 The foam baton round consists of five foam rubber projectiles that are discharged at once. The LAPD
 uses the 37mm foam baton rounds as a non-target specific impact tool. The LAPD only allows the foam
 baton rounds to be skip fired. The range of the round is 15 to 30 feet.21

 LAPD policy states in part, “the 37mm foam baton round is a non-target specific round used for crowd
 control. With the approval of the incident commander, the 37mm foam baton round may be used as a
 crowd control tool when a dispersal order has been issued and/or immediate action is necessary, to stop
 violence, to ensure public safety, and restore order.”22

             (c) Beanbag Shotgun

 The beanbag shotgun is a Remington 870 shotgun which has been configured with a green slide handle
 and stock, rifled barrel, and side saddle ammunition holder. The beanbag shotgun deploys a “super-sock
 round” which is a 12-gauge cartridge containing a shot-filled fabric bag. These rounds are designed to be
 non-penetrating, and upon striking a target distribute energy over a broad surface area. According to
 LAPD policy, the beanbag shotgun may be used in crowd control situations against a single
 subject/suspect as a target-specific less-lethal option.23

 The beanbag shotgun is also a standard less lethal tool/munition used during patrol operations. Most
 officers in the Department have been certified during the academy in the use of the beanbag shotgun
 trained for use in patrol functions. Like the 40 mm round, the beanbag shotgun is not to be fired at the
 head, neck, face, eyes, or spine.




 20 USE OF FORCE - TACTICS DIRECTIVE: 40mm LESS-LETHAL LAUNCHER, 2.
 21 37mm Foam Baton Black Powder Round Spec Sheet (Defense Technologies, December 30, 2020), www.defense-
 technologies.com.
 22 USE OF FORCE - TACTICS DIRECTIVE No. 11.1 CROWD MANAGEMENT, INTERVENTION, AND CONTROL (Los Angeles Police

 Department, October 2020), 5, http://lapd-lapd-lapd-assets.lapdonline.org/assets/pdf/tac-dir11-crowd-mgmt.pdf.
 23 USE OF FORCE - TACTICS DIRECTIVE No. 6.3 BEANBAG SHOTGUN (Los Angeles Police Department, July 2018).


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              (d) Hornets Nest Sting Grenade, .60 Caliber Rubber Balls

 Hornets Nest Sting Grenade (sometimes referred to as a “stinger” round) is a “rubber ball diversionary
 device that produces approximately 130 decibels at five feet and emits 1-2 million candelas. In addition
 to the light and sound, the device disperses 25, .60 caliber, rubber balls in a 360-degree pattern.”24

 The Department did not provide documentation relative to the deployment approval of the Hornets
 Nest Sting Grenade round. However, the Department did provide information that states that only the
 Special Weapons and Tactics Team (SWAT) has this less lethal tool and is authorized to deploy it. There
 is some confusion among the Department command staff as to who may authorize the deployment of
 this tool in crowd control situations. The MacArthur Park 2007 settlement agreement as well as
 information in the Emergency Operations Guide and lesson plans indicate that only a person of the rank
 of commander or higher may authorize its usage in crowd control situations. However, there is a belief
 by command staff that only the Chief of Police may authorize its usage. Regardless, members of SWAT
 deployed rounds of this less lethal tool on May 30, during the Pan Pacific Park situation with the direct
 approval of the Chief of Police who was on-scene.

 For detailed information on the above less lethal weapons see Appendix 12.

              (e) Less Lethal Use

 The goal of less lethal tools is to control or stop the actions of the subject while minimizing the potential
 for serious injury to the suspect. Less lethal tools may reduce the likelihood of using deadly force.25

 The Department was asked for but did not provide the number of less lethal munitions used between
 May 27 and June 7. Less lethal munitions were not used after June 3. As of this writing, no accounting of
 less lethal munitions has been received. However, rough inventory records indicated that over 3,500
 rounds of 40mm and over 6,200 rounds of 37mm munitions were not returned to the Department
 armory. Whatever the exact number was, it appears that the Department expended a great deal of less
 lethal rounds during the protests.

 Of note, the Review Team received information from the Department that there are six serious use of
 force investigations (for a definition of categorical use of force incident see Appendix 9) that are related
 to the protests. Those cases will be investigated by a specialized LAPD investigative team assigned to
 Professional Standards Bureau and findings will be reviewed by the Board of Police Commissioners.

 There are over 140,000 body worn camera videos associated with this review period and the LAPD
 technology makes it exceedingly difficult to separate out videos related to the various events
 throughout the City. Therefore, the Review Team was not able to view every video in which less lethal
 munitions were deployed. Thus, the Review Team did not attempt to investigate the appropriateness of


 24Hornets Nest Sting Grenade, .60 Cal. Rubber Balls, Produce Code ALSG10160 (ALS, December 30, 2020), www.lesslethal.com.
 25Sid Heal, Concepts of Nonlethal Force: Understanding Force from Shouting to Shooting (Brooklyn: Lantern Publishing & Media,
 2020), chap. 6.
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 individual uses of less lethal munitions. Nor could a determination be made about the amount of less
 lethal munitions expended other than that a large amount was used.

 It is believed that the majority of injuries reported occurred from the deployment of the 40mm rounds
 because of the reasons stated below.

 The Department first approved use of the less lethal 40mm system in 2000. At that time, only personnel
 from Metropolitan Division were authorized to use the 40mm and trained frequently on its use.

 The LAPD later undertook a pilot program to examine the deployment of the 40mm Department-wide.
 This was largely due to the increased safety of the 40mm round vs. the beanbag round and the
 increased effective range of the 40mm. The pilot program was successful. The 40mm system was
 authorized for Department-wide patrol operations use in 2017 upon approval of the Board of Police
 Commissioners after the Inspector General’s evaluation.

 In 2017, when the Department transitioned to the 40mm for patrol, officers were trained during the
 Integrated Communications, De-escalation, and Crowd Control (ICDC) ten-hour class. Two hours of this
 course was dedicated to the 40mm transition. At that time, the Department also integrated training on
 the 40mm in the Basic Recruit Training Course. To the best of the Review Team’s knowledge, the
 Department determined that officers would only need to qualify one time during the class to be able to
 carry and use the weapon in the field.

 A primary benefit of the 40mm system, its greater effective range, is also a factor that complicates the
 deployment in crowd control situations. The effective range of the round makes precise, target-specific
 shots at distance possible, but also magnifies issues such as marksmanship (or lack thereof) and
 movement of the intended target. The movement of others in the crowd creates the potential for other
 persons to be impacted by the round. The officer operating the 40mm must be very precise in its
 application to strike the intended target and minimize the risk potential to bystanders. Given the longer-
 range capabilities of the 40mm system and the environment in which the round is used in, a greater
 level of training, marksmanship and competency is necessary.

 Findings

         35. It appears the majority of reported injuries that were sustained by persons in crowds were
             the result of less lethal munitions from the 40mm. Many who reported being injured claim
             that they were not involved in any violent or hostile acts.

         36. Injuries reported ranged from minor to significant, some in the head, the back, the neck, and
             the eye.

         37. Limited viewing of video indicated that there were instances where officers quickly fired the
             40mm rounds at distant targets which increases the likelihood of hitting an unintended
             target.



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         38. The deployment of less lethal munitions was not always done at the direction of a supervisor
             or officer. In some instances, officers were directed to be in front of a skirmish line and left to
             deploy less lethal tools, including the 40 mm, with no direction or coordination.

         39. Over 7,800 personnel were trained (certified) to deploy the 40mm during a two-hour block
             of instruction at the ICDC course. However, the Review Team did not find the two hours of
             training to be sufficient given the skill level needed to deploy the 40mm in a chaotic public
             order policing environment.

         40. Officers are required to be trained one time on the 40mm system. Deploying the 40mm in
             public order policing situations requires recurring certification and training.

         41. The skill level required to deploy the 40mm in chaotic public order policing situations is high.
             Officers must be extremely competent and possess excellent marksmanship skills. It is
             unlikely that all officers trained possess the marksmanship skills necessary to competently
             deploy the 40mm system under those circumstances.

         42. The last training for the 40mm for officers, other than those going through recruit training,
             was in 2018.

         43. Most supervisors and officers who deploy less lethal munitions are outfitted with body worn
             video and could use the video audio capabilities to record information about their use of less
             lethal munitions. This should become a protocol during crowd control situations.

         44. The Department’s Use of Force Tactics directive authorizing the use of 40mm has no detailed
             guidance on use in public order policing situations.

         45. The 40mm can be an effective tool in a crowd control situation when utilized by officers who
             are well trained and experienced in its use.

             (f) Handheld Baton

 During crowd control situations the use of the baton is authorized only to push a crowd and not as an
 impact weapon unless the officer or another person is physically threatened.

 Observations

 LAPD personnel used the handheld baton throughout the protests in 2020. The Review Team was not
 able to determine if the baton use was appropriate. Lawsuits filed indicated that some plaintiffs claimed
 they were hit with batons but were not engaged in any violent or threatening behavior. Any allegations
 of inappropriate use of batons will be investigated by the Department.

 Findings

 None


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      Section 4.05        Planning for Mass Arrests and Citations

 An agency must have a clearly articulated plan for how to handle the various issues related to mass
 arrests. For example, the plan must include appropriate transportation, provide access to water and
 restroom facilities and have an adequate number of personnel to process arrestees in a timely manner.

 Observations

 The type of large-scale mass arrests that occurred in Los Angeles in May-June 2020 requires significant
 planning. The LAPD arrested more than 4,000 people. Nearly all those arrests occurred during a five-day
 period from Friday, May 29 to Tuesday, June 2. The breakdown of the arrests over those five days was
 265 on Friday, 866 on Saturday, 700 on Sunday, 1,242 on Monday, and 956 on Tuesday. There is no
 evidence, however, that the Department prepared for a situation where mass arrests might be in order.
 Even after Wednesday and Thursday nights - when protesters shut down the freeway and vandalized
 property, including police headquarters and police vehicles, threw objects at police officers and dragged
 one officer into a crowd - there is no indication that planning had begun for mass arrests.

 The LAPD’s field jail guide (Volume 6 of the Department’s Emergency Operations Guide) lays out the
 planning process that should be used by a logistics chief assigned to an event in which mass arrests are a
 possibility. The field jail guide outlines how to set up a field jail unit, which is a temporary unit that must
 be stood up to identify and process arrestees, evidence and property in the field. A field jail unit set-up
 requires time, equipment and personnel. It requires preparation and planning, and it is essential that
 the logistics section within the incident command structure appoint someone with experience and
 knowledge to set up the field jail.

 On Saturday, May 30, 866 arrests were made by the LAPD. At that time, the Department did not have a
 fully staffed, properly set up logistics branch within the area command configuration. This led to the
 Department being unprepared to handle the mass arrests.

 Findings

         46. The LAPD failed to plan ahead for mass arrests, which resulted in a last-minute,
             uncoordinated effort to manage the arrests of more than 4,000 individuals.

             (a) Citations Related to Mass Arrests

 A violation of PC Section 409 (failure to disperse) requires an announcement of unlawful assembly with
 a route to leave, and a reasonable amount of time to do so. PC Section 415 (disturbing the peace) and
 LAMC Section 8.78 (curfew violation) are sections individuals can be arrested for, while LAMC Section
 80.02 (failure to obey a lawful order of a police officer) is an infraction. An infraction is like a traffic
 ticket, in that the person arrested is only required to show proof of identification and sign a promise to
 appear in order to be released at the location of the traffic stop.




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 Observations

 The first instance in which the LAPD consulted with the City Attorney as to what charges to use for those
 arrested during the protests was Friday night, May 29. At that time, LAPD only inquired about the use of
 PC Section 409 (failure to disperse at the scene of a riot or unlawful assembly) and PC Section 415
 (disturbing the peace).

 On the night of Friday, May 29, however, the Department arrested 265 people for violation of LAMC
 Section 80.02, failure to obey a lawful order of a police officer, which is an infraction under the law. In
 this instance, the Department arrested, detained, and transported individuals to a Department facility to
 be booked or cited, and then released. Many, if not all, of those arrested were detained for hours, while
 remaining handcuffed, and citations were ultimately issued at the police facility where the arrestees
 were taken. This treatment of the arrestees in 2020 is nearly identical to the treatment of those arrested
 in 2011 at Occupy LA, and then again in 2014 during the Ferguson protests, except that in 2020 it
 occurred in the middle of a public health crisis.

 Over the course of several days of protests, prior to the declaration of a curfew, most of the arrests by
 LAPD were for disobeying a lawful order of a police officer. After the curfew declaration on Saturday
 night, LAMC Section 8.78, violation of curfew, was the primary arrest section used. Those arrested for
 curfew were detained and handcuffed for hours, without water or bathroom breaks, before being
 transported to the jail facility for booking. This occurred during the worst pandemic in 100 years and
 subjected those arrested, and officers providing security, to be in close proximity to one another for
 extended periods of time with the possibility of becoming infected with Covid-19. Ultimately, the looters
 were detained and the curfew violators were released. During the protests, very few arrests were made
 for violation of PC Section 409, failure to disperse. The reasons for not using this section are unknown,
 but it could be that the requirements of the section would have been difficult to meet due to excessively
 loud noise levels or not wanting to disperse people out of one area, just to have them relocate to
 another area where unrest was occurring.

 Findings

         47. The arrests made on Thursday, Friday, and Saturday were made under a Municipal Code
             Section that is an infraction requiring a citation and release in the field.

         48. On Thursday, Friday and Saturday, the LAPD arrested and detained individuals for
             exceedingly long periods of time, and transported individuals to a Department facility for
             processing.

         49. Those arrested were detained for hours while handcuffed and were not provided with water
             or the use of bathroom facilities and were held in close conditions without masks during a
             pandemic environment.




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             50. The LAPD has not corrected the issues related to detention and arrests identified in the 2011
                 Occupy LA and the 2014 Ferguson protests. Those lawsuit settlements regarding arrest
                 problems resulted in the City paying over $3,000,000.

                 (b) Transportation of Arrestees

 Factors LAPD considers when setting up a field jail include the number of officers required to process
 arrestees. Typically, approximately 50-80 officers are required to handle the intake of 200-300 arrestees
 per hour.26 To assist with the timely processing of arrestees, the field jail may activate the Automated
 Mass Arrest Booking System (AMABS) whenever the Department has exhausted, or anticipates to
 exhaust, its routine capabilities (reached at approximately 300-400 arrestees). The AMABS is a
 computer-based system operated by the LASD. When activated, Department personnel need only to
 complete the arresting officer’s portion of an LASD mass arrest report and an arrest report narrative. At
 the time the incident commander activates the AMABS, it is recommended that they communicate the
 need for jail buses to the on-duty watch commander at LASD. This allows time for drivers to be notified
 and buses to be scheduled while the LAPD identifies a location for a field jail. LASD personnel and buses
 will ultimately transport the arrestees.

 Observations

 On May 30, 866 arrests were made by LAPD. A request was made to secure buses from LASD for
 arrestee transportation. The LAPD was not able to secure buses as the LASD buses were already
 dedicated to other functions. The LAPD had also requested buses from the MTA, but, per MTA policy,
 MTA will not assist the LAPD unless the LASD has officially refused to do so. After several hours of trying,
 the LAPD command post was finally able to secure MTA buses.

 The delayed identification of a source of buses caused even longer delays in the field. Additionally, as
 the violence began to escalate throughout the City, it became increasingly difficult for the buses to
 reach their designated pick-up location, leaving officers in the field holding arrestees for hours while
 awaiting transportation. In some instances, officers resorted to obtaining vans from police stations to
 remove arrestees from the field.

 The lack of buses or other vehicles for transportation also necessitated that field officers remain with
 the arrestees for hours. This prevented them from assisting with crowd control efforts.

 It appears that minimal pre-planning was done by LAPD in regard to setting up the appropriate mass
 arrest organization, including a field jail and transportation plan, until after problems arose on Saturday,
 May 30. After three nights of demonstrations, some with significant violence including arson and
 looting, LAPD was not timely in establishing the field jail and obtaining the resources needed to operate
 it. In addition, on May 30, the Central Bureau command post did not have sufficient nor experienced



 26   Emergency Operations Guide, page 1.
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 staff to develop the organization needed to manage this growing incident, causing troublesome delays
 in getting buses to transport arrestees and processing of arrestees.

 Findings

         51. The lack of planning and preparation for mass arrests resulted in an insufficient number of
             personnel assigned to process the arrestees and a lack of buses or vans to transport the
             arrestees to the field jails. Arrestees were seated on curbs while handcuffed for exceedingly
             long periods of time before buses were available for transportation.

         52. The lack of an efficient mass arrest procedure negatively impacted field operations. Officers
             in the field were often forced to maintain custody of arrestees for lengthy periods of time
             making it impossible for them to return to crime control or public order policing operations.

 NOTE: The current Prisoner Transportation and Release Services Agreement between LAPD and LASD
 expires on June 30, 2021. It addresses service fees, contractual requirements and limitations for prisoner
 transportation from jail facilities to court locations. It does not include an emergency clause regarding
 the transportation of arrestees during a local emergency.

             (c) Field Jails

 The incident commander must consider several factors when determining the most appropriate location
 for a field jail unit. These factors as outlined in the field jail guide include accessibility to the involved
 area, proximity to the incident command post, number of arrestees, sufficient space for processing,
 detention, supplies, lighting, restrooms and other factors.

 Further, the field jail guide notes that,

                  “Arrestees should not be held at a Field Jail Unit long enough to require
                  feeding. However, the formal booking facility (Jail Division, County jails)
                  that ultimately receives the prisoners must be prepared to feed them.
                  The facility should be alerted if a large volume of arrestees is foreseen.
                  Liaison should be established with the prosecutor’s office and the local
                  courts to expedite arraignment of arrestees”.

 Observations

 West Bureau selected the Jackie Robinson Stadium, at the University of California, Los Angeles (UCLA)
 located in West Los Angeles, as the location to setup a field jail. The location was freeway close, large,
 and secure, preventing protestors from wandering in while resources were staging, and arrestees were
 being processed. The selection of the UCLA venue was problematic as the optics of using the Jackie
 Robinson Stadium, a stadium named after an iconic civil rights movement symbol, to process arrestees
 protesting police abuse of people of color was insensitive. UCLA administrators complained because
 their students were arrested and objected to the use of the stadium. This resulted in the location being

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 used for one 24-hour period before the Department was required to move to a location in the San
 Fernando Valley.

 The field jail locations were miles from the locations of arrest. People were released late in the evening
 and early morning hours during the curfew period, placing them again in violation of the curfew
 declaration. Further, there was no public transportation available, and people were not able to call for
 someone to pick them up without also placing that individual in jeopardy of being arrested for a curfew
 violation.

 Findings

           53. The lack of selection of an appropriate location for the field jail unit resulted in the Jackie
               Robinson Stadium location being used for one 24-hour period before the Department was
               asked to relocate, requiring personnel to move to a location in the San Fernando Valley and
               set up a new field jail.

           54. The field jail locations were miles from arrest locations and when people were released, they
               were again in violation of the curfew.

           55. Personnel assigned to the field jail had not received training on field jail procedures.

           56. The use of the UCLA Jackie Robinson Stadium as a field jail was inappropriate during these
               protests.

       Section 4.06         Preparedness and Training

 Federal Emergency Management Agency (FEMA) identifies four phases of disaster management as
 preparedness, response, recovery, and mitigation. The emergency
 preparedness phase is defined by the Department of Homeland
 Security (DHS) and FEMA as a “continuous cycle of planning,
 organizing, training, equipping, exercising, evaluating, and taking
 corrective action in an effort to ensure effective coordination
 during incident response.” Preparedness guidelines “promote a
 common understanding of the fundamentals of risk-informed
 planning and decision making to help planners examine a hazard or threat and produce integrated,
 coordinated, and synchronized plans.”27 Preparedness is a constant cycle that allows an agency to
 prepare for all-risks, all-hazards incidents (see Appendix 11). The concept of preparedness refers to the
 ability of an organization to anticipate and plan for effective responses to current, imminent or potential
 events. The preparedness cycle specifically refers to the actions such as planning, organizing, training,
 etc., taken as a precautionary measure when the organization has the luxury of time.



 27FEMA: Developing and Maintaining Emergency Operations Plans: Comprehensive Preparedness Guide (CPG) 1010, version
 2.0 (November 2020)
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 Training should include an all-hazards approach to policing. An all-hazards approach is an integrated
 approach to emergency preparedness planning that focuses on developing capacities and capabilities
 for a full spectrum of emergencies or disasters.28 Such a training philosophy prepares law enforcement
 for a multitude of incidents they may face and creates a more agile response to complex incidents when
 needed. Training must go beyond lecture-based teaching of the fundamentals. It is incumbent upon
 police agencies to provide training that will prepare and instill confidence in their membership. LAPD
 provides its personnel with an abundance of training, much of which is excellent, evidenced by agencies
 across the country participating in or seeking out LAPD’s curriculum.

 Observations

 Post-1992 civil unrest, Metropolitan Division was directed to develop a 16-hour mobile field force and
 crowd management course to include lessons learned from the unrest and began delivery to LAPD
 personnel.29 By 1993, 6,500 Department personnel had been trained. In 1993 the State of California
 adopted the mobile field force concept and the 16-hour training course. As other training demands
 increased overtime needs, the mobile field force refresher course was reconfigured in 1994 to be a four-
 hour, eight-hour, or twelve-hour version of the course to be delivered on an as needed basis. At that
 time, the mobile field force training was added to the Supervisory Development School.30

 In July 1999, preparations for the 2000 Democratic National Convention began and Metropolitan
 Division trained approximately 500 patrol officers and 350 supervisors in the eight-hour mobile field
 force refresher course which included crowd control techniques. Sporadic training on crowd
 management and mobile field force occurred between 2000 and 2007.

 In 2007, after the MacArthur Park incident, the Chief of Police directed Incident Management and
 Training Bureau (now Training Bureau) to conduct Department-wide training on command and control
 on a regular basis consistent with the California State Commission on Police Standards and Training two-
 year training cycle. The recommendation was that scenario-based, classroom and e-learning training
 would be viable methods of training. Additionally, command staff officers would continue training on an
 annual basis as recommended in the 2007 MacArthur Park report. Due to the Chief of Police’s concerns
 regarding command staff’s lack of experience in facilitation of demonstrations and crowd control
 incidents, an incident management team mentoring program was introduced. This mentoring program
 created teams of command officers who would be assigned newly appointed command staff as
 mentees. The incident management teams would then be assigned to pre-planned protests,
 demonstrations, celebrations, parades, etc. Those who were inexperienced would shadow the mentors,
 providing opportunity for learning and gaining of experience. This program assisted in preparing future
 leaders of the Department.



 28 The Department of Homeland Security, Federal Emergency Management Agency (FEMA) Continuity Guidance Circular 2(CGC
 2) July 22, 2010 https://.fema.gov/pdf/about/org/ncp/coop/cont_guidance2.pdf
 29 LAPD Tactical Crowd Control Course, course number: SK 43.

 30 LAPD Tactical Crowd Control Course, course numbers: SK 43, 114 & 115.


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 During 2007-2009 all Department sworn personnel attended a ten-hour Crowd Management/Crowd
 Control course. Areas trained together with their commanding officers in which groups of over 150
 personnel at a time would train thus being able to replicate actual field scenarios with large numbers of
 demonstrators. Over 9,500 personnel were trained. During this time, all command staff also completed
 incident command system training annually. The incident management team mentoring program
 continued during that time.

 During 2009-2012, the Multiple Assault-Counter Terrorism Action Capabilities ten-hour course
 incorporated a brief overview of the mobile field force concept and was conducted Department-wide.
 This allowed large numbers of personnel to train at one time, allowing for replication of actual field
 scenarios. All officers, supervisors, and command staff were required to attend. Over 9,100 personnel
 were trained. Incident command system training also occurred at the quarterly command staff training
 each year. The incident management team mentoring program continued, on an informal level.

 During 2013-2014, some crowd management training was conducted through e-learning for line
 personnel and hands on training in the basic recruit course for all new officers. Incident command
 system and crowd management training occurred in the command staff quarterly training each year.
 Additionally, a program was introduced to address concerns over succession planning for command staff
 called Conversations in 21st Century Policing. Seminars were offered to all command level personnel and
 lieutenants in which panels discussed topics such as crowd management/facilitations, building
 community relationships, etc.

 Since 2015, there is no evidence of ongoing training and/or a mentoring plan for mid-level managers
 (lieutenants and captains) or executive-level managers (commanders and chief officers) as was
 developed and implemented in the aftermath of MacArthur Park 2007. Both the incident management
 team mentoring program and Conversations in 21st Century Policing were discontinued. Other than the
 command officer course for lieutenants and newly appointed captains, training on protests, crowd
 management, crowd psychology, mobile field force, etc., was sparse. The priority for training had shifted
 away from public order policing to other topics. The hands-on training of the past had given way to
 more classroom lecture training.

 In 2017 the Department required mobile field force and crowd management training to be reduced to a
 four-hour block embedded in a ten-hour course, mostly classroom, with some practical exercise. At that
 time, the Department introduced the 40mm less lethal system into patrol operations. Two hours of the
 four-hour block introduced personnel to the less lethal weapon, demonstrated how it functions, and
 each officer fired the weapon. Upon completion of the course personnel were considered certified to
 carry and deploy the 40mm. The curriculum was reviewed and found to be silent on the subject of using
 the 40mm in crowd control situations.

 In most instances during May-June 2020, officers performed as trained. They responded professionally
 to complex and dangerous incidents involving large crowds of demonstrators which included those who
 were peacefully and loudly attempting to exercise their First Amendment rights, and groups who came


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 to engage in criminal acts of violence, assaults, vandalism, arson, and looting. Line personnel responded
 as directed by supervisors and command staff.

 LAPD commanding officers were not trained or regularly exercised on crowd dynamics and crowd
 psychology. Such training and exercising are necessary to manage and take command of public order
 policing incidents. This was also noted in the MacArthur Park 2007 report. Public order policing demands
 command level training extend beyond a one-day mobile field force/crowd management training.

 Findings

         57. A review of crowd management curriculum in place prior to 2017 revealed that the eight-
             hour and ten-hour courses adequately covered basic mobile field force and crowd
             management concepts and included crowd dynamics. The 2017 four-hour mobile field force
             training did not adequately cover the material.

         58. In the aftermath of the May-June 2020 demonstrations, the Department conducted a ten-
             hour mobile field force and crowd management course. As of the close of 2020, over 4,000
             personnel were trained. The training curriculum is adequate for the basic mobile field force
             and basic crowd management topics.

         59. Annual, hands on training on public order policing for command staff diminished over time
             resulting in many command staff in 2020 not being prepared for the civil unrest.

         60. Most LAPD command staff have completed the basic incident command system training.
             However, the events of the summer of 2020 make it clear that additional training and
             mentoring in crowd control tactics and specific incident command system positions, such as
             incident commander, operations chief, logistics, etc. is needed and should be conducted on
             an annual basis.

         61. The incident management team mentor program was dismantled resulting in numerous
             command staff lacking experience with public order policing.

         62. Training on the 40mm system use during crowd control situations was insufficient.

      Section 4.07          Wellness

 It is imperative that those in decision making roles as well as the officers who are in skirmish lines, facing
 hostile crowds and people throwing dangerous objects at them, be clear headed, have proper protective
 gear, have patience, and not be sleep deprived. Any agency which has emergency medical team (EMT)
 programs must ensure personnel are properly equipped to handle incidents in the field for the safety of
 the officers and the individuals they encounter.




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 Observations

 The Department mobilized on the night of May 30, going into the morning of May 31. The process of
 deployment of the A-B watch configuration (where A watch starts at 6:00am and B watch starts at
 6:00pm) often took hours to accomplish. Most of the demonstrations during this timeframe occurred
 later in the day or mid-afternoon and the A-watch personnel were committed to incidents that
 stretched far beyond their scheduled end of watch time.

 Many officers worked 16 to-20-hour days, some standing on skirmish lines for hours without relief. At
 the same time there were officers who were being held in reserve and for unknown reasons never were
 deployed. Some remained in holding for entire shifts. Command officers were subject to the same long
 hours without relief.

 An overwhelming concern from all sworn and civilian personnel is the mental health aspect of the LAPD
 and morale. A Department psychologist interviewed said that there has been a significant increase in the
 number of officers and civilian employees experiencing mental health problems since the protests. From
 a review of the Los Angeles Police Protective League survey results it is clear that morale is impacted by
 the Department, the Board of Police Commissioners, and City leaders, with these results:

     •   86.33% do not feel supported by Department leadership (executive leadership and the Board of
         Police Commissioners).
     •   99.1% do not feel supported by the Mayor.
     •   99.1% do not feel supported by the City Council.

 While some will see this as an important problem that needs immediate attention, others may say that
 Department personnel are simply complaining. Nevertheless, the survey results should be taken
 seriously by the Department and City leadership.

 During the protests, the Department personnel and the media observed that some subgroups within the
 crowd and people standing on apartment balconies at various locations used green laser pointers to
 attack officers by focusing on the officers’ eyes. At least one officer sustained significant eye damage.
 News reports indicate that the officer lost sight in one eye and has balance difficulty and migraine
 headaches. The use of lasers in Los Angeles and in other places, such as Portland, was at times
 unrelenting.

 Some officers were attacked with bricks, fireworks, containers filled with urine, frozen water bottles,
 and caustic chemicals such as bleach. One police captain noted that someone fired a firework/explosive
 narrowly missing his head; the blast concussion caused the captain to lose vision and hearing for
 approximately a minute. Other personnel also noted they were struck with chemicals and/or fireworks.
 A review of the injuries sustained by police personnel during the review period noted several officers
 injured from projectile strikes, many suffering injuries to their hands.

 There were several people (protestors and officers) injured during the May-June protests. Many of the
 seriously injured were provided medical care by the Los Angeles Fire Department. However, there were

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 instances where the Fire Department was not able to reach the injured individual due to crowd size and
 activity. There was at least one incident were police officers provided care to a person during a protest
 and other instances where they rendered aid to a fellow officer. It is likely police personnel provided
 medical care to other persons during the protest. These incidents are not captured by the Department
 in a consistent manner.

 In 2014 officers were provided with updated training and first aid kits. As a result, there are several
 instances over the years in which officers rendered first aid and, in some cases, saved lives. The
 Department identifies expectations that employees “should provide basic and emergency assistance to
 all members of the community, including victims, witnesses, subjects, suspects, persons in custody,
 subject of use of force, and fellow officers” within their training and experience.31

 The LAPD Emergency Medical Technician (EMT) program (officers voluntarily undergo additional training
 and maintain EMT certification) is also of significance. The first aid kits and accompanying training and
 the EMT program are important to support safety and wellness during general police operations. These
 valuable resources could potentially play a significant role in addressing injuries occurring during civil
 unrest when it may be difficult for the Fire Department to reach the injured due to crowd behavior as
 occurred on occasion during the 2020 protests in Los Angeles.

 Findings

             63. The Department did not appear to have plans in place to relieve personnel in the middle of a
                 tactical operation. This resulted in personnel at all ranks experiencing sleep deprivation.

             64. The Department mobilized using the traditional A and B watch configuration. This caused
                 numerous personnel to be sleep deprived during the events due to the rigidity of the A/B
                 configuration.

             65. The LAPD ordered special eye protection for every officer to prevent the damaging effects of
                 lasers. (The City of Los Angeles passed legislation making lasers a prohibited item at a
                 demonstration, LAMC Section 55.07, which should be strictly enforced during future events.)

             66. The LAPD ordered shields after the unrest to better protect the officers from the crowds and
                 they are being trained in how to effectively use them.

             67. The LAPD has a “rendering aid” philosophy and EMT program. There is not a consistent
                 process to document when officers render first aid during crowd management and crowd
                 control instances. The EMT program is voluntary and takes effort by the officers to keep their
                 State certification current.




 31   LAPD Training Bulletin: Rendering Medical Aid, July 2019.
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 It is incumbent upon the Department that the safety and wellness of officers be of paramount
 importance as it is directly correlated to the safety and wellness of the communities it serves. Emphasis
 on this critical concern should be a priority as the Department moves forward.

      Section 4.08       Community Input

 The Review Team had discussions with a number of community members who participated in many of
 the demonstrations between May 27 and June 7. Access to these community members was provided to
 the Review Team by City Council members who identified them with the belief they would be forthright
 in discussing their experiences. These discussions revealed that most of the interviewees did not have
 personal apprehension or concern about attending the organized demonstrations. Most of the
 participants attended more than one event during this time period and saw people of all ages and races,
 young families with children, and older folks watching out for one another during peaceful protests,
 enjoying a sense of camaraderie. Some said they wore masks and tried to practice social distancing.

 Most of them expected or accepted a police presence but they are not police supporters. They believe
 that the current policing system in general is not working and they want a reallocation of community
 resources. Most stated that the police need to have more empathy toward demonstrators and not be so
 eager to anticipate violence from them. They stated that there is a disconnect between officers and the
 community, that police “need to listen to what is said at a protest,” and that to have police watching
 them “incites us to say more things and exercise our right to free speech more loudly.” However, they
 also believe that when things did escalate during May and June, it was because of “outside agitators”
 and “Trump supporters” who came with the intent to cause trouble. It was noted by most that when it
 started to get dark, it seemed like a new group of people would appear who were more “rowdy” than
 the daytime group. One of the interviewed community members stated that there were intoxicated
 individuals and some with mental health issues who caused a lot of disruption at a downtown protest,
 and that person gave the police credit, saying, “even then, the police let the crowd get their message
 out.” One person left a demonstration at the Hall of Justice after the group started marching later in the
 day and she saw a “younger crowd coming in . . . it gave me a bad vibe.”

 None of the community members interviewed personally witnessed any violence, and none had
 complaints about officer misconduct. Nearly all agreed that the police, while appearing intimidating,
 were restrained. “The police gave us a chance to protest and give our planned speeches.”




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V. Conclusion
 Looking to the future, public order policing is going to become even more relevant and
 complex. Evolving crowd tactics, rising public expectations of police and the increase in civil discord are
 but a few of the challenges. This report recommends that the LAPD create an executive-level position of
 Strategic Emergency Manager to be responsible for preparing, planning, researching, and exercising the
 Department to meet those all-hazards policing needs facing the 21st Century.

 It is incumbent that the Department prepare now for events that have a reasonable likelihood of
 occurring in the future. As identified in this examination, the LAPD did not prepare for handling mass
 arrests, staging of resources, and training in incident command systems. Nor did the Department
 provide meaningful strategic public order policing to command officers, mobile field force training for
 officers, and 40mm training for patrol officers during public order policing incidents, and otherwise did
 not give public order policing the focus that it deserves.

 This report does not ignore the fact that 106 police officers suffered injuries from dangerous objects
 being thrown at them, lasers used to injure their eyes, and other methods used to injure the officers and
 incite the crowd of protestors. Nor does this report ignore the reporting of 141 LAPD patrol cars severely
 damaged and six destroyed by fire and other forms of vandalism. It does not excuse the behavior of
 those who used the protests as an opportunity to commit criminal acts or those protesting who got
 caught up in the violence or hostility. But it does recognize that, despite the provocations, the police
 must be able to effectively address those who are committing criminal acts and causing disruption. One
 of the fundamental duties of policing is to protect the First Amendment right to free speech, assembly
 and the right to petition the government for redress of grievances. The shift in protest dynamics seen in
 many cities including Los Angeles in 2020, makes protecting First Amendment rights more complex.
 Traditional crowd management techniques and tactics seem ill equipped to handle this new trend.

 There were three key decisions that worked as a force multiplier and supported the Department in
 restoring order in June 2020: (1) the mobilization of the Department personnel; (2) the curfew
 implementation; and (3) the support of the National Guard. Although the Department was operating in
 a difficult and complex environment there were several notable deficiencies in seven areas: planning,
 command and control, public order policing, use of less lethal tools, mass arrests, preparedness and
 training, and wellness.

 This report encourages the Department to review and evaluate the Department’s public order policing
 operational doctrine and training as well as less lethal tools training, certification, and less lethal use
 related to crowd control situations. There are 67 findings identified in this report that resulted in a total
 of 22 specific recommendations. The recommendations are designed to integrate policies, procedures,
 and protocols into the Department culture, so reforms are sustainable going forward. By establishing an
 executive-level person with appropriate support staff (Recommendation No.1) who is responsible for
 preparing the Department to meet future strategic challenges, it is hoped that the LAPD will seriously
 engage in a continuous cycle of improvement.


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VI. List of Findings
  Planning Findings

       1. The Department did not follow the basic principles of the incident command system and did
          not set up an appropriate area command post immediately when protests became
          widespread by designating the Central Bureau as the Department command post overseen by
          an assistant chief. Related Recommendation Nos. 1, 2, 12.

       2. The Central Bureau command post did not become fully staffed until May 31. Some personnel
          assigned lacked experience and training in command post operations. (All of the issues with
          this command post are fully explained in Section 4.02 Command and Control (b) Operations
          Central Bureau Command post.) Related Recommendation Nos. 1, 12.

       3. There was a lack of firm executive-level direction to the Department command officers to
          prepare and plan for potential widespread civil unrest and demonstrations which contributed
          to the problems cited throughout this report. It is unlikely that proper planning would have
          totally prevented the problems experienced in Los Angeles. However, preplanning and
          preparation could have mitigated the issues. Related Recommendation Nos. 1, 12, 16.

       4. It does not appear that either the Department or City leaders had a plan for messaging to the
          public, to the media, or to Department personnel. Related Recommendation No. 13.

       5. There was a lack of a unified message from City leaders to de-escalate the violence so that
          peaceful protestors could exercise their First Amendment rights. Related Recommendation
          No. 13.

  Command and Control Findings

       6. A lack of clear command and control led to diverted resources and at times, an inability to
          accomplish basic policing tasks given by the incident commander or operations chief. Related
          Recommendation Nos. 12, 16.

       7. The lack of a known and clear chain of command resonated in some incidents examined.
          Related Recommendation No. 12.

       8. The lack of a dedicated unit to analyze information, along with the fact that the Department
          does not have software to assist with the analysis, weakened the process and created a
          significant disadvantage. Related Recommendation No. 19.

       9. Interviews and a lack of any documentation to the contrary support the conclusion that the
          Department has no specific or consistent direction on how individual commands are supposed
          to monitor the internet and social media. Related Recommendation No. 19.



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     10. There is no training within the City or Department to develop employees in the skills necessary
         to perform the intelligence function. Related Recommendation No. 19.

     11. There is no current robust intelligence function to gather information, analyze it and then
         distribute it effectively and quickly during large, wide-spread events. While current budget
         deficits could prevent the Department from staffing dedicated intelligence positions, it would
         be beneficial for the Department to develop a plan on how it would monitor the internet and
         social media when staffing does become available. Related Recommendation No. 19.

     12. Software and technology is available to analyze the flow of information, which would provide
         meaningful intelligence to those who need it during an event. Related Recommendation No.
         19.

     13. The Department does not have established protocols on how intelligence/information is going
         to be distributed during major events so that all personnel know how to obtain the
         information and that there is consistency throughout the Department. Related
         Recommendation No. 19.

     14. The Department should have set up a separate area command under the direction of an
         assistant chief using the Department Operations Center. No information was provided to the
         Review Team that any assistant chief assumed formal operational command of Department
         operations at any time during the review period. Having Central Bureau act as the area
         command placed an unnecessary burden on the entire Central Bureau incident command
         structure. In addition, it exceeded the span of control as recommended by incident
         management best practices. Related Recommendation Nos. 1, 2.

     15. The initial designation of the Central Bureau staging area as the Department staging area was
         problematic. Personnel from throughout the City had to respond to this location and in some
         instances were then sent back to their home bureaus or to locations in the City in other
         geographic bureaus outside of Central Bureau, causing delays in response Related
         Recommendation No. 2.

     16. Personnel assigned to the staging area in many cases had never received training on how to
         run a staging area or command post. They had to devise staging procedures on the fly, at the
         very time that personnel demands were the greatest in the field. Related Recommendation
         No. 2.

     17. Problems with the staging area included the location, long delays in processing personnel, a
         lack of restrooms and proper lighting, and lack of protection from the extreme heat during the
         day (temperatures over 100 degrees Fahrenheit). Related Recommendation Nos. 2, 19, 20.

     18. Personnel assigned to the staging area were forced to use paper forms and white boards to
         receive, organize, track, and then dispatch hundreds of officers, causing further delays.
         Related Recommendation No. 20.

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      19. West Bureau’s decision not to establish a fully staffed command post after two nights of
          violent protests resulted in no logistical support for the West Bureau divisions and adversely
          impacted their ability to manage the large-scale events. Related Recommendation No. 2.

      20. There was a lack of personnel assigned to key event action plan positions for the Pan Pacific
          Park protest. This does not mean that some, if not all, positions were staffed, however, it does
          raise questions as to whether the command post staff was adequately staffed to handle this
          event. Related Recommendation Nos. 1, 2.

      21. The lack of fully staffed West Bureau and Pan Pacific Park event command posts hindered the
          ability of the incident commander to manage the extreme anger and violence exhibited by
          some of the protestors on Saturday, May 30. Related Recommendation Nos. 1, 2.

      22. The National Guard deployment and the LAPD’s use of this resource was well documented,
          and the activation was consistent with the Department’s direction. No recommendation.

      23. The fact that the National Guard operated without becoming the story is a testament to both
          the conduct of the National Guard and to the Department’s ability to quickly solve problems
          as they surfaced. LAPD’s success in facilitating the National Guard’s deployment appears to be
          in large part because LAPD personnel with both military and incident command system
          experience were selected to work this assignment throughout the duration of the National
          Guard’s deployment to Los Angeles. No recommendation.

      24. The LAPD has various settlement agreements (as described elsewhere in this report) that
          requires the approval of a commander (or higher) to use certain kinds of less lethal munitions.
          The LASD has a lower approval threshold for the deployment of less lethal munitions that
          allow an incident commander or watch commander to approve the use of the same munition.
          Related Recommendation No. 1.

      25. Due to the operational differences between agencies, the LAPD should consider using mutual
          aid agencies for fixed position tasks, such as protecting locations freeing up LAPD officers to
          engage in more dynamic tactical action (skirmish lines and seeking out roving looters). Related
          Recommendation No. 1.

 Public Order Policing Findings

      26. There were many protests during the evaluation period which the LAPD facilitated peacefully.
          No recommendation.

      27. There was a lack of training to properly prepare command officers for managing large crowds
          with the possibility of civil unrest and many command officers stated they did not feel
          confident in handling these incidents. Related Recommendation Nos. 1, 11, 12, 14, 15, 16, 21.




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       28. The Department culture inhibits those in in a position to make decisions as they are either
           afraid to use their best judgment or paralyzed by concerns that they will be second-guessed
           by their superiors or they fear “becoming the story”. Related Recommendation No. 21.

         29. The LAPD did not anticipate and was not prepared for the disruptive strategies of swift
             mobility and coordination of movement used by some criminal groups. Related
             Recommendation Nos. 1, 9, 11, 12, 13, 14, 15, 16, 19, 21.

         30. The traditional mobile field force configuration of 45 officers was not effective in many
             instances during the protests of 2020 and additional personnel were needed to be able to
             protect the police vehicles and manage the crowds. The LAPD has since increased the size of
             the mobile field force from 45 to 60 personnel. Related Recommendation Nos. 13, 14.

         31. The LAPD adjusted tactics mid-way through the unrest when the air unit designed a tactic
             that broke up mobile field force units into smaller squads. This tactic proved effective. No
             recommendation.

         32. Officers occasionally expressed concern to supervisors that the mobile field force police
             vehicles needed to be guarded, however, in some instances these warnings were ignored.
             Related Recommendation Nos. 11, 13, 14, 16.

         33. There are no standard Department protocols or training documents on the use of shadow
             teams. Related Recommendation No. 15.

 Less Lethal Tools Findings

         34. Communications and information from the shadow team’s observations were not distributed
             in a timely manner. The Department now assigns shadow teams and a uniformed cover team
             to the mobile field force. This will allow for a more direct line of communication between
             shadow teams and mobile field force leaders while providing the shadow teams with a
             dedicated security team. Related Recommendation No. 15.

       35. It appears the majority of reported injuries that were sustained by persons in crowds were the
           result of less lethal munitions from the 40mm. Many who reported being injured claim that
           they were not involved in any violent or hostile acts. Related Recommendation Nos.1, 7, 9, 10.

       36. Injuries reported ranged from minor to significant, some in the head, the back, the neck, and
           the eye. Related Recommendation Nos. 1, 7, 9. 10.

       37. Limited viewing of video indicated that there were instances where officers quickly fired the
           40mm rounds at distant targets which increases the likelihood of hitting the wrong target.
           Related Recommendation Nos. 1, 7, 9, 10.

       38. The deployment of less lethal munitions was not always done at the direction of a supervisor
           or officer. In some instances, officers were directed to be in front of a skirmish line and left to
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          deploy less lethal tools, including the 40 mm, with no direction or coordination. Related
          Recommendation Nos. 1, 7, 9, 10.

      39. Over 7,800 personnel were trained (certified) to deploy the 40mm during a two-hour block of
          instruction at the ICDC course. However, the Review Team did not find the two hours of
          training to be sufficient given the skill level needed to deploy the 40mm in a chaotic public
          order policing environment. Related Recommendation Nos. 7, 9, 10.

      40. Officers are required to be trained one time on the 40mm system. Deploying the 40mm in
          public order policing situations requires recurring certification and training. Related
          Recommendation Nos. 7, 9, 10.

      41. The skill level required to deploy the 40mm in chaotic public order policing situations is high.
          Officers must be extremely competent and possess excellent marksmanship skills. It is unlikely
          that all officers trained possess the marksmanship skills necessary to competently deploy the
          40mm system under those circumstances. Related Recommendation Nos. 7, 9, 10.

      42. The last training for the 40mm for officers, other than those going through recruit training,
          was in 2018. Related Recommendation Nos. 7, 8, 10.

      43. Most supervisors and officers who deploy less lethal munitions are outfitted with body worn
          video and could use the video audio capabilities to record information about their use of less
          lethal munitions. This should become a protocol during crowd control situations. Related
          Recommendation No. 10.

      44. The Department’s Use of Force Tactics directive authorizing the use of 40mm has no detailed
          guidance on use in public order policing situations. Related Recommendation Nos. 1, 9.

      45. The 40mm can be an effective tool in a crowd control situation when utilized by officers who
          are well trained and experienced in its use. Related Recommendation Nos. 7, 8, 10.

 Planning for Mass Arrests Findings

      46. The LAPD failed to plan ahead for mass arrests, which resulted in a last-minute, uncoordinated
          effort to manage the arrests of more than 4,000 individuals. Related Recommendation Nos. 1,
          2, 3, 5, 6.

      47. The arrests made on Thursday, Friday, and Saturday were made under a Municipal Code
          Section that is an infraction requiring a citation and release in the field. No recommendation.

      48. On Thursday, Friday and Saturday, the LAPD arrested and detained individuals for exceedingly
          long periods of time, and transported individuals to a Department facility for processing.
          Related Recommendation Nos. 2, 3, 5, 6.




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      49. Those arrested were detained for hours while handcuffed and were not provided with water
          or the use of bathroom facilities and were help in close conditions without masks during a
          pandemic environment. Related Recommendation Nos.2, 3, 5, 6.

      50. The LAPD has not corrected the issues related to detention and arrests identified in the 2011
          Occupy LA and the 2014 Ferguson protests. Those lawsuit settlements regarding arrest
          problems resulted in the City paying over $3,000,000. Related Recommendation Nos. 1, 2, 3,
          4, 5, 12, 21.

      51. The lack of planning and preparation for mass arrests resulted in an insufficient number of
          personnel assigned to process the arrestees and a lack of buses or vans to transport the
          arrestees to the field jails. Arrestees were seated on curbs while handcuffed for exceedingly
          long periods of time before buses were available for transportation. Related Recommendation
          Nos. 1, 2, 3, 4, 12, 21.

      52. The Lack of an efficient mass arrest procedure negatively impacted field operations. Officers in
          the field were often forced to maintain custody of arrestees for lengthy periods of time
          making it impossible for them to return to crime control or public order policing operations.
          Related Recommendation Nos. 2, 3, 5.

      53. The lack of selection of an appropriate location for the field jail unit resulted in the Jackie
          Robinson Stadium location being used for one 24-hour period before the Department was
          asked to relocate, requiring personnel to move to a location in the San Fernando Valley and
          set up a new field jail. Related Recommendation Nos. 2.

      54. The field jail locations were miles from arrest locations and when people were released, they
          were again in violation of the curfew. Related Recommendation Nos. 2, 3.

      55. Personnel assigned to the field jail had not received training on field jail procedures. Related
          Recommendation No. 3.

      56. The use of the UCLA Jackie Robinson Stadium as a field jail was inappropriate during these
          protests. Related Recommendation Nos. 2, 3.

 Preparedness and Training Findings

      57. A review of crowd management curriculum in place prior to 2017 revealed that the eight-hour
          and ten-hour courses adequately covered basic mobile field force and crowd management
          concepts and included crowd dynamics. The 2017 four-hour mobile field force training did not
          adequately cover the material. Related Recommendation Nos. 1, 12, 14, 15, 17.

      58. In the aftermath of the May-June 2020 demonstrations, the Department conducted a ten-
          hour mobile field force and crowd management course. As of the close of 2020, over 4,000
          personnel were trained. The training curriculum is adequate for the basic mobile field force
          and basic crowd management topics. No recommendation.
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      59. Annual, hands on training on public order policing for command staff diminished over time
          resulting in many command staff in 2020 not being prepared for the civil unrest. Related
          Recommendation Nos. 1, 12, 14, 15, 16, 22.

      60. Most LAPD command staff have completed the basic incident command system training.
          However, the events of the summer of 2020 make it clear that additional training and
          mentoring in crowd control tactics and specific incident command system positions, such as
          incident commander, operations chief, logistics, etc. are needed and should be conducted on
          an annual basis. Related Recommendation Nos. 12, 14, 15, 16.

      61. The Incident Management Team mentor program was dismantled resulting in numerous
          command staff lacking experience with public order policing. Related Recommendation No.
          21.

      62. Training on the 40mm system use during crowd control situations was insufficient. Related
          Recommendation Nos. 9, 10.

 Wellness Findings

      63. The Department did not appear to have plans in place to relieve personnel in the middle of a
          tactical operation. This resulted in personnel at all ranks experiencing sleep deprivation.
          Related Recommendation No. 18.

      64. The Department mobilized using the traditional A and B watch configuration. This caused
          numerous personnel to be sleep deprived during the events due to the rigidity of the A/B
          configuration. Related Recommendation No. 18.

      65. The LAPD ordered special eye protection for every officer to prevent the damaging effects of
          lasers. (The City of Los Angeles passed legislation making lasers a prohibited item at a
          demonstration, LAMC Section 55.07, which should be strictly enforced during future events.)
          Related Recommendation No. 1.

      66. The LAPD ordered shields after the unrest to better protect the officers from the crowds and
          they are being trained in how to effectively use them. Related Recommendation No. 1.

      67. The LAPD has a rendering aid philosophy and EMT program. There is not consistent process to
          document when officers render first aid during crowd management and crowd control
          instances. The EMT program is voluntary and takes effort by the officers to keep their State
          certification current. The City plays a role in supporting this effort. Related Recommendation
          No. 19.




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VII. Recommendations

                                              Recommendations
           Recommendation
           Establish a Department Strategic Emergency Bureau to be commanded by a deputy chief or
           civilian equivalent who has expertise in public order policing, incident command systems,
           liaising with outside agencies, etc. This position should report directly to the Chief of Police.
           Rationale
           The Strategic Emergency Manager should be responsible for ensuring that the Department:
           (a) Is on the cutting edge of organization, strategy, tactics, safety equipment and technology in
           dealing with all-hazard events by establishing contacts with personnel within the Department,
           throughout the Nation and in the world on this subject,
           (b) Is responsible for working with Training Group and the existing committee (Tactics Training
           Review Committee) on developing and implementing procedures and training on this subject,
           (c) Is responsible for advising the Chief of Police on what needs to be done to ensure the
           Department is always trained and prepared for any all-hazard events,
           (d) Is responsible for periodic and thorough review of the Emergency Operations Guide. The
           position should chair the Unusual Occurrence Evaluation Board as outlined in the Emergency
    1      Operations Guide, Volume 1,
           (e) Is responsible for review of all settlements, litigation, and after action reports and ensuring
           that items related to incident command system, emergency management, operations and
           respective training are fulfilled,
           (f) Identifies and reviews safety equipment to better protect officers from anticipated assaults
           against them during public order policing operations, and
           (g) Is responsible for obtaining or reviewing mutual aid agreements with partner agencies,
           especially the LASD, ahead of time outlining the concepts of operation, use of force policies,
           approvals required, less lethal tools/munitions to be used and use of force reporting.
           Funding
           Budget for this position and support staff. This position will in fact minimize liability and save
           costs to the Department and the City by helping to reduce lawsuits and judgement awards that
           will occur if nothing is done.
           Responsibility
           City Council, Board of Police Commissioners, Chief of Police




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                                            Recommendations
          Recommendation
          Under the direction of the Strategic Emergency Management Bureau, thoroughly review and
          update the Emergency Operations Guide. Include:
          (a) Emphasis on the field jail guide, Volume 6 of the Emergency Operations Guide,
          (b) Inclusion and emphasis on when to establish a Department area command structure,
          (c) Identification of how the Department is to be organized when an area command is
          implemented under the directions of an assistant chief,
          (d) Evaluation and updating of the establishment of staging and command post locations, mass
          arrest instructions, and the need to activate the field jail unit and transportation detail when
          mass arrests are planned, and
   2
          (e) Implement periodic training on how to run an area command, command posts (including
          forward operating platforms) and key positions such as staging.
          Rationale
          This report identified that the Emergency Operations Guide is outdated in numerous areas and
          it was not used during the review period to streamline processes.
          Funding
          No budgetary impact
          Responsibility
          Chief of Police

          Recommendations
          Emphasize the following upon updating the field jail guide:
          (a) Training of all detective personnel on field jail duties during mass arrests, and
          (b) Inclusion of field jail duties and staffing duties related to mass arrest in command officer
          training, and,
          (c) Inclusion of Custody Services Division jail personnel in training on how to process arrestees
          during mass arrests.
          Rationale
   3
          This report identified that the field jail guide within the Emergency Operations Guide is
          outdated in numerous areas and on several occasions, it was not used during the review
          period to streamline processes.
          Funding
          No budgetary impact
          Responsibility
          Chief of Police




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                                           Recommendations
          Recommendation
          The Office of the Inspector General must periodically audit the requirements, and Department
          compliance with, all settlement agreements.
          Rationale
          A search of Board of Police Commissioner public documents on settlements involving protests
          and/or civil unrest revealed no current settlement agreement audit or inspection reports.
   4      Ongoing audits or inspections of the requirements of Department and City settlements should
          have identified some of the deficiencies identified in this report.
          Funding
          No budgetary impact
          Responsibility
          Board of Police Commissioners

          Recommendation
          Conduct a periodic review of the number of buses and vans available to transport arrestees
          during a mass arrest situation and the number of personnel certified to drive them. Include:
          (a) An assessment that the total available is sufficient,
          (b) Plans to increase the transportation fleet if needed, and
          (c) Whether the Department Operations Center, Communications Division, shall retain a
          current list of all certified drivers.
           Rationale
          Currently there are few LAPD personnel properly licensed (Class B with appropriate
   5
          endorsements) and the Department should identify an appropriate number of drivers needed
          for this function.
          Funding
          Cost to certify and license personnel: unknown budgetary impact until the Department
          identifies the number of personnel needed and the cost of licensing. The cost of buses and
          vans.
          Responsibility
          City Council, Board of Police Commissioners, Chief of Police

          Recommendation
          Work with both the LASD and MTA to include clauses in their Prisoner Transportation and
          Release Services Agreement contracts to assist with arrestee transportation during local
          emergencies.
          Rationale
          To prevent arrestee transportation delays and employee relations conflicts between agencies
   6
          as noted in the events of 2020.
          Funding
          Unknown budgetary impact.
          Responsibility
          City Council, Board of Police Commissioners, Chief of Police




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                                             Recommendations
          Recommendation
          Undertake an extensive study of all less lethal munitions, including the 40 mm round, to
          examine performance, consistent velocity, potential for ricochets, influence of the plastic
          wrapping or banding around the sponge projectile and other aspects of the round. Included in
          that study should be any potential new technology for use in public order policing operations.
          Rationale
   7      While manufacturers conduct research on the various less lethal rounds, the LAPD should
          conduct its own studies and look for emerging technologies.
          Funding
          Minor budgetary impact-cost of munitions.
          Responsibility
          Board of Police Commissioners, Chief of Police

          Recommendation
          Design and implement an inventory system to audit and track the amount of less lethal
          munitions, including the 37mm and 40mm rounds, expended during any public order policing
          incidents.
          Rationale
          The Department was unable to provide an accurate accounting of these munitions used during
   8
          the 2020 protests.
          Funding
          No budgetary impact.
          Responsibility
          Board of Police Commissioners, Chief of Police

          Recommendation
          Update the use of force tactical directives to include more detailed instruction regarding the
          use of less lethal tools in crowds and the approval level required for the deployment of each
          the less lethal tools.
          Rationale
          Currently there is no use of force tactical directive relative to the 37mm less lethal tool. The
   9      information contained in the use of force tactical directive for the 40mm system does not
          contain adequate instruction on the use of the round in crowd control situations.
          Funding
          No budgetary impact.
          Responsibility
          Chief of Police




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                                          Recommendations
         Recommendation
         Establish protocols that:
         (a) Only trained (certified) members of Metropolitan Division or officers who receive
         consistent and periodic instruction and certification in the 40mm system should be allowed to
         deploy the 40mm during crowd control situations,
         (b) Retain the use of the 40mm system for all other officers during patrol duties and ensure
         annual retraining of weapon manipulations during shotgun qualification, and
         (c) Mandate the use of body worn video (when feasible) to record problem behavior of
         individuals in the crowd when officers decide to use the target specific 40mm in a crowd
         control situation.
         Rationale
         The Department certified nearly 8,000 officers to deploy the 40mm munitions in patrol
   10
         functions and deployment of that system in crowd control situations. Limiting the deployment
         of the 40mm munitions during crowd control situations to officers with enhanced and on-
         going training may enhance effectiveness and reduced unintended strikes during use under
         such conditions. Manipulations of the 40mm system could easily be retrained/tested during
         the annual shotgun qualification cycle after the shotgun qualification with minimal impact to
         deployment concerns. This would guarantee that the perishable skill involving weapon
         manipulation is addressed annually.
         Funding
         No budgetary impact.
         Responsibility
         Chief of Police




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                                           Recommendations
         Recommendation
         Create an LAPD two-year training plan that is aligned with the State training cycle that is
         reviewed and updated every year to include:
         (a) All required training mandates by various entities including the State, City, Police
         Commission,
         (b) All litigation settlement items, or previous applicable reports,
         (c) The topics and methods for training and delivery,
         (d) Who is mandated to attend,
         (e) Frequency, number of hours required,
         (f) A cost analysis of time, dollar amount, and what training is not going to be able to occur,
         (g) Identification of where the training should be integrated to replicate real life experiences,
         and,
         (h) Formal plan approval by the Chief of Police with any modifications documented.
         Rationale
         It was evident that many executive-level officers throughout the Department’s history,
   11
         including the Board of Police Commissioners, and the City placed numerous well-intentioned
         training requirements on the Department with little understanding of the overall impact on
         deployment, training mandates, costs, and/or the organization. Likewise, these same executive
         officers frequently cut training without understanding the overall impact on the Department
         and training mandates put in place by litigation, legal mandates, etc. This will allow those
         recommending or mandating additional training to address the impact the proposed training
         would have on Departmental operations and the current training plan, and the cost to the
         Department. This process would document when and why training modifications occurred and
         ensure lessons learned from the past and training advances such as those of the Consent
         Decree are not lost.
         Funding
         No budgetary impact.
         Responsibility
         Chief of Police




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                                          Recommendations
         Recommendation
         Train command staff annually on the incident command system, including:
         (a) Exercising all-hazards events (fires, earthquakes, pandemics, demonstrations, etc.) through
         hands-on, scenario-based training, and
         (b) Activating the incident management teams concept as outlined in the Emergency
         Operations Guide as part of the training plan.
         Rationale
         This will reinforce in all command officers what their designations mean in the incident
         command system configurations and provide for certainty and uniformity in the chain of
   12
         command from the incident commander and improve situational awareness to direct field
         operations.
         Funding
         No budgetary impact at this time.
         This training could be included in the current rotation of quarterly command staff training
         session.
         Responsibility
         Chief of Police

         Recommendation
         Staff the public information officer position in the incident command system during any major
         event(s). This position should be responsible to coordinate periodic updates from the
         Department for the media and the public to keep them informed on the status of the event(s).
         The personnel assigned should also coordinate with other City leaders to ensure there is a
         coordinated and consistent message being provided throughout the duration of the event(s).
         Rationale
         The importance of keeping the media and the public informed on the status of any event is
         critical to ensure that there is transparency, rumors are managed, misinformation can be
   13    corrected, and/or information clarified. The lack of providing these periodic updates can
         provide people with agendas that do not serve the public, to fill the gap with information that
         is inaccurate and at times can endanger lives. The need to include the City leadership in this
         process is also critical so that there are no mixed messages which can lead to the public
         questioning the credibility of the information being provided.
         Funding
         No budgetary impact at this time.
         Responsibility
         Chief of Police




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                                            Recommendations
         Recommendation
         Conduct a thorough review of, and update on, the configuration and deployment of a mobile
         field force to include consideration of:
         (a) The number of officers and supervisors deployed in a mobile field force,
         (b) The configuration of the preplanned mobile field force,
         (c) Examination of the form of transportation of the mobile field force (police car vs vans, etc.),
         and
         (d) Assessment of whether preplanned mobile field configurations should include resources
         such as shadow seams.
   14    The review should use Department expertise and subject matter experts.
         Rationale
         Under the current mobile field force configuration, a driver must remain with each police car,
         which only carries four officers. This change could allow for less vehicles and less personnel
         needed to be assigned to vehicle protection upon arrival.
         Funding
         No budgetary impact at this time.
         Responsibility
         Chief of Police

         Recommendation
         Conduct a thorough review of mobile field force training:
         (a) Adjust accordingly to any updated, contemporary tactics for crowd control as identified
         during the mobile field force review by the Department experts as stated in recommendation
         No.1, and any updated California State guidelines,
         (b) Training Bureau should conduct this review in coordination with personnel with
         appropriate expertise. If the Department adopts the Strategic Emergency Manager
         recommendation, Training Bureau and the Director of Police Training and Education should
         coordinate the update with this executive-level officer, and,
         (c) Require that hands on mobile field force training be conducted every two years for
         lieutenants and below and annually for command officers.
   15    Rationale
         Mobile field force skills are perishable and need to be trained on a consistent basis to ensure
         competency. Currently no Department representative is specifically designated to reach out to
         other agencies, experts or scholars for best practices to learn what tactics are being used by
         protestors around the nation or the world. A consensus of the people interviewed for this
         review stated that many of the tactics used by protestors during this event had not been seen
         before by the LAPD.
         Funding
         No budgetary impact.
         Responsibility
         Chief of Police




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                                           Recommendations
         Recommendation
         Establish Department-wide, consistent shadow team protocols and training to manage the risk
         that shadow teams endure, including establishing a clear line of communication so information
         is received and acted upon rapidly by the incident commander to enable quick arrests when
         necessary or to potentially retrieve the shadow team officers if needed.
         Rationale
         Shadow teams are for the safety of the crowd and the officers facilitating crowd movement.
   16    Well-coordinated teams with clear missions can coordinate the quick removal of individuals
         committing crimes and/or prevent a potential “blue on blue” situation in which undercover
         police officers may not be recognized by uniformed personnel.
         Funding
         No budgetary impact.
         Responsibility
         Chief of Police

         Recommendation
         Explore the possibility of adding public order policing scenarios to the Department’s force-on-
         force training (training simulators/systems) library. Include scenario training for command
         staff, supervisors and officers.
         Rationale
         The Department does not currently use public order policing scenarios in its force-on-force
   17    training simulators/systems. Force option simulation training will enhance decision making and
         competency in using the less lethal tools.
         Funding
         Unknown cost of new force options simulator or other technology.
         Responsibility
         Chief of Police

         Recommendation
         Review and assess the current mobilization period start times to determine if an additional
         start of watch time would be appropriate to prevent the fatigue that occurred during this
         event. Develop several unusual occurrence deployment schemes to fit a variety of
         occurrences (A/B, A/B/C etc.) to provide for safety and flexibility. A possibility would be to add
         a 10:00am start time for personnel who would most likely be assigned to missions that would
         go end of watch after 6:00pm.
         Rationale
   18    The Department currently uses two start of watch times, 6:00am-6:00pm, for most all
         personnel. During these events it was common for personnel who began watch at 6:00am to
         be assigned to missions that caused them to work 18 or 20-hour shifts, severely limiting the
         time they had to rest and recover. This can cause levels of fatigue that can lead to flawed
         decision making.
         Funding
         This recommendation may save funds as overtime should be reduced.
         Responsibility
         Chief of Police


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                                            Recommendations
          Recommendation
          Establish a more robust Department basic first aid and EMT program.
          (a) Develop a consistent reporting process to document all instances of rendering general first
          aid using the first aid kits provided to all officers,
          (b) Develop a consistent reporting process to document all incidents when a trained EMT
          renders aid,
          (c) Support the EMT program in terms of the cost of the equipment and on-duty time needed
          to retain State certification, and
          (d) Consider providing a bonus pay incentive for those employees who are EMT certified.
   19     Rationale
          The Department currently does not document these instances in a consistent manner.
          Establishing a more formal and expanded EMT program to include patrol officers will provide
          potentially lifesaving care.
          Funding
          Cost of a bonus based on the number of employees EMT certified, the cost of replacing used
          equipment and keeping equipment updated.
          Responsibility
          City Council, Board of Police Commissioners, Chief of Police

          Recommendations
          Purchase software that can be used to analyze open-source internet and social media content
          to provide field operations with vetted and useable intelligence/information and add
          appropriate staffing.
          Rationale
          To provide real-time analysis of information.
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          Funding
          Council to consider approving funding or Department could potentially use federal Urban
          Areas Security Initiative (UASI) grant funds.
          Responsibility
          City Council, Board of Police Commissioners, Chief of Police

          Recommendation
          Explore Department personnel tracking technology to be used for large scale events to be able
          to track personnel during staging and deployment, skill sets, certification and timekeeping for
          better planning and deployment.
          Rationale
          The current process is to conduct Department personnel check-in and check-out using
          pencil/paper and can take hours to accomplish. Technology could improve efficiencies,
  21
          effectiveness, minimize errors, improve personnel safety, and assist with administration of
          mutual aid and assistance reimbursement agreements.
          Funding
          Council to approve funding. Budgetary impact is the cost of technology.
          Responsibility
          Board of Police Commissioners, Chief of Police



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                                         Recommendations
         Recommendations
         Establish a five-year succession plan.
         Rationale
         The LAPD has been experiencing an unusually large number of retirements in all ranks over the
         past ten years taking with them leadership experience and expertise and leaving a gap in
   22    experience. This was identified as a problem throughout this report and if the Department
         does not have the resources to develop a formal succession plan, an outside consultant may
         be of assistance.
         Funding
         No budgetary impact unless an outside consultant is determined to be useful.




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VIII. Appendix
                    Appendix 1: Review Team Members and Other Contributors

   Review Team Members
   Gerald Chaleff
   Mr. Chaleff joined LAPD in 2003 under Chief William J. Bratton as the civilian Commanding Officer of the
   Consent Decree Bureau, tasked with overseeing the implementation of the reform provisions of the
   2001 Consent Decree which the Department and the City of Los Angeles entered into with the United
   States Department of Justice. In 2009, Mr. Chaleff became the Special Assistant for Constitutional
   Policing to Chief Charlie Beck. During his tenure with the Department, Mr. Chaleff also oversaw the
   operations of the Department Risk Manager, as well as the Civil Rights Integrity, Planning and Research,
   Legal Affairs, Internal Audits, and Fiscal Operations Divisions.

   Before joining LAPD, Mr. Chaleff was appointed to the Los Angeles Board of Police Commissioners,
   serving as President from 1999 to 2001. During this time he was selected by the City to be part of the
   team negotiating with the United States Department of Justice the terms of the 2001 Consent Decree.
   He is also a former President of the Los Angeles County Bar Association and served as a Deputy General
   Counsel to the Webster Commission.

   After receiving his Bachelor of Science degree from UCLA and his law degree from Harvard Law School,
   Mr. Chaleff worked for the office of the Los Angeles County District Attorney and the office of the Los
   Angeles County Public Defender. He then entered private practice, first at his own law firm, and later as
   a partner at a large, multinational firm. He is a nationally recognized expert in criminal defense, with
   extensive experience in both state and federal courts and is a member of the prestigious American
   College of Trial Lawyers.

   Mr. Chaleff has served as a consultant on constitutional policing issues to the New York Police
   Department and assisted the City of New Orleans in their negotiations with the Department of Justice,
   which resulted in a Consent Decree. Mr. Chaleff is presently a member of the National Research
   Advisory Board of the Data Collaborative for Justice, at John Jay College and the National Advisory
   Committee for the Early Intervention System of the University of Chicago Crime lab. He recently assisted
   in the evaluation of the Community Safety Partnership by UCLA as a member of the Advisory
   Committee. He has previously served as a member of the Board of Advisory of the Luskin School of
   Public Affairs, at UCLA.

   Gloria Grube
   Gloria Grube is a retired LAPD Police Administrator III, a Deputy Chief equivalent and the highest ranking
   civilian position in the Police Department. She spent the last five of her 35 years with the LAPD as the
   Bureau Chief of the Administrative Services Bureau, a command of 1600 employees. She has overseen
   or managed most of LAPD's support entities including Personnel, Recruitment, Communications
   (dispatch center), Records and Identification, Information and Technology, Motor Transport (fleet
   services), Facilities Management, Evidence and Property Management, and Custody Services Divisions.

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 She also had oversight over the military liaison unit and was responsible for Department-wide personnel
 deployment.

 Stephen R. Jacobs
 Stephen Jacobs is a retired LAPD Deputy Chief who spent the last five years of his career as the Chief of
 Staff for Chief of Police Charlie Beck. As the prior Commanding Officer of Metropolitan Division and one
 of the original incident management team leaders he has extensive experience in crowd management,
 crowd control and the incident command system.

 Sandy Jo MacArthur
 Sandy Jo MacArthur is a law enforcement consultant (e.g., Chicago, Detroit, New York, Cincinnati) an
 associate professor at Pepperdine University, and a retired LAPD Assistant Chief. She has extensive
 experience in policing training, LAPD consent decree and settlement agreements and implementation,
 use of force, and employee wellness. In 2007 she was the Commanding Officer of Incident Management
 and Training Bureau and has experience in designing and implementing public order policing training
 programs. Sandy Jo has her Masters Degree in Negotiations and Conflict Management and for over ten
 years was a member of the City of Los Angeles City Attorney’s Officer Community Dispute Resolution
 program. She currently a member of the University of Chicago Crime Lab National Advisory Committee
 on Police Early Intervention Systems and a member of an Advisory Committee for the UCLA evaluation
 of the Community Safety Partnership program.

 Rosa Moreno
 Rosa Moreno is a retired LAPD Captain III who spent 32 years with the LAPD. She has more than nine
 years of patrol experience, more than ten years of detective experience and over 12 years of
 administrative experience. At the time of her retirement, she was the Commanding Officer of Legal
 Affairs Division. She was an incident management team member, has experience with the Department
 Operations Center and extensive knowledge of the Department consent decrees, settlements, and
 lawsuits, including those that pertain to crowd control, mass arrest, and field jail procedures.

 Rick Webb
 Rick Webb is a retired LAPD Commander with over 35 years of service. He currently provides
 consultation and expert testimony for law enforcement firms and police agencies in police practices,
 police management, use of force, police tactics, internal discipline and biased policing. While with the
 LAPD he spearheaded key projects including collaborating with various law enforcement agencies across
 the country to design new police strategies and tactics to manage large scale active shooter incidents
 and acts of terrorism.




 Appreciation for professionalism in representing their constituents and clients.
 Rachel Brashier, Deputy Chief of Staff, Office of Councilmember Harris-Dawson, Council District 8
 Muna Busaliah, Law Firm of Stone Busailah, LLP, Command Officer’s Association

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 Krista Kline, Deputy Chief of Staff, Office of Councilmember Bonin, Council District 11
 The Los Angeles Police Protective League Board of Directors, representing LAPD Officers to Lieutenants

 Appreciation to the professionals who were interviewed and contributed to this report.
 All those who agreed to be interviewed and made this report possible.
 Special thanks to Dr. Ian Mitroff, PhD, Professor Emeritus from the Marshall School of Business and the
 Annenberg School for Communication, University of Southern California. He is currently a Senior
 Research Affiliate in the Center for Catastrophic Risk Management at the University of California,
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 Phil Fontanetta, Retired Commander LAPD
 Robert Green, Retired Deputy Chief LAPD
 Leland Klauzer, Sergeant Portland Police Department
 Jeffery McDaniel, Sergeant Portland Police Department
 Mark Pazin, Chief of California Office of Emergency Services
 Eric Rose, LAPD Reserve Officer and Partner and Crisis/Media Strategist with Englander, Knabe & Allen




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                  Appendix 2: Methodology and Limitations

 Methodology: The Review Team reviewed documents, policies, directives and tactics of the LAPD and
 conducted in-depth interviews with over 100 members of the LAPD (more than 50 of whom were
 members of the leadership team), and City and plaintiff attorneys.

 Although most after action reports rely on open discussion participation with those involved in the
 incident, this report is a hybrid. While the Review Team was not given access to a true after action
 review meeting with key individuals involved in the protests and civil unrest, the Chief of Police provided
 an opportunity to obtain voluntary interviews from command staff to officers on the ground. The team
 was able to obtain over 50 interviews of sworn and civilian command officers. In addition, the team was
 able to interview over 30 sworn members of the rank of lieutenant and below and reviewed the
 responses to the LAPPL membership survey regarding the events of May and June 2020, from over 3,000
 sworn members. After conducting a thorough review and analysis, recommendations for improvement
 were identified. A full list of recommendations is found in Section VIII of this report.

 City Council members provided the Review Team with a list of community members and advocates who
 participated in the various protests. The Review Team obtained interviews from ten individuals who
 were able to provide invaluable information regarding their perspective of the Los Angeles events during
 May and June of 2020.

 Limitations: It is not possible to review and evaluate every incident and interaction between members
 of the public and the police that occurred during the review period. There are logical, logistical, and legal
 limitations in the Review Team’s ability to evaluate individual actions. Those limitations include:

 Each incident and parts of an incident is unique. Police use of force must be evaluated based on the
 facts and circumstances facing the officer at the time of the force incident. To accurately assess
 reasonableness, the articulation expressed by the officer and a thorough examination of the facts and
 evidence surrounding the use of force is required for each incident. Given the thousands of interactions
 between officers and members of the public during May-June 2020, it was not feasible to examine each
 incident.

 According to LAPD policy, reporting of force used by officers in crowd control situations, such as baton
 strikes or pushes and deployment of less lethal munitions, is summarized on incident command system
 forms. This is unlike use of force incidents occurring during normal policing operations where there is an
 on-scene supervisory investigation, canvassing for witnesses and thorough documentation of all aspects
 of the incident. Reporting force procedures used in crowd control incidents must consider the fact that
 the scenes are often dynamic and there may be multiple instances of force used by officers in often
 unsafe and rapidly unfolding conditions. For these reasons, such uses of force are reported after the
 incident has calmed or subsided.

 In crowd control situations, police supervisors are required to document as much information as they
 can (the name of the officer(s) using force, the type of force tool used, and the approximate time).
 Usually, the identification of the subject of the use of force is not known or available and the reporting is
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 done after the incident has concluded or at the end of the shift. Generally, given the numbers of
 incidents, the chaotic and on-going nature of crowd control situations, and the delay in reporting, the
 information documented is typically very general in nature.

 All allegations of serious misconduct, including allegations of excessive force are investigated by Internal
 Affairs Group, Professional Standards Bureau. Officers under investigation, and witness officers, have
 certain rights afforded to them by the Peace Officers Bill of Rights, California Government Code Section
 3300-3311. The Bill of Rights guides the way the investigation is conducted. The Review Team does not
 have the authority to investigate allegations of misconduct, compel officers to cooperate with an
 investigation, interview witnesses, canvass for evidence, evaluate the report for consideration of
 criminal referral, or otherwise make recommendations about individual cases. Further, any effort by the
 Review Team to investigate or question officers about an occurrence under investigation by the
 Department could unreasonably interfere with an on-going Department investigation.




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                          Appendix 3: 1992 After-Action Report Findings

                                    Table of 1992 LAPD After Action Report Findings
      After the video recording of an LAPD use of force incident against a Black man (Rodney King) that was
      viewed by most of the nation, four Los Angeles police offices were tried for excessive force and
      acquitted. The trial of the officers was broadcast live on television for several weeks. All four officers
      were acquitted. Soon after the acquittal, violence erupted. Over the following six days, 63 people
      were killed. The National Guard and other mutual aid law enforcement agencies were deployed into
      the City. The property damage from arson and looting was estimated at over $1 billion. Below are
      findings from the LAPD After Action Report.
      Problems with call up rosters: Individual commands were directed to revitalize mobilization rosters,
      update employee “call-up” and notification plans, develop a ratio of officers to available police
      vehicles for transportation to areas impacted by civil unrest, and develop platoon size teams to
      respond to looters.
      Preparedness: Only a small number of staff officers within the Department believed there was a
      possibility of violence, while the majority did not and did not follow through on making plans for
      potential unrest.
      Preparedness/Training: Although commands were advised to train line personnel in civil disorder
      tactics, there was no evidence that any training occurred.
      Planning: A high-level staff officer conducted a meeting with other Department staff and command
      personnel a month prior to the release of the jury’s decision and requested that plans be developed
      for the possibility of civil unrest in the event that the officers were acquitted of charges. However,
      planning did not begin until 37 days into the trial.
      Planning: There was no centralized Department-wide effort to develop plans should there be unrest.
      Instead, commands were left to devise their own plans, resulting in 18 separate Area plans, four
      Traffic Division plans, and one Metropolitan Division plan to respond to possible civil unrest.
      Area Command: There was no centralized direction to conduct outreach to community leadership
      which may have afforded the Department valuable intelligence that an acquittal most likely would
      spark community outcry and possible violence.
      Preparedness: The LAPD experienced organizational complacency, as few problems with civil unrest
      had occurred within the City since the 1965 Watts Riots.
      Incident Command System: Command post and staging discipline and deployment of resources was
      poorly executed.
      Communication: Communications and interoperability difficulties.
      Intelligence: Lack of intelligence gathering capabilities.
      Command and Control: Command and control deficiencies noted throughout the report.
      Planning and Preparedness: Department incident action plans for pre-planned events, emergency
      action plans for unplanned events, and after-action reports created by the LAPD did not include
      specific areas in planning, command and control, and accurate and timely information.32




 32   July 8, 1992, Los Angeles Police Department After-Action Report 1992 April/May Riot.

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                 Appendix 4: 2001 Consent Decree Details



                    Federal Department of Justice Civil Rights Consent Decree
                                    June 2001 Agreement

  The Consent Decree was intended to promote police integrity within the Department and prevent
  conduct that deprives individuals of their rights, privileges, or immunities protected by the
  Constitution of the United States. The Consent Decree placed emphasis on the following nine areas.
      1. Management and supervisory measures to promote civil rights integrity
      2. Critical incident procedures, documentation, investigation and review
      3. Management of gang units
      4. Management of confidential informants
      5. Program development for response to persons with mental illness
      6. Training
      7. Integrity audits
      8. Operations of the Police Commission and Inspector General
      9. Community outreach and public information

  In May 2013, U.S. District Judge Gary Feess formally lifted the binding agreement the U.S. Department
  of Justice imposed on the Department. Judge Feess said that the Department had sufficiently complied
  with reforming itself and no longer required the oversight of a monitor.




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                 Appendix 5: 2000 DNC National Lawyers Guild Settlement Information



                          National Lawyers Guild V. City of Los Angeles
                                     June 2005 Settlement

  Helicopters          Must operate at reasonable altitudes and not be used with the intent to deny
                       response to emergency.
  Marches              Crowds can use the public sidewalk adjacent to the street but may not disrupt
                       businesses.
  Motorcycles/Bicycles Not allowed to strike lawfully assembling demonstrators as a crowd control
                       strategy.
  Use of Less Lethal   May be deployed on aggressive and/or combative suspects in crowd control
  Tools                situations on subjects armed with weapons other than firearms, and on
                       subjects who are destroying property. Not allowed to be used on lawfully
                       dispersing individuals or crowds, individuals or crowds who are retreating.
                       Department must publish a notice that require stinger weapons to be used
                       ONLY with the approval of a staff officer and only in riotous situations.
  Public Assemblies    Prior to declaring an assembly unlawful, Department personnel shall refer to
                       the LAPD guidelines for crowd management and control, Volume 5 of the
                       Emergency Operations Guide. All incident commanders shall be trained in
                       crowd management strategies and tactics. Before declaring an unlawful
                       assembly, the incident commander should evaluate the feasibility of isolating
                       and arresting those responsible for the unlawful conduct.




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                   Appendix 6: 2007 MacArthur Park Settlement

                   Multi-Ethnic Immigrant Workers Organizing Network V. City of Los Angeles
                                              June 2009 Settlement
                                                  May Day 2007
  Basic Principles        All persons have a right to demonstrate/protest.
                          Government may impose reasonable and narrowly tailored restrictions on the
                          demonstrations. Restrictions must be justified based on public safety and public
                          health.
  Helicopters             Must fly at reasonable altitudes and used for emergencies.
  Marches                  Demonstrators/protestors can use sidewalks. LAPD will consider the practicality of
                           facilitating demonstrations that may temporarily block traffic and include these
                           procedures in the manual.
  Motorcycles/Bicycles/    Such vehicles may be used for observation and traffic control. They may not be used to
  Motor Vehicles           strike demonstrators as a method or strategy to control or disperse crowds.
  Horses                   Ensure that during crowd control training the curriculum addresses the subject of the
                           impact of the use of horses on crowd behavior.
  Less Lethal Weapons      Less lethal weapons may be deployed on aggressive or combative subjects in crowd
                           control situation, against a physical threat or aggressive or combative behavior and to
                           prevent the destruction of property. Less lethal weapons may not be used on lawfully
                           dispersing or retreating persons or crowds. When feasible, notice should be given
                           before deploying less lethal in a crowd control incident or for dispersal. Where
                           feasible, the warning should be given in language(s) spoken by participants.
                           If LAPD resumes the use of Stinger rounds, LAPD must publish a notice that Stinger
                           round use requires the approval of a staff officer and only in riotous situations.
  Batons                   Batons are not to be used against dispersing individuals or crowds who are unable to
                           move or pose no imminent threat. Batons can be used in a pushing motion against
                           individuals who intentionally refuse to move or when behavior is threatening or
                           violent. Batons may be used as an impact weapon in accordance with LAPD policy.
  Assemblies               The incident commander and supervisors shall make every effort to ensure the police
                           missions are created and communicated with the highest regard for dignity and
                           liberty. Prior to declaring an assembly unlawful, the Department shall refer to Volume
                           5 of the Emergency Operations Guide and the incident commander shall evaluate the
                           feasibility of isolating the problem individuals.
  Declaration of           Announce the unlawful assembly under the requirements of CA Penal Code 409,
  Unlawful Assembly        follow procedures in Volume 5 of the Emergency Operations Guide and use an
                           amplified loudspeaker system to warn. If feasible, send personnel to the far side of the
                           crowd to record the unlawful assembly order, and the order shall be made repeatedly
                           and reasonably calculated to be heard by the entire crowd in English and other
                           languages. The unlawful assembly order shall include: an objectively reasonable period
                           of time to disperse and provide a safe route(s) to disperse and a warning that police
                           action may include the use of less lethal munitions.
  Crowd management         Training shall include the understanding of the impact that a Department show of
  Training                 force has on crowd behavior. Metropolitan Division shall undergo training annually.
                           Every officer above the rank of Sergeant I shall undergo training at a minimum interval
                           of two years on crowd control and use of fore policy developed as the result of this
                           settlement. Training may be live or by e-module or both.
  Policy                   All policies shall be included in the Emergency Operations Guide by July 1, 2009.
                           (Plaintiffs were given opportunity to provide input prior to the approval.)



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                    Appendix 7: 2011 Occupy Los Angeles

                                            Occupy of Los Angeles
                                              2011 Settlement

  1        Demonstrators shall not be “kettled” by officers when they are attempting to comply with a
           dispersal order.

  2        Arrestees shall not be placed on transportation buses with tight handcuffs for an extended
           period of time.

  3        Arrestees shall not be denied access to bathroom facilities or water while held in police custody.

  4        Arrestees shall be released on their own recognizance if charged only with a misdemeanor,
           pursuant to California Penal Code 853.6




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                  Appendix 8: 2014 Ferguson

                                        Ferguson Demonstration
                                                2014
                                              Settlement

          Demonstrators shall be given a dispersal order prior to arrest and given the opportunity to
   1      leave.

          Demonstrators shall not be “kettled” after being given a dispersal order.
   2
          Arrestees shall not be zip-tied for extended periods of time.
   3
          Arrestees shall not be incarcerated for extended periods of time.
   4
          Arrestees shall not be denied “OR” (released on their own recognizance) for misdemeanor
   5      charges pursuant to California Penal Code 853.5pc




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                    Appendix 9: Key Terms

 Categorical Use of Force: LAPD Manual Section 3/795 defines categorical uses of force (CUOF) as:
      • An incident involving the use of deadly force (e.g., discharge of a firearm) by a Department employee;
      • All uses of an upper body control hold by a Department employee, including the use of a modified carotid,
          full carotid or locked carotid hold;
      • All deaths while the arrestee or detainee is in the custodial care of the Department (also known as an In-
          Custody Death or ICD);
      •    A use of force incident resulting in death;
      • A use of force incident resulting in an injury requiring hospitalization, commonly referred to as a law
          enforcement related injury or LERI;
      • All intentional head strikes with an impact weapon or device (e.g., baton, flashlight, etc.) and all
          unintentional (inadvertent or accidental) head strikes that results in serious bodily injury, hospitalization
          or death;
 Note: Serious bodily injury, as defined in California Penal Code Section 243(f)(4), includes, but is not limited to, the
 following:
                    o Loss of consciousness;
                    o Concussion;
                    o Bone fracture;
                    o Protracted loss or impairment of function of any bodily member or organ;
                    o A wound requiring extensive suturing; and,
                    o Serious disfigurement.
          (All other unintentional head strikes shall be investigated as Level I Non-Categorical Use of Force
          incidents;)
          • Officer-involved animal shootings and non-tactical unintentional discharges;
          • An incident in which a member of the public has contact with a Department canine and
                hospitalization is required. Under Department policy, a canine contact is not a use of force but has
                been included in this category to satisfy the provisions of the Consent Decree; and,
          • Incidents where the Department has agreed to conduct similar critical incident investigations for a
                non-Department entity, such as a Los Angeles Fire Department Arson Unit.33

 Civil Disturbance: A gathering that constitutes a breach of the peace or any assembly of persons where there is a
 threat of collective violence, destruction of property, or other unlawful acts. Such a gathering may also be referred
 to as a riot or unlawful assembly.34

 Crowd Control: Techniques used to address civil disturbances, to include a show of force, crowd containment,
 disperse equipment and tactics, and preparation for multiple arrests. 35 LAPD doctrine states that the Mission and
 Objectives of crowd control during a civil disorder is to restore conditions to normal as rapidly and efficiently as
 possible.36
 Crowd Management: Techniques used to manage lawful assemblies before, during, and after the event for the
 purpose of maintaining lawful status though event planning, pre-event contact with event organizers, issuance of
 permits where applicable, information gathering, personnel training and other means. 37 LAPD doctrine states that




 33 Manual of the Los Angeles Police Department, Vol 3/795.
 34 Crowd Management (Alexandria, Va: International Association of Chiefs of Police, April 2019),
 https://www.theiacp.org/sites/default/files/2020-08/Crowd%20Management%20FULL%20-%2008062020.pdf.
 35 Crowd Management

 36 Supervisor’s Field Operations Guide (Los Angeles Police Department, n.d.), vol. 2 page 16.

 37 Crowd Management.


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 the Mission and Objectives of crowd management situation is to “preserve public order while at the same time
 protecting the constitutional rights of the individuals involved.38
 Command and Control: The use of active leadership to direct others while using available resources to coordinate
 a response, accomplish tasks and minimize risk. Command uses active leadership to establish order, provide
 stability and structure, set objectives, and create conditions under which the function of control can be achieved
 with minimal risk. Control implements the plan of action while continuously assessing the situation, making
 necessary adjustments, managing resources, managing the scope of the incident (containment), and evaluating
 whether existing Department protocols apply to the incident.39
 Demonstration: A lawful assembly of persons organized primarily to engage in free speech activity. These may be
 scheduled events that allow for law enforcement planning. They include, but are not limited to, marches, protests,
 and other assemblies intended to attract attention. Lawful demonstrations can devolve into civil disturbances that
 necessitate enforcement action.40
 Department Operations Center: The Department Operations Center (DOC) is part of Communications Division and
 serves as the Department command post during serious or major unusual occurrences. It is staffed to coordinate
 and provide police services, personnel, equipment, and supplies to incidents. It is located in the City’s Emergency
 Operations Center and is capable of communicating with all City Departments and selected outside agencies.41
 Emergency Operations Center: The Emergency Operations Center (EOC) is the facility established by the City to
 coordinate the City’s overall response and support to an emergency. Representatives from various City
 Departments and agencies, including the Police Department, staff the EOC.
 Review Period: The time frame from May 27 through June 7, 2020.
 Failure to Disperse: California Penal Code Section 409 states: Every person remaining present at the place of any
 riot, rout, or unlawful assembly, after the same has been lawfully warned to disperse, except public officers and
 persons assisting them in attempting to disperse the same, is guilty of a misdemeanor. 42
 Impact Projectiles: Projectiles designed and intended to deliver non-penetrating impact energy from safer range.
 These may include direct fire or non-direct skip-fired rounds. The latter are projectiles that are discharged toward
 the ground in front of a target, theoretically delivering the energy to the subject following contact with the
 ground.43
 Mobilization: The principal Department plan to marshal personnel resources for control of a major unusual
 occurrence. The preliminary stage of a mobilization is a tactical alert. A mobilization includes the immediate
 implementation of 12-hour A and B watches, the deferment of days off, and the recalling of off-duty officers.
 Objective Reasonableness: Police use of force is judged pursuant to a “reasonable objective standard” per the
 United States Supreme Court Decision known as Graham v. Connor. “Graham” specifically states, and is repeated,
 in part, in the Los Angeles Police Department use of force policy: “The reasonableness of a particular use of force
 must be judged from the perspective of a reasonable officer on the scene, rather than with the 20/20 vision of
 hindsight. The calculus of reasonableness must embody the allowance for the fact that police officers are often
 forced to make split-second judgements – in circumstances that are tense, uncertain, and rapidly evolving – about
 the amount of force that is necessary in a particular situation. The test of reasonableness is not capable of precise



 38 Supervisor’s Field Operations Guide, vol. 2, page 16.
 39 TRAINING BULLETIN: COMMAND AND CONTROL (Los Angeles Police Department, July 2018), 1, http://lapd-lapd-lapd-
 assets.lapdonline.org/assets/pdf/tac-dir11-crowd-mgmt.pdf.
 40 Crowd Management.

 41 LAPD Media Relations Guide

 42 California Penal Code Section 409.5 - California Attorney Resources - California Laws, accessed October 1, 2020,

 https://law.onecle.com/california/penal/407.html.
 43Crowd Management


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 definition or mechanical application. The force must be reasonable under the circumstances known to the officer
 at the time the force was used.”44
 Public Order Policing: A term that is widely used in Canada and Europe. For purposes of this report, public order
 policing is crowd control AND crowd management.
 Riot: California Penal Code Section 404 defines a riot as: Any use of force or violence, disturbing the public peace,
 or any threat to use force or violence, if accompanied by immediate power of execution, by two or more persons
 acting together, and without authority of law, is a riot. (Amended by Stats. 1995, Ch. 132, Sec. 1. Effective January
 1, 1996.)45
 Staging Area: A location approved by the incident commander and used for the collection, storage, maintenance,
 disbursement, and accounting of personnel, vehicles, supplies, and equipment used or available. The staging area
 may also be used for the temporary storage of booked property and impounded vehicles.
 Unlawful Assembly: California Penal Code Section 407 defines an unlawful assembly as: Whenever two or more
 persons assemble together to do an unlawful act, or do a lawful act in a violent, boisterous, or tumultuous manner,
 such assembly is an unlawful assembly.46
 Non-Categorical Use of Force: LAPD Manual Section 4/245.02 defines Non-Categorial Use of Force (NCUOF) as: an
 incident in which any on-duty or off-duty Department employee whose occupation as a Department employee is a
 factor, uses physical force or a control device to:
     • Compel a person to comply with the employee's direction;
     • Defend themselves;
     • Defend others;
     • Effect an arrest or detention;
     • Prevent escape; or,
     • Overcome resistance.
 The following incidents are not reportable NCUOF incidents:
     • Any incident investigated by Force Investigations Division (Department Manual Section 3/794.10);
     • The use of a C-grip, firm grip, or joint lock which does not result in an injury or complained of injury to the
          subject;
     • The use of a joint lock walk-down or body weight to overcome a subject's passive resistance which does
          not result in an injury or complained of injury to the subject;
     • In a crowd control situation, a use of force report is not required when officer(s) become involved in an
          incident where force is used to push, move, or strike individuals who exhibit unlawful or hostile behavior
          and who do not respond to verbal directions by the police. This applies only to officers working in
          organized squad and platoon sized units directly involved in a crowd control mission. Additionally, should
          force be utilized under these circumstances, officers shall notify their immediate supervisor of the use of
          force once the tactical situation has been resolved. The supervisor shall report the action on the incident
          command system (ICS), Form 214(Activity Log), or as directed by the incident commander. When a
          suspect has been taken into custody, the booking number, or Division of Records (DR) number of the
          related report shall be cross-referenced on the incident command system form; and,




 44 Los Angeles Police Department Use of Force Policy - Revised (Los Angeles Police Department, March 2017).
 45 California Penal Code Section 404 (2016) - California Codes, accessed December 19, 2020,
 https://california.public.law/codes/ca_penal_code_section_407.
 46 California Penal Code Section 409 (2016) - California Codes, accessed December 19, 2020,

 https://california.public.law/codes/ca_penal_code_section_407.
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        •    The discharge, including tactical discharge, of a projectile weapon (e.g., beanbag shotgun, 37mm or 40mm
             projectile launcher or compressor air projectile system), electronic control device (Taser), or any chemical
             dispenser that does not make contact with an individual or their clothing is not a reportable use of force. 47




 47   Manual of the Los Angeles Police Department, Section 4/245.02.
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                       Appendix 10: Incident Command System Structures

 Single Incident




 Multiple Incidents




 Description of incident command system positions:

 Area Command: In some instances, there are several incidents occurring simultaneously in the same
 general area and often of the same general kind (e.g., multiple structure fires, multiple wildland fires,
 collapsed buildings, medical events, civil disturbances, planned everts, earthquake, etc.). Typically, these
 kinds of incidents compete for the same resources.”48 In these instances, an area command is



 48   Managing Large Scale Incidents - Area Command, ICS 420-1.3, 1.
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 established. The area command places a hybrid of an incident command system organization over
 several incident command system organizations handling similar incidents.

 Incident Commander: The person who has overall responsibility and authority over the incident. The
 incident commander is supposed to provide a “commander’s intent” with missions and directives to
 achieve an overall mission to bring an incident to a conclusion.

 Logistics Section: (Logs Chief) provides personnel, equipment and support for the command center.
 They handle the coordination of all services involved in the response, from locating rescue equipment to
 coordinating the response for volunteer organizations.49

 Finance Section: Responsible for accounting for funds used during the response and recovery aspect of
 the disaster. They monitor costs related to the incident and provide accounting analyses.50

 Operations Section: (Ops Chief) handles tactical operations, coordinates the command objectives, and
 organizes and directs all resources to the disaster site.

 Planning Section: (Planning Chief) provides the necessary information to the command center to
 develop the action plan that will accomplish the objectives. They also collect and evaluate information
 as it is made available.

 Sectoring (Divisions): In disbursed incidents, (such as wide-spread civil unrest) the geographic territory
 around the incident may be divided into smaller areas that are then place under control of subordinate
 leadership with resources. This ensures that resources are maintained and not over-deployed to other
 areas or taken away from those divisions.

 Staging: Key components of comprehensive resource management are logistics and staging. The
 logistics chief is supposed to arrange for resources, including personnel to respond to the event.
 staging is typically under the command of the operations section chief. At staging, resources, such as
 police officers, respond to an area with the intention of being re-deployed to the incident. The “staging
 manager” is supposed to receive, organize, track and account for those resources while in the staging
 area. In law enforcement, the staging manager is responsible for reconfiguring those resources into pre-
 determined tactical packages such as mobile field force platoons (if not already done) and then dispatch
 the resources per the directions of the incident commander.




 49   Overview: The Incident Command System.
 50   Overview: The Incident Command System.
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                    Appendix 11: LAPD and FEMA National Concepts of Emergency Management

 The LAPD Emergency Operations Guide states the following: “The 21st Century emergency-preparedness
 strategies, i.e., all-hazards, special events and criminal terrorist incidents include regional response,
 mutual aid, and specialized command expertise. No longer can the planning and command of high
 consequence events be limited to rank or position within the organization. Today’s complex events need
 to be managed by highly trained specialists. An incident management team is a team of specialists
 familiar with all aspects of emergency management. They are experienced leaders, decision makers and
 strategic thinkers, self-actualized and willing to develop themselves into a cohesive team focused on
 managing large, complex, high consequence incidents. Incident management teams are intended to
 address all-hazards incidents, i.e., earthquakes, fires, evacuations and other man-made or natural
 disasters; special events including marches, rallies, and public assemblages; crowd management
 strategies, mobile field force resources, and sophisticated crime scenes. Furthermore, incident
 management teams must be agile enough to integrate into regional, allied agencies.”51

 The LAPD emergency management doctrine follows that of the federal government. The Federal
 Emergency Management Agency (FEMA) identifies the four phases of disaster management as
 preparedness, response, recovery, and
 mitigation. The preparedness phase is
 defined by the Department of
 Homeland Security (DHS) and FEMA:
 Emergency Management Preparedness
 is the continuous cycle of planning,
 organizing, training, equipping,
 exercising, evaluating, and taking
 corrective action in an effort to ensure
 effective coordination during incident
 response.” Preparedness guidelines
 “promotes a common understanding of
 the fundamentals of risk-informed
 planning and decision making to help p
 lanners examine a hazard or threat and produce integrated, coordinated, and synchronized plans.”52



 Figure 4: Phases of Disaster Management




 51LAPD Emergency Operations Guide.
 52FEMA: Developing and Maintaining Emergency Operations Plans: Comprehensive Preparedness Guide (CPG) 1010, version
 2.0 (November 2020).
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                       Appendix 12: LAPD Less Lethal Tools




                              40mm Launcher, Deploying the 40mm eXact iMpact Sponge Round

      The 40mm launcher has a rifled barrel and is equipped with a holographical sighting system that uses a single foam
      projectile. According to the manufacturer, the projectile weighs 0.96 oz (27 g) and travels at 325 feet per second
      (99mps). The round is 1.6 in (40mm) in diameter and 2.60 inches (6.6 cm) long. The minimum safe range for the eXact
      iMpact round is five feet (1.5m) and the maximum effective range is 131 feet (40 m). The round is intended for direct
      impact (target specific) application.53 LAPD policy on the 40mm is documented in a directive which states that less-lethal
      force options are only permissible when an officer reasonably believes that a suspect or subject is violently resisting
      arrest or poses an immediate threat of violence or physical harm. 54 The 40mm shall not be used to target the head, neck,
      face, eyes, or spine unless lethal force is authorized. The 40mm launcher may be used in crowd control situations against
      a single subject/suspect as a target-specific less-lethal option. 55 Because the 40 mm round is target specific, it cannot be
      used to disperse a crowd.




                                   37 mm Launcher, Deploying the 37mm Foam Baton Round

       The foam baton round consists of five foam rubber projectiles that are discharged at once. The 37 mm launcher has a
       smooth bore barrel with standard iron sights. According to the manufacturer, “…each foam rubber projectile should be
       used as a pain compliance round for crowd control. It is most suitable in close to medium ranges of fire, approximately
       15 to 30 feet. Beyond 30 feet, the lightweight foam batons may move off target and lose most of their impact energy.
       The round is intended to be fired at a target, however, may be skip fired at the direction of the operator. 56 The LAPD
       uses the 37mm weapon as a non-target impact weapon. LAPD
       policy states in part, “the 37mm foam rubber baton round is a
       non-target specific round used for crowd control. With the
       approval of the incident commander, the 37 mm foam rubber
       baton may be used as a crowd control tool when a dispersal
       order has been issued and/or immediate action is necessary, to
       stop violence, to ensure public safety, and restore order. 57
       Officers deploying the 37 mm launcher are limited to firing a “foam baton” round by skipping the round off of the
       ground in front of the intended targets to disperse the crowds.




 53 40mm EXact IMpact Sponge Round Spec Shee” (Defense Technologies, December 30, 2020), www.defense-technologies.com.
 54 USE OF FORCE - TACTICS DIRECTIVE: 40mm LESS-LETHAL LAUNCHER, 1.
 55 USE OF FORCE - TACTICS DIRECTIVE: 40mm LESS-LETHAL LAUNCHER, 2.

 56
    37mm Foam Baton Black Powder Round Spec Sheet (Defense Technologies, December 30, 2020), www.defense-technologies.com.
 57 USE OF FORCE - TACTICS DIRECTIVE No. 11.1 CROWD MANAGEMENT, INTERVENTION, AND CONTROL (Los Angeles Police Department,

 October 2020), 5, http://lapd-lapd-lapd-assets.lapdonline.org/assets/pdf/tac-dir11-crowd-mgmt.pdf.

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                            Beanbag Shotgun, Deploying the Beanbag Super-Sock Round

 The beanbag shotgun is a Remington 870 shotgun which has been configured with a green slide handle
 and stock, rifled barrel, and side saddle ammunition holder. The color green is used to signify that the
 shotgun is for the beanbag super-sock round which is a 12-gauge cartridge containing a shot-filled
 fabric bag. These rounds are designed to be non-penetrating, and upon striking a target distribute
 energy over a broad surface area.” According to LAPD policy the beanbag shotgun may be used in
 crowd control situations against a single subject/suspect as a target-specific less-lethal option. 58

 The beanbag shotgun is also a standard less lethal tool used during patrol operations. Most officers on
 the Department have been certified during the academy in the use of the beanbag shotgun trained for
 use in patrol functions.




                           Hornets Nest Sting Grenades, Deploying .60 Caliber Rubber Balls

 The Hornets Nest Sting Grenade (sometimes referred to as a “stinger” round) is a “rubber ball
 diversionary device that produces approximately 130 decibels at five feet and emits 1-2 million
 candelas. In addition to the light and sound, the Hornets Nest Sting Grenade is designed to disperse
 approximately 25, .60 caliber, rubber balls in a 360-degree pattern.”59

 The Department did not provide documentation relative to the deployment approval of the Hornets
 Nest Sting Grenade Round. However, the Department did provide information that stated that only
 the Special Weapons and Tactics Team possesses this less lethal tool and is authorized to deploy it.
 There appears to be some confusion in the Department as to who may authorize the deployment of
 this less lethal tool in crowd control situations. The Review Team located lesson plans which indicated a
 person of the rank of commander or higher may authorize its usage.




 58
      USE OF FORCE - TACTICS DIRECTIVE No. 6.3 BEANBAG SHOTGU” (Los Angeles Police Department, July 2018).
 59   Hornets Nest Sting Grenade, .60 Cal. Rubber Balls, Produce Code ALSG10160 (ALS, December 30, 2020), www.lesslethal.com.
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                         Appendix 13: History of Training 1992-2020

                                         History of Development and Training60
                                 Mobile Field Force and Crowd Control/Management
                 Prepared by Training Group July 2007 for the May Day 2007 Examination Report.
1992              Metropolitan Division developed a 16-hour mobile field force course and began delivery to LAPD
                  personnel after working with the Miami Police Department who were responding to Miami riots
                  from both 1988 and 1989. The training consisted of conventional crowd control tactics; counter
                  ambush tactics; lessons learned from 1992; mass arrest procedures; mobile field force concept;
                  personnel and vehicle assignment; use of force; and exercises in arrest and control, chemical
                  agents, citizen rescue, gang convoy stops, mobile tactics, patrolling hostile areas, and squad
                  formations.
1993              6,500 Department personnel and 1,000 personnel from outside agencies (California Highway
                  Patrol, Los Angeles County Sheriff’s Department) had completed the course.
1993              The State of California adopted the mobile field force concept and codified it into the 1993
                  California Police Officer's Standards in Training (POST) Crowd Management and Crowd Control
                  Guidelines.
1995              The Department introduced a new situational use of force continuum to officers that labeled
                  categories of individual behaviors as the following: cooperative, no response to commands,
                  uncooperative, aggressive/combative and life threatening and established it as LAPD policy.
                  Various force options available to officers to control a situation were listed and correlate to
                  behavioral categories. At that time, the Department published a Use of Force Handbook and
                  trained all sworn employees to the use of force continuum. It was immediately added to the
                  Recruit Basic Course, Supervisor, Watch Commander, and Command Development schools. The
                  subject of use of force was added to roll call training and provided on a regular basis.
1996              The Department issued a training bulletin entitled “Use of Force-Baton Part II Crowd
                  Management and Control”. This bulletin became the document cited in training to describe the
                  amount of force an officer is able to use during crowd control incidents.
1998              The mobile field force and crowd control course was added to the Recruit Basic Academy
                  Course.
2001              The in-service mobile field force lesson plan was updated during a routine review and at that
                  time the use of force section in the mobile field force lesson plan included a very brief section on
                  use of force that stated that " there is no exception to the use of force policy during crowd
                  control situations other than the reporting requirements." There was no further information
                  documented in the lesson plan regarding details of the use of force policy or the appropriate
                  application of baton strikes during crowd control events. There is no ability to now prove if any
                  additional information was provided in the course regarding use of force, except through
                  discussions with individuals who were students or instructors of the course. Additionally, the
                  section of the course that pertained to the use of the baton during crowd control situations
                  focused totally on technical skills. Therefore, from 2001 forward, the class discussion
                  surrounding use of force at crowd control situations and the behaviors that allow for the use of
                  the baton during crowd control incidents is complicated. In 2001, the settlement requirement in
                  the Crespo v City of Los Angeles lawsuit to train officers on issues involving the media was added



   60   LAPD Report to the Board of Police Commissioners: An Examination of May Day 2007, Appendix 2, pgs.87-89.


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                 to the lesson plans. However, the detail in the lesson plans is insufficient to clarify what
                 specifically, was taught to the students in these areas.
2003             Use of force was one of several topics covered in the in-service training program that all in-
                 service sworn employees attended. In 2003 Metropolitan Division updated the mobile field
                 force course and created a four, eight and ten-hour version for delivery on an "as needed"
                 basis. At the request of the Office of Operations, Metropolitan Division modified the
                 mobile field force training into a five-hour course that was combined with a five-hour
                 course on immediate action and rapid deployment for a ten-hour training day. Combining
                 the two courses was done to help with the growing concern over crime suppression and
                 deployment demands. At this time, the focus of the training continued to be technical skill
                 development due to the reduction in time allotted. When the lesson plan was modified to
                 five hours, the use of force section and the media section were removed from the lesson
                 plan. Metropolitan Division instructors voiced concerns about the inadequate time now
                 allotted for the two vastly different subject matters. However, the training proceeded. It
                 was also incorporated into the Supervisory Development School in 2003. The lesson plan
                 did not cover three critical areas: use of force, when the use of the baton is warranted
                 during crowd control situations, and, policy related to the media at crowd management
                 incidents. The lesson plans clearly focus on techniques rather than policy.
2004             Amid rising concern over crime suppression and field deployment needs, much of the "non-
                 required" training was scaled back at the request of Office of Operations. The chief of police
                 supported the reduction of "non-required" training to allow for a strong focus on Consent
                 Decree training compliance and crime suppression. Mobile field force training for in-service
                 officers was not mandated by the Department or State and, therefore, was not a priority and
                 was among the many training courses that were scaled back.
2005             The Office of Operations director halted the Basic Metro Course and scaled back Metropolitan
                 Division’s regularly scheduled monthly training from two days per month to one due to a
                 growing concern over crime suppression. The cut back of training allowed for Metropolitan
                 Division to be deployed in crime suppression details and assist other commands throughout the
                 City. The Chief of Police approved the recommendation to scale back training with the
                 understanding that the subject should be revisited periodically. By 2005, the information
                 regarding the media policy was added back into the lesson plan during the annual update. Few
                 officers or supervisors attended training conducted with this lesson plan.
2006             As the Department continued to struggle with more officers retiring than new hires coming into
                 the Academy, mobile field force training was sidelined altogether. The Metropolitan Division
                 Basic course remained shut down.
                   Miscellaneous Training Information MacArthur Park After Action Report 2007
• To date (July 2007) every sworn employee in the Department had received training on the use of force policy
  on more than one occasion and had been trained on the techniques and appropriate use of the baton as it
  pertains to use of force policy.
• Traditionally, Metropolitan Division platoons were allowed two training days every four weeks - one firearms
  and one tactics. Since 2004, Metropolitan Division platoons were generally allowed to conduct one tactics
  training day and one firearms training day every four weeks, January through May, and only one training day,
  June through December. On several occasions the training day(s) were cancelled as a result of special
  assignments and/or pre-planned events. A review of the tactics training day topics generally focused on
  dignitary protection duties and other tactics not related to crowd control events.



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                            History of Training Post 2007 May Day Report
           Information based on documents provided by the LAPD for purposes of this report.
                                             January 2021

2007-           Crowd Management/Crowd Control, 10-hours. Department-wide in which areas trained
   2009         together with their commanding officers. Groups of over 150 personnel at a time would train
                thus being able to replicate actual field scenarios with large numbers of demonstrators. Over
                9,500 personnel were trained. Incident command system and crowd management training
                occurred in the command staff quarterly training.

2009-           Multiple Assault-Counter Terrorism Action Capabilities, 10-hours. Department-wide in which
   2012         large numbers of bureau personnel would train at one time thus being able to replicate actual
                field scenarios. All supervisors and command staff were required to attend. Over 9,100
                personnel were trained. Incident command system and crowd management training occurred in
                the command staff quarterly training each year.

2013-           Some crowd management training was conducted through e-learning for line personnel.
   2014         Incident command system and crowd management training occurred in the command staff
                quarterly training each year. Additionally, a program was introduced to address concerns over
                succession planning for command staff called Conversations in 21st Century Policing. These were
                seminars offered to all command level personnel and lieutenants in which panels discussed
                topics such as crowd management/facilitations, building community relationships, etc. This
                program appears to have been discontinued in 2015 without any documentation as to why.

2015-           Training Bureau planned a Department-wide rollout of mobile field force/crowd management
   2016         training. However, when this plan discussed with executive staff the training was tabled per the
                Office of Operations assistant chief and the Chief of Police to address deployment needs and the
                rising concern over issues surrounding use of force, de-escalation, and crime trends.

2017-           Training Bureau again raised the issue of conducting Department-wide mobile field force/crowd
   2018         control training with executive staff. At that time, a decision was made to take the eight-hour
                and 10-hour courses approved by the State and the Department and condense it into a four-
                hour block to accommodate other training needs. Over 9,200 personnel were trained.

2019-           Training Bureau again raised the issue of conducting Department-wide mobile field force/crowd
    2020        control training with executive staff with no decision to plan for a Department-wide rollout in
                2019. In 2020 the Covid-19 pandemic had engulfed the deployment needs of the Department
                and created restrictions on training. Therefore, most training was tabled.




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